Case 3:17-cv-02366-BAS-KSC            Document 535-3   Filed 09/04/20      PageID.45426
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 1       MAYER BROWN LLP
          Matthew H. Marmolejo (CA Bar No. 242964)
 2        mmarmolejo@mayerbrown.com
         350 S. Grand Avenue
 3       25th Floor
         Los Angeles, CA 90071-1503
 4        Ori Lev (DC Bar No. 452565)
          (pro hac vice)
 5        olev@mayerbrown.com
          Stephen M. Medlock (VA Bar No. 78819)
 6        (pro hac vice)
          smedlock@mayerbrown.com
 7       1999 K Street, N.W.
         Washington, D.C. 20006
 8       Telephone: +1.202.263.3000
         Facsimile: +1.202.263.3300
 9
         SOUTHERN POVERTY LAW CENTER
10         Melissa Crow (DC Bar No. 453487)
           (pro hac vice)
11         melissa.crow@splcenter.org
         1101 17th Street, N.W., Suite 705
12       Washington, D.C. 20036
         Telephone: +1.202.355.4471
13       Facsimile: +1.404.221.5857
14       Additional counsel listed on next page
         Attorneys for Plaintiffs
15
                           UNITED STATES DISTRICT COURT
16
                         SOUTHERN DISTRICT OF CALIFORNIA
17
     Al Otro Lado, Inc., et al.,                   Case No.: 17-cv-02366-BAS-KSC
18

19                      Plaintiffs,                EXHIBIT 1 IN SUPPORT OF
                                                   PLAINTIFFS’ MEMORANDUM OF
20            v.                                   POINTS AND AUTHORITIES IN
                                                   SUPPORT OF THEIR MOTION
21   Chad F. Wolf,1 et al.,                        FOR SUMMARY JUDGMENT
22
                        Defendants.
23                                                 REDACTED VERSION
24

25

26

27
     1
      Acting Secretary Wolf is automatically substituted for former Acting Secretary
28   McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                        EXHIBIT 1 IN SUPPORT OF PLAINTIFFS’ MEMORANDUM
                                                                    OF POINTS AND AUTHORITIES IN SUPPORT
                                                                OF THEIR MOTION FOR SUMMARY JUDGMENT
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 1
     CENTER FOR CONSTITUTIONAL RIGHTS
 2     Baher Azmy (NY Bar No. 2860740) (pro hac vice)
 3     bazmy@ccrjustice.org
       Ghita Schwarz (NY Bar No. 3030087) (pro hac vice)
 4     gschwarz@ccrjustice.org
       Angelo Guisado (NY Bar No. 5182688) (pro hac vice)
 5     aguisado@ccrjustice.org
     666 Broadway, 7th Floor
 6   New York, NY 10012
 7   Telephone: +1.212.614.6464
     Facsimile: +1.212.614.6499
 8
     SOUTHERN POVERTY LAW CENTER
 9     Sarah Rich (GA Bar No. 281985) (pro hac vice)
       sarah.rich@splcenter.org
10     Rebecca Cassler (MN Bar No. 0398309) (pro hac vice)
       rebecca.cassler@splcenter.org
11   150 E. Ponce de Leon Ave., Suite 340
12   Decatur, GA 30030
     Telephone: +1.404.521.6700
13   Facsimile: +1.404.221.5857
14 AMERICAN IMMIGRATION COUNCIL
     Karolina Walters (DC Bar No. 1049113) (pro hac vice)
15   kwalters@immcouncil.org
16 1331 G St. NW, Suite 200
   Washington, D.C. 20005
17 Telephone: +1.202.507.7523
   Facsimile: +1.202.742.5619
18

19

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22

23

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28
                                                EXHIBIT 1 IN SUPPORT OF PLAINTIFFS’ MEMORANDUM
                                                            OF POINTS AND AUTHORITIES IN SUPPORT
                                                        OF THEIR MOTION FOR SUMMARY JUDGMENT
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                                                                           Page 1
                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
         -----------------------------
         AL OTRO LADO, INC., et al.,
                     Plaintiffs,
         v.                                    Case No.
                                               17-cv-02366-BAS-KSC
         KEVIN K. McALEENAN, et al.,
                     Defendants.
         ------------------------------




                     Deposition Taken of                            , on
         Thursday, November 21, 2019, at 9:30 a.m., held at
         the offices of Mayer Brown, 1999 K Street, N.W.,
         Washington, D.C. 20006, before Goldy Gold, a
         Registered Professional Reporter and a Notary Public
         within and for District of Columbia.
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                                                                         Page 2
    1    A P P E A R A N C E S:
    2
    3    On Behalf of the Plaintiffs:
    4        STEPHEN M. MEDLOCK, ESQUIRE
             Mayer Brown
    5        1999 K Street, N.W.
             Washington, D.C. 20006
    6        Telephone: 202.263.3221
             E-mail: smedlock@mayerbrown.com
    7
    8
         On Behalf of the Defendants:
    9
              ALEXANDER J. HALASKA, ESQUIRE
   10         U.S. Department of Justice
              Office of Immigration Litigation
   11         Ben Franklin Station, P.O. Box 868
              Washington, D.C. 20044
   12         Telephone: 202.307.8704
              E-mail: alexander.j.halaska@usdoj.gov
   13
   14
              MELISSA CROW, ESQUIRE
   15         Southern Poverty Law Center
              1101 17th Street, N.W., Suite 705
   16         Washington, D.C. 20036
              Telephone: 202.355.4471
   17         E-mail: melissa.crow@splcenter.org
   18
   19         REBECCA CASSLER, ESQUIRE
              Southern Poverty Law Center
   20         P.O. Box 1287
              Decatur, Georgia 30031
   21         Telephone: 404.521.6700
              E-mail: rebecca.cassler@splcenter.org
   22
   23
         Also Present:
   24        Kristine E. King, Esquire
             Jillian M. Clouse, Esquire
   25        U.S. Department of Homeland Security
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    1                                 I N D E X
    2                    Deposition of
    3                                 November 21, 2019
    4
    5     Examination By:                                                 Page
    6    Mr. Medlock                                                          5
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    8    Mr. Medlock                                                      253
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   10    Mr. Medlock                                                      264
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    1
                                       E X H I B I T S
    2
          Exhibits                      Description                        Page
    3
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    4                        deposition
    5     Exhibit 2          Protective order                               21
    6     Exhibit 3          Metering guidance memorandum                   79
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    8     Exhibit 5          E-mail, 3/21/2019                             107
    9     Exhibit 6          E-mail, 6/16/2018                             114
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   12     Exhibit 9          E-mail, 1/10/2019                             139
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   14     Exhibit 11         Copy of 9/4/2018 muster                       147
   15     Exhibit 12         Tecate Limit Line Officer
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   16
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   22
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   23
          Exhibit 19         Report of Investigation of
   24                        Alleged Violations of
                             Immigration Laws at the Tecate
   25                        Port of Entry by U.S. CBP
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                                                                         Page 5
    1                           P R O C E E D I N G S
    2     WHEREUPON --
    3
    4     a witness called for examination, having been duly
    5     sworn by a Notary Public, was examined and testified
    6     as follows:
    7                               EXAMINATION
    8     BY MR. MEDLOCK:
    9            Q.      Good morning, sir.
   10            A.      Good morning.
   11            Q.      Would you please state and spell your
   12     full name?
   13            A.
   14            Q.      Have you ever gone by any other name,
   15     sir?
   16            A.      No, sir.
   17            Q.      Are you presently employed?
   18            A.      Yes.
   19            Q.      Where are you employed?
   20            A.      Tecate Port of Entry.
   21            Q.      Have you ever heard the term "port of
   22     entry" abbreviated as "POE" before?
   23            A.      Correct.
   24            Q.      If I use the term "POE," you won't be
   25     confused by that today?
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    1             A.     No.
    2             Q.     What's your present job title at the
    3     Tecate POE?
    4             A.     Customs and Border Protection officer.
    5             Q.     How long have you worked at U.S. Customs
    6     and Border Protection?
    7             A.     Since July 9th of 2012.
    8             Q.     That's the date you were sworn in?
    9             A.     Yes.
   10            Q.      What is your present work address?
   11            A.      405 Tecate Road, Tecate, California.                  I
   12     don't know the ZIP Code.
   13            Q.      That's all right.         It's not a memory
   14     test.    Don't worry about it.
   15
   16            A.
   17
   18                    MR. MEDLOCK:         We'll go ahead and mark
   19            the first exhibit as Exhibit 1 and give a copy
   20            of it to your counsel.
   21                    [Exhibit 1, a notice of deposition, was
   22            marked for identification.]
   23     BY MR. MEDLOCK:
   24            Q.      Sir, you have in front of you what we've
   25     marked as Exhibit 1 to your deposition.                It's a copy
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    1     of a multipage document that is entitled "Plaintiff's
    2     First Deposition Notice."
    3                    Have you seen this document before, sir?
    4            A.      No.
    5            Q.      On the page that you're -- that you have
    6     in front of you, that's page 3 of the notice.                Do you
    7     see that, sir?
    8            A.      Yes.
    9            Q.      And do you see your name on that page of
   10     the notice?
   11            A.      Correct.
   12            Q.      And that page indicates that you are to
   13     be deposed today, at this time and at this location,
   14     correct?
   15            A.      Yes.
   16            Q.      Have you ever been deposed before, sir?
   17            A.      Yes.
   18            Q.      And that case was Doyma, D-o-y-m-a,
   19     Michel, M-i-c-h-e-l, versus United States; is that
   20     right?
   21            A.      I -- I don't know the exact name.
   22            Q.      Besides that one deposition, have you
   23     ever testified in court before, sir?
   24            A.      Testified in court?
   25            Q.      Yes.
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                                                                          Page 8
    1            A.      Yes.
    2            Q.      How many times?
    3            A.      Three to four.
    4            Q.      When you testified at a deposition
    5     before, did you have an opportunity to review a copy
    6     of your transcript afterwards?
    7            A.      I don't recall.
    8            Q.      Do you still have a copy of your
    9     deposition transcript from that case?
   10            A.      I don't believe so.
   11            Q.      Have you ever been involved in any sort
   12     of arbitration proceeding before?
   13            A.      Not that I know, no.
   14            Q.      Have you ever testified before any
   15     governmental body, other than the deposition and the
   16     trial testimony that we talked about?
   17            A.      No.
   18            Q.      Have you ever provided written testimony
   19     in the form of an affidavit or a declaration before,
   20     sir?
   21            A.      No.
   22            Q.      So it sounds like you may have done this
   23     before, so I'm going to over the ground rules pretty
   24     quickly.     But if at any point you don't understand
   25     any of these ground rules, please let me know.                 I can
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                                                                           Page 9
    1     stop and explain them in more detail to you.
    2            A.       Okay.
    3            Q.       So a deposition is essentially a
    4     conversation between me and you in which I ask
    5     questions and you answer them.             It's important in any
    6     sort of answer that you give that it be audible.                      The
    7     court reporter is extremely good, but she can't take
    8     down shakes of the head, and the words uh-huh and
    9     uh-uh can sounds very similar.             So please state your
   10     answer audibly and clearly.             Do you understand that?
   11            A.       Yes.
   12            Q.       It's important that you understand my
   13     questions.      So if at any point you don't understand a
   14     word I'm using or the question I'm asking, please let
   15     me know.      It happens; sometimes I ask a C-plus
   16     question.      Just let me know, and I'll try and do my
   17     usual B-plus and A-minus work.             Okay?
   18            A.       Okay.
   19            Q.       Objections:     From time to time your
   20     lawyers here can object.             That's their right.
   21     Objections are something that the court will rule on
   22     later.      So unless your attorney asks you not to
   23     answer a question based on his or her objection, I'm
   24     going to ask you to answer the question for today.
   25     You understand that?
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                                                                           Page 10
    1            A.      Yes.
    2            Q.      Most importantly for you, we're going to
    3     take some breaks.        I'll do my best to try to take a
    4     break every hour, but I know that the need can arise
    5     for a break when we're taking a deposition.                    So if
    6     you need a break, just let me know.              My only request
    7     is that you answer any pending question before taking
    8     the break.     Do you understand that?
    9            A.      Yes.
   10            Q.      Unless I state otherwise today, my
   11     questions are going to relate to the period from
   12     January 1, 2016, through the present.                 Do you
   13     understand that?
   14            A.      Yes.
   15            Q.      During this deposition, we will refer to
   16     the U.S. Department of Homeland Security as DHS.                     Do
   17     you understand that?
   18            A.      Yes.
   19            Q.      We talked a little bit about
   20     U.S. Customs and Border Protection.              That's sometimes
   21     abbreviated as "CBP," correct?
   22            A.      Yes.
   23            Q.      From time to time I'll use the term
   24     "CBP" today.       Do you understand that?
   25            A.      Yes.
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    1            Q.      You understand that you took an oath to
    2     tell the truth today?
    3            A.      Yes.
    4            Q.      And you understand that's the same oath
    5     that you would take as if you were in a courtroom
    6     testifying, correct?
    7            A.      Yes.
    8            Q.      And you understand there could be
    9     criminal consequences for lying under oath, correct?
   10            A.      Yes.
   11            Q.      Is there any reason that you can't
   12     testify fully and truthfully today?
   13            A.      No.
   14            Q.      Other than traffic offenses, have you
   15     ever been convicted of a crime, sir?
   16            A.      No.
   17            Q.      And other than traffic offenses, have
   18     you ever been charged with a crime?
   19            A.      No.
   20            Q.      Again, other than traffic offenses, have
   21     you ever been arrested?
   22            A.      No.
   23            Q.      Have you ever been sued before in a
   24     personal capacity?
   25            A.      No.
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    1            Q.      Have you ever been a party to a lawsuit
    2     as a plaintiff or a defendant?
    3            A.      I don't believe so.
    4            Q.      I think you'd probably know.
    5                    Have you ever been disciplined for your
    6     conduct at CBP?
    7            A.      Yes.
    8            Q.      And when did that occur?
    9            A.      2018.     I don't know the exact date.
   10            Q.      What were the circumstances that led to
   11     that disciplinary action?
   12            A.      It was just for being on my cell phone.
   13            Q.      So you were -- I think I remember this.
   14     You were at the limit line and you were on your cell
   15     phone briefly?
   16            A.      Correct.
   17            Q.      Okay.     We'll talk about that later.
   18                    Are you being represented by any
   19     attorneys in connection with your deposition today?
   20                    THE WITNESS:          Is that you guys?
   21                    MR. HALASKA:          You can answer the
   22            question to the best of your ability.
   23            A.      Yes.
   24            Q.      To the best of your knowledge, which
   25     attorney is sitting to your right or representing you
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    1     today?
    2                    MR. HALASKA:          My name is Alex Halaska.
    3             The witness is gesturing towards me.
    4                    MR. MEDLOCK:          Thank you, Alex.
    5                    THE WITNESS:          Yes.
    6     BY MR. MEDLOCK:
    7             Q.     Without going into the substance of your
    8     conversations with any of the attorneys that you
    9     have, have you met with anyone to prepare for your
   10     deposition today?
   11            A.      Other than my attorneys?
   12            Q.      Including your attorneys.               Just a "yes"
   13     or "no."
   14            A.      Yes.
   15            Q.      Who did you meet with?
   16            A.      Alex.
   17            Q.      Mr. Halaska?
   18            A.      Correct.
   19            Q.      Did you meet with anyone else, other
   20     than Mr. Halaska?
   21            A.      Yes.
   22            Q.      Were those individuals attorneys as
   23     well?
   24            A.      Yes.
   25            Q.      Where did that meeting take place?
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                                                                        Page 14
    1            A.      At their office.        I don't know the
    2     exact --
    3            Q.      In Washington, D.C.?
    4            A.      Correct.
    5            Q.      At the offices of the U.S. Department of
    6     Justice; is that right?
    7            A.      Yes.
    8            Q.      When did that meeting begin?
    9            A.      9:30.
   10            Q.      And that meeting occurred yesterday; is
   11     that right?
   12            A.      Correct.
   13            Q.      When did that meeting end?
   14            A.      1:30?
   15            Q.      So you were at the offices of the
   16     U.S. Department of Justice from 9:30 to 1:30
   17     yesterday; is that right?
   18            A.      Correct.
   19            Q.      And during that four hours, was that
   20     time exclusively devoted to meeting with attorneys?
   21            A.      Yes.
   22            Q.      When you met with the attorneys from the
   23     U.S. Department of Justice to prepare for your
   24     deposition, were there any non-attorneys who were
   25     present in the room?
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    1            A.      No.
    2            Q.      Other than yourself, of course.
    3            A.      No.
    4            Q.      Did anyone participate in that meeting
    5     via telephone?
    6            A.      No.
    7            Q.      Did anyone participate in that meeting
    8     via video conference?
    9            A.      No.
   10            Q.      Prior to the meeting, did you receive
   11     any documents from any of the attorneys that are
   12     representing you in this case via e-mail or via
   13     regular mail?
   14            A.      Yes.
   15            Q.      How many documents did you receive?
   16            A.      It was -- pages, you mean?
   17            Q.      Different documents, not just pages.
   18     How many documents?
   19            A.      One.
   20            Q.      And how many pages long was that
   21     document?
   22            A.      I believe it was 131 pages.
   23            Q.      I have a good idea of what that document
   24     is, but I won't ask what it was.
   25                    Did you read that document prior to the
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    1     meeting?
    2            A.      Four pages of it.
    3            Q.      Outside of your conversations with your
    4     lawyers, have you discussed this deposition with
    5     anyone else?
    6            A.      Just people at work.
    7            Q.      And when you say "people at work," who?
    8            A.      I mean, just coworkers, saying that I'm
    9     coming here.       But I don't know for really what.
   10            Q.      When you talked to those coworkers, did
   11     you tell them that you were having your deposition
   12     taken, or did you tell them you were simply traveling
   13     outside of the office?
   14            A.      Just doing a deposition.
   15            Q.      Did you tell them what case you were
   16     being deposed in?
   17            A.      No.
   18            Q.      Did you have any conversations with your
   19     coworkers about the substance of your testimony
   20     today?
   21            A.      No.
   22            Q.      The document that you were shown that
   23     was 131 pages that you said you read four pages of,
   24     did reading those four pages refresh your memory
   25     about anything that may have happened in the past?
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                                                                        Page 17
    1            A.      No.
    2            Q.      During your meeting at the
    3     U.S. Department of Justice yesterday, were you shown
    4     any documents during that meeting?
    5                    And this is simply a "yes" or "no"
    6     question.
    7            A.      Yes.
    8            Q.      How many documents were you shown?
    9            A.      Five.
   10            Q.      Did reviewing those documents refresh
   11     your memory about anything that happened in the past?
   12            A.      Yes.
   13            Q.      How did it refresh your memory about
   14     things that happened in the past?
   15            A.      Just different situations that arose
   16     during the process.
   17            Q.      When you say the process, what are you
   18     referring to?
   19            A.      Of whistle-blowing.
   20            Q.      And which documents in particular
   21     refreshed your memory about the process of
   22     whistle-blowing?
   23            A.      E-mails that were sent to either OIG or
   24     Office of Special Counsel.
   25            Q.      And these e-mails that were sent to OIG,
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                                                                        Page 18
    1
    2            A.
    3            Q.
    4
    5
    6            A.      There were just dates, and one was about
    7     another officer that came to mind.              Other than that,
    8     that was pretty much it.
    9            Q.      How was your memory refreshed about --
   10     well, let me ask a better question, actually.
   11                    Who was the officer that you were
   12     referring to in your last answer?
   13            A.
   14            Q.      Is that Officer
   15            A.      Correct.
   16            Q.      What was your memory refreshed about
   17     with respect to                       ?
   18            A.
   19
   20
   21            Q.
   22
   23            A.
   24            Q.
   25
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    1            A.      I -- I don't know the exact date.
    2            Q.      Do you know --                         is a coworker
    3     of yours at the Tecate Port of Entry; is that right?
    4            A.      Yes.
    5            Q.      And how did you come to know that she
    6     was disciplined for letting an asylum seeker pass the
    7     limit line at the Tecate Port of Entry?
    8            A.      She told me.
    9            Q.      And what, specifically, did she tell you
   10     about being disciplined for letting an asylum seeker
   11     pass the limit line at the Tecate Port of Entry?
   12            A.      Nothing much.         She pretty much just told
   13     me that these asylum seekers were in a group of
   14     people with documents, and she checked as many as she
   15     could, and they were -- they got past her.                  And she
   16     got disciplined for it.
   17            Q.      How was she disciplined?
   18            A.      She got what I believe was a letter of
   19     reprimand.
   20            Q.      Can a letter of reprimand have a
   21     negative consequence for someone's promotion, ability
   22     to be promoted within CBP?
   23            A.      Yes.
   24            Q.      How so?
   25            A.      They won't even accept you if you have a
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    1     letter on file.
    2            Q.      Was it an official policy of CBP, to
    3     your knowledge, to discipline officers for letting
    4     asylum seekers past the limit line?
    5            A.      Not that I knew at that time.
    6            Q.      Did you have an understanding at the
    7     time that asylum seekers should not be let past the
    8     limit line at the Tecate Port of Entry?
    9            A.      Yes.
   10            Q.      And, in fact, at that time, asylum
   11     seekers that came to the limit line were instructed
   12     to be turned back and redirected to the San Ysidro
   13     Port of Entry; is that right?
   14            A.      Yes, or Calexico.
   15            Q.      But in either circumstance, an asylum
   16     seeker that came to the limit line at the Tecate Port
   17     of Entry would be turned back; is that right?
   18            A.      Correct.
   19            Q.      Are there any other facts that you
   20     recall as a result of reviewing those e-mails with
   21     the Office of Inspector General of DHS and the Office
   22     of Special Counsel?
   23            A.      No.
   24            Q.      In addition to the documents that you
   25     were shown by your counsel, did your counsel read to
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    1     you the contents of any documents during your
    2     preparation yesterday?         And this is just a "yes" or
    3     "no" question.
    4            A.      Just a confidential.
    5            Q.      I'm sorry?
    6            A.      A confidential document that I had to
    7     sign.
    8            Q.      Oh, okay.      Understood.
    9                    Have you ever heard any news stories
   10     regarding this lawsuit?
   11            A.      No.
   12            Q.      Have you read any of the documents that
   13     have been filed with the court in this lawsuit?
   14            A.      I think it was just that 131 pages.
   15            Q.      Was that the complaint?
   16            A.      Yeah, that one.
   17            Q.      Second amended complaint, probably?
   18            A.      I don't remember.
   19                    MR. MEDLOCK:          Exhibit 2.
   20                    [Exhibit 2, a protective order, was
   21            marked for identification.]
   22     BY MR. MEDLOCK:
   23            Q.      Sir, I put in front of you what was
   24     marked Exhibit 2 to your deposition.                   It's a
   25     multi-page document that comprises the protective
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    1     order in this case, in Exhibit A to the protective
    2     order, which it appears that you have signed.
    3                    Please take a moment to flip through it,
    4     and then let me know audibly on the record when
    5     you're done doing so.
    6             A.     Yes.
    7             Q.     Is that a copy of the protective order
    8     that you were referring to earlier in your testimony?
    9             A.     Yes.
   10            Q.      And you reviewed a copy of this
   11     yesterday with your counsel and then signed it,
   12     correct?
   13            A.      Correct.
   14            Q.      Do you have a cell phone, sir?
   15            A.      Yes.
   16            Q.      Who's the provider of your cell phone?
   17            A.      Verizon.
   18            Q.      And do you use your cell phone for work
   19     purposes?
   20            A.      For the whistle-blowing, I did.
   21            Q.      When you say you used it for the
   22     whistle-blowing, can you explain what you mean by
   23     that?
   24            A.      For all the e-mails I used to OSC.
   25            Q.      And also to the Office of Inspector
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                                                                        Page 23
    1     General?
    2            A.      Yes.
    3            Q.      Did you exclusively communicate with the
    4     Office of Inspector General and the Office of Special
    5     Counsel via e-mail on your phone?
    6            A.      I think I used both, I believe.
    7            Q.      When you say "both," what are you
    8     referring to?
    9            A.      My personal phone and work e-mails.
   10            Q.      When you sent an e-mail to the Office of
   11     Special Counsel from your personal phone, would you
   12     have sent it from your personal e-mail address?
   13            A.      Correct.
   14            Q.      What's your personal e-mail address?
   15            A.
   16            Q.      How many e-mails would you estimate you
   17     sent from                                to the Office of
   18     Special Counsel?
   19            A.      Maybe, ten.
   20            Q.      And with respect to the Office of
   21     Inspector General, how many e-mails did you send from
   22                                to the Office of Inspector
   23     General?
   24            A.      Maybe, five or a little less.
   25            Q.      Why did you choose to use your personal
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                                                                        Page 24
    1     e-mail to send those communications to the Office of
    2     Special Counsel and the Office of Inspector General?
    3            A.      It's just easier.
    4            Q.      Can you recall the approximate time
    5     period in which you would have been using your
    6     personal e-mail to send e-mails to the Office of
    7     Special Counsel and the Office of Inspector General?
    8            A.      The approximate time?
    9            Q.      The time period in which you would have
   10     done it.
   11            A.      From the time I made the complaint,
   12     which I don't remember the exact date.
   13            Q.      So if I said it was around the summer of
   14     2018 through the summer of 2019, does that sound
   15     correct?
   16            A.      Yes.
   17            Q.      So that would have been the approximate
   18     time period in which you would have been sending
   19     e-mails from your personal e-mail account,
   20                               , to the Office of Special
   21     Counsel and the Office of Inspector General; is that
   22     right?
   23            A.      Yes.
   24            Q.      And to your knowledge, have you deleted
   25     any of those e-mails?
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                                                                        Page 25
    1            A.      No.
    2            Q.      Have you been told by anyone to preserve
    3     those e-mails?
    4            A.      No.
    5            Q.      If we ask you to go and find those
    6     e-mails in your personal Yahoo account, could you do
    7     that for us?
    8            A.      Yes.    I don't know about today, but yes,
    9     I could.
   10            Q.      Would it be difficult to do so?
   11            A.      I don't believe so.
   12            Q.      Could you simply search for them and
   13     then bring them up?
   14            A.      I would think I could.
   15            Q.      Can you think of any other instance in
   16     which you used your cell phone for work purposes?
   17            A.      I mean, to call in the work stuff,
   18     but --
   19            Q.      Other than that?
   20            A.      No.
   21            Q.      Can you think of any instance in which
   22     you've used your personal e-mail,
   23                                 for work purposes?
   24            A.      No.
   25            Q.      Have you ever used any messaging apps,
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    1     like WhatsApp or FaceTime or text messaging, for work
    2     purposes?
    3            A.      No.
    4            Q.      Are you aware of any of your coworkers
    5     at Tecate Port of Entry who do so?
    6            A.      I don't know.
    7            Q.      You don't know in the sense that they
    8     may, but you just don't know one way or the other?
    9            A.      Yeah.     Yes.
   10            Q.      During the time that you worked at CBP,
   11     have you communicated with any Mexican government
   12     official?
   13            A.      No.
   14            Q.      Do you know whether any of your
   15     coworkers at the Tecate Port of Entry have ever
   16     communicated with a Mexican government official?
   17            A.      No, I do not.
   18            Q.      How about the San Ysidro Port of Entry,
   19     any of your former coworkers at the San Ysidro Port
   20     of Entry ever communicated with a Mexican government
   21     official?
   22            A.      I do not know.
   23            Q.      And would the answer be the same with
   24     respect to your former coworkers at the Otay Mesa
   25     Port of Entry?
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                                                                        Page 27
    1            A.      Yes.
    2            Q.      Do you have a work e-mail address?
    3            A.      Yes.
    4            Q.      What is your work e-mail address?
    5            A.
    6            Q.      Has that been your work e-mail address
    7     from January 1, 2016, to the present?
    8            A.      Yes.
    9            Q.      And I assume you use that work e-mail
   10     address for work purposes; is that right?
   11            A.      Yes.
   12            Q.      Do you have a work computer issued to
   13     you?
   14            A.      No.
   15            Q.      Do you have a personal computer at home?
   16            A.      Not now.
   17            Q.      So when you access
   18     you're using your cell phone exclusively to do that?
   19            A.      Yes.
   20            Q.      I'd like to move on to some of your
   21     educational experience.
   22                    What's the highest level of education
   23     you obtained, sir?
   24            A.      Some college.
   25            Q.      "Some college" where?
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                                                                        Page 28
    1            A.      In Southwestern College.
    2            Q.      And where's Southwestern College
    3     located?
    4            A.      In Chula Vista.
    5            Q.      California?
    6            A.      California.
    7            Q.      I'm usually pretty good with college
    8     mascots, but I've got to admit, I don't know
    9     Southwestern.
   10            A.      It's a community college.
   11            Q.      How many years were you at Southwestern?
   12            A.      Two to three.
   13            Q.      And what was the course of study you
   14     were in before you left?
   15            A.      I kept changing.        I think it was fire
   16     science.
   17            Q.      When did you leave Southwestern?
   18            A.      I can't tell you that.           I don't know.
   19            Q.      What was your first job after you left
   20     Southwestern?
   21            A.      I've had a lots of jobs.
   22            Q.      Immediately prior to joining -- deciding
   23     to join CBP, what was your job?
   24            A.      Pepsi.
   25            Q.      What was your job at Pepsi?
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    1            A.      Delivery driver.
    2            Q.      So you were the person who actually took
    3     the cans of Pepsi into the store and then put them
    4     into the back, into the racks, the chill racks in the
    5     back?
    6            A.      Correct.
    7            Q.      How long were you working as a delivery
    8     driver for Pepsi?
    9            A.      About two and a half years.
   10            Q.      When did you decide to join CBP?
   11            A.      In the middle of that.
   12            Q.      Approximately when was the year when you
   13     decided to join CBP?
   14            A.      2010, 2011.
   15            Q.      Why did you decide to join CBP?
   16            A.      Pay, pretty much.
   17            Q.      Any other reason?
   18            A.      It seemed like a good career to get
   19     into, something I can stay with for a very long time.
   20            Q.      And I think you said earlier you began
   21     to work for CBP in July 2012; is that correct?
   22            A.      Correct.
   23            Q.      Prior to being sworn in, did you receive
   24     training at the Federal Law Enforcement Training
   25     Center in Glynco, Georgia?
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    1            A.      I think we swear in first.
    2            Q.      Oh, you swore in first, and then you
    3     went to training?
    4            A.      Yes.
    5            Q.      But you did go to the Federal Law
    6     Enforcement Training Center in Glynco, Georgia?
    7            A.      Correct.
    8            Q.      And you received training at the Federal
    9     Law Enforcement Training Center for about six months;
   10     is that right?
   11            A.      Yes.
   12            Q.      At the Federal Law Enforcement Training
   13     Center, you took courses on Spanish; is that right?
   14            A.      Yeah, after.
   15            Q.      After.     And that's sort of an intensive
   16     course to get your Spanish up to where it needs to
   17     be; is that right?
   18            A.      Not really.      It's just for the
   19     declaration, to learn the declaration.
   20            Q.      And "to learn the declaration" in --
   21     what do you mean by that?
   22            A.      The Customs declaration.
   23            Q.      I see.
   24                    When you were at the Federal Law
   25     Enforcement Training Center, did you take any courses
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                                                                        Page 31
    1     related to the U.S. asylum law?
    2            A.      No.
    3            Q.      How about U.S. immigration law,
    4     generally?
    5            A.      Yes.
    6            Q.      What courses did you take regarding
    7     U.S. immigration law?
    8            A.      I -- I don't recall.
    9            Q.      So you recall there was a course, but
   10     you don't recall what it was called?
   11            A.      Yeah, because we go over -- there's like
   12     six books or seven books we go over, and it's just
   13     all different immigration and all the different
   14     classes.
   15            Q.      Were there books specifically related to
   16     the law and regulations for U.S. immigration?
   17            A.      I believe so.
   18            Q.      Do you remember what the title of that
   19     book was?
   20            A.      No.
   21            Q.      Were you provided any training materials
   22     outside of that book regarding U.S. immigration law?
   23            A.      Just what we had over there at FLETC.
   24            Q.      Do you still have a copy of that book?
   25            A.      No.
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    1            Q.      Do you have a copy of any of the
    2     training materials that you received from the Federal
    3     Law Enforcement Training Center?
    4            A.      No.
    5            Q.      Were you assigned any homework related
    6     to U.S. immigration law during your -- the time you
    7     were at training?
    8            A.      I don't know if it was homework or just
    9     studying for tests.
   10            Q.      Did you have any tests regarding
   11     U.S. immigration law?
   12            A.      Right now?
   13            Q.      No, no, no.      When you were in training.
   14            A.      Yes, I had tests.
   15            Q.      Do you recall any of the types of
   16     questions that would be on the tests related to
   17     immigration law?
   18            A.      Yeah.
   19            Q.      You know there were questions on the
   20     test, you just don't recall what the questions were;
   21     is that right?
   22            A.      Yes.
   23            Q.      Did you receive any other training
   24     related to U.S. immigration law when you were at the
   25     Federal Law Enforcement Training Center?
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                                                                        Page 33
    1            A.       No.
    2            Q.       Since going to work at ports of entry on
    3     the U.S.-Mexico border, have you received any
    4     continuing training regarding U.S. immigration law?
    5            A.       No.
    6            Q.       Have you, from time to time, received
    7     any written materials updating you on changes to
    8     U.S. immigration law?
    9            A.       We have these PALMS courses, which are
   10     on-line courses that we've got to do every year.                     But
   11     I don't know exactly what -- I can't tell what's on
   12     there.
   13            Q.       When you say PALMS, that's an acronym,
   14     right?      Can you spell it out?
   15            A.       I believe it's P-A-L-M-S.
   16            Q.       Do you understand what it stands for?
   17            A.       No.
   18            Q.       Do the PALMS courses that you take
   19     on-line include information about U.S. immigration
   20     law?
   21            A.       I'm sure there is.        I just -- there's so
   22     many we had to take, so I just -- I can't tell you
   23     exactly if there is or not.
   24            Q.       And do you have to take those PALMS
   25     courses annually?
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    1             A.     Yes.
    2             Q.     Is it required to take them, or is it
    3     merely suggested?
    4             A.     Required.
    5             Q.     So you're taking it is tracked
    6     internally at CBP in some way; is that your
    7     understanding?
    8             A.     Yes.
    9             Q.     Do you get any sort of test at the end
   10     of the PALMS course to make sure you were paying
   11     attention?
   12            A.      Yes.
   13            Q.      And are you graded on the results of
   14     that test?
   15            A.      Yes.
   16            Q.      Do you know if the grade you get in the
   17     PALMS course is reported to your management?
   18            A.      I don't know if it's just a pass or
   19     fail.
   20            Q.      Is it pass/fail or do you get --
   21            A.      No, you do get a grade.           I just don't
   22     know if they know if it's a -- if it's you passed it
   23     or if it's the actual percentage.
   24            Q.      When you were at the Federal Law
   25     Enforcement Training Center, did you get any training
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                                                                        Page 35
    1     whatsoever with respect to the procedure for
    2     inspecting and processing noncitizens who don't have
    3     proper travel documents?
    4            A.      I don't recall.
    5            Q.      It may have happened, but you just don't
    6     know it, right now, sitting here?
    7            A.      Yeah.     Yeah.
    8            Q.      Since going to work in the field, have
    9     you received any training, whether formal or
   10     informal, regarding the proper procedure for
   11     inspecting and processing noncitizens without proper
   12     travel documents?
   13            A.      Yes.
   14            Q.      Can you describe that training?
   15            A.
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25            Q.      Are there any other processes that you
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45463
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                                                                        Page 36
    1     received training on besides the four you just
    2     mentioned?
    3            A.      I'm sure there are.          I just don't recall
    4     at this moment.
    5            Q.      Okay.
    6
    7
    8
    9            A.
   10
   11
   12
   13            Q.
   14
   15            A.
   16            Q.
   17
   18
   19            A.
   20
   21            Q.
   22            A.
   23            Q.
   24            A.
   25            Q.
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                                                                        Page 37
    1
    2
    3
    4            A.
    5            Q.
    6            A.
    7            Q.
    8            A.
    9            Q.
   10
   11            A.
   12            Q.
   13
   14
   15
   16            A.      Not to my knowledge.
   17            Q.      How many people attended the training?
   18            A.      It was voluntarily based, so whoever
   19     wanted to learn could ask for some overtime and go
   20     there.
   21            Q.      Where in the Otay Mesa Port of Entry
   22     facility did the training take place?
   23            A.      In the AEU.
   24            Q.      Did you receive any written materials as
   25     part of that training?
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                                                                        Page 38
    1            A.
    2
    3            Q.
    4
    5
    6            A.
    7
    8
    9
   10
   11
   12
   13
   14
   15            A.
   16            Q.
   17
   18
   19
   20            A.
   21
   22            Q.
   23
   24            A.
   25            Q.
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                                                                        Page 39
    1            A.      Yes.
    2            Q.      And did you receive written materials
    3     that would have been taken off the Share drive as
    4     part of that training?
    5            A.      Yes.
    6            Q.      And it was voluntary as well?
    7            A.      Yes.
    8            Q.      For the U.S. asylum law process, what
    9     training did you receive on that, when you were in
   10     the field?
   11            A.      I really didn't receive any kind of
   12     training.     I never processed an asylum case.
   13            Q.      As you sit here today, have you still
   14     not processed an asylum case?
   15            A.      No.
   16            Q.      When you were at San Ysidro, were you
   17     ever posted to the limit line at San Ysidro?
   18            A.      Yes.
   19            Q.      Were you ever posted to primary
   20     inspection at San Ysidro?
   21            A.      Yes.
   22            Q.      Can you explain what primary inspection
   23     is, as it differs from the limit line?
   24            A.      Primary inspection of pedestrian or
   25     vehicle?
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                                                                        Page 40
    1            Q.      Pedestrian.
    2            A.      You're in a booth and you get people
    3     crossing, and you're inspecting for immigration and
    4     customs law as they cross.
    5            Q.      And during that time, you've never had
    6     somebody come up and express a credible fear?
    7            A.      Yes, I have.
    8            Q.      Okay.     But you didn't actually process
    9     that case?
   10            A.      No.
   11            Q.      You send them to secondary?
   12            A.      Correct.
   13            Q.      During your time at San Ysidro, were you
   14     ever posted to secondary inspection of pedestrians?
   15            A.      Yes.
   16            Q.      And during the time you were at
   17     secondary inspection for pedestrians, you never
   18     processed an asylum case; is that right?
   19            A.      No.
   20            Q.      In your time at Otay Mesa, were you
   21     posted to the limit line?
   22            A.      We didn't have one at the time.
   23            Q.      Were you posted to the primary
   24     inspection?
   25            A.      Yes.
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                                                                        Page 41
    1            Q.      Were you ever posted to secondary
    2     inspection?
    3            A.      Yes.
    4            Q.      Can you explain the difference between
    5     primary inspection and secondary inspection?
    6            A.      So in secondary you have more checks in
    7     the system to check out different -- you know, law
    8     enforcement checks.        On the individual, you can go a
    9     little more in detail on why they're there and what
   10     they need and stuff like that.            Criminal history and
   11     everything like that.
   12            Q.      And when you were at Otay Mesa, were you
   13     ever posted to secondary inspection?
   14            A.      Yes.
   15            Q.      For pedestrians?
   16            A.      Yes.
   17            Q.      And during the time you were doing
   18     secondary inspections of pedestrians at Otay Mesa,
   19     you never processed an asylum case; is that right?
   20            A.      No.
   21            Q.      And at the Tecate Port of Entry -- and
   22     I'm sorry, I know I'm mispronouncing that -- at the
   23     Tecate Port of Entry, you were posted to the limit
   24     line; is that right?
   25            A.      Yes.
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    1            Q.      And you were also posted to primary
    2     inspection on occasion?
    3            A.      Yes.
    4            Q.      Were you ever posted to secondary
    5     inspection?
    6            A.      Yes.
    7            Q.      In your entire time at Tecate, you never
    8     processed an asylum case; is that right?
    9            A.      No.
   10            Q.      Would it be fair to say that your
   11     training processing asylum cases is limited?
   12            A.      Yes.
   13            Q.      From your conversations with other CBP
   14     officers who were assigned to OFO facilities, is your
   15     level of training regarding asylum law pretty
   16     typical?
   17            A.      I don't believe so.          I think they're a
   18     little more extensive.
   19            Q.      That other officers have more extensive
   20     experience with processing asylum cases?
   21            A.      Well, it's a little more extensive of a
   22     processing than an ER.
   23            Q.      So you mentioned                          earlier
   24     today?
   25            A.      Yes.
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    1            Q.      And she's a coworker of yours at the
    2     Tecate POE, correct?
    3            A.      Yes.
    4            Q.      And have you ever seen
    5     process an asylum seeker?
    6            A.      No.    We also worked different shifts.
    7            Q.      Are you're on the second shift at
    8     Tecate, correct?
    9            A.      Correct.
   10            Q.      Has anyone on the second shift at
   11     Tecate, that you've observed, ever processed an
   12     asylum seeker?
   13            A.      Yes.
   14            Q.      How often does that occur?
   15            A.      Not as much now as it did before.
   16            Q.      When you say "it did before," what time
   17     period are you referring to?
   18            A.      Early 2019.
   19            Q.      And do you have an understanding as to
   20     why it's not happening as much now?
   21            A.      I'm guessing the limit line, maybe?
   22            Q.      And what makes you guess the limit line?
   23            A.      Just because we're not -- they're not
   24     coming up to primary, so we're not accepting them.
   25            Q.      So one of the reasons that the Tecate
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                                                                        Page 44
    1     Port of Entry has not been processing asylum seekers
    2     is because they're being turned back at the limit
    3     line; is that right?
    4            A.      Well, we are still taking them.              They've
    5     been running up the vehicle lanes.
    6            Q.      Sure.     So outside of instances where
    7     people are rushing the vehicle lanes, just normal
    8     pedestrians flowing towards the limit line, those
    9     individuals who are seeking asylum are being turned
   10     back to Mexico; is that right?
   11            A.      Yes.
   12            Q.      And the officers at the limit line who
   13     are turning those asylum seekers back to Mexico,
   14     they're doing that because they have orders or
   15     instructions to do that, right?
   16            A.      Correct.
   17            Q.      Where did those orders or instructions
   18     to turn back asylum seekers come from?
   19            A.      The port director.
   20            Q.      Who is the port director that has
   21     instructed officers at the limit line to turn back
   22     asylum seekers?
   23            A.      Ortega.
   24            Q.      What's Mr. Ortega -- do you know
   25     Mr. Ortega's full name?
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                                                                        Page 45
    1            A.      I think it's Rene Ortega.
    2            Q.      So Port Director Rene Ortega has
    3     instructed officers at Tecate Port of Entry to turn
    4     back asylum seekers at the limit line; is that right?
    5            A.      Correct.
    6            Q.      During the entire time that you have
    7     been posted to the Tecate Port of Entry, have asylum
    8     seekers that approach the limit line been turned
    9     back?
   10            A.      Yes.
   11            Q.      And Rene Ortega has not been the port
   12     director the entire time that you've been at the
   13     Tecate Port of Entry, correct?
   14            A.      No.
   15            Q.      Who was the port director before Rene
   16     Ortega?
   17            A.      It was Avila.
   18            Q.      Can you spell the last name or just
   19     guess at it?
   20            A.      I-v-i-l-i-a?
   21            Q.      And did Port Director Avila also order
   22     or instruct that asylum seekers be turned back at the
   23     limit line?
   24            A.      Yes.
   25            Q.      Do you know whether the port directors
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45473
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                                                                        Page 46
    1     received orders or instructions from either the San
    2     Diego field office or senior management at OFO to
    3     turn back asylum seekers at the limit line?
    4             A.     That's what they were telling us.
    5             Q.     When you say "they were telling us,"
    6     what do you mean by that?
    7             A.     The supervisors would tell us that they
    8     had instructions from higher management.
    9             Q.     Do you know what "higher management"
   10     means?
   11            A.      I don't.
   12            Q.      So is it your impression, based on your
   13     work at the Tecate Port of Entry, that there is some
   14     sort of broader policy of turning back asylum
   15     seekers?
   16            A.      What do you mean, "broader policy"?
   17            Q.      That either someone at OFO or the
   18     San Diego field office, someone higher up, has
   19     ordered or instructed that asylum seekers be turned
   20     back?
   21            A.      Yes.
   22            Q.      So I think you said you were sworn in
   23     on -- oh, I'm sorry.
   24                    You were talking earlier about
   25     supervisors who have instructed you to turn back
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45474
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    1     asylum seekers.        What do you mean by "supervisors"?
    2            A.      There was a muster in the morning
    3     about -- or in the afternoon about what we needed to
    4     do when an asylum seeker comes up.
    5            Q.      Can you explain what a muster is, in the
    6     CBP parlance?
    7            A.      It's kind of like an order of what to
    8     do.
    9            Q.      And can a muster be written or oral?
   10            A.      Yes.
   11            Q.      And the muster that you received
   12     regarding turning back asylum seekers, was it in
   13     writing or was it oral?
   14            A.      At first it was oral, and then it became
   15     writing months later.
   16            Q.      When do you first recall receiving a
   17     muster telling you to turn back asylum seekers?
   18            A.      Orally or written?
   19            Q.      Oral.
   20            A.      I -- I don't recall.          It was months
   21     before I did my whistle-blowing.
   22            Q.      And this occurred during your time at
   23     Tecate or was it another port of entry?
   24            A.      At Tecate.
   25            Q.      Do you have friends who work at other
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    1     ports of entry?
    2            A.      Yes.
    3            Q.      Where do your friends at other ports of
    4     entry -- where do they work?
    5            A.      Otay Mesa and San Ysidro.
    6            Q.      Do you know whether your friends who
    7     work at other ports of entry have received similar
    8     musters?
    9            A.      I don't.
   10            Q.      Have you ever talked to them about it?
   11            A.      No.
   12            Q.      So it's possible they have, but you just
   13     have discussed it with them?
   14            A.      Exactly.
   15            Q.      Let's go back for a second.
   16                    When you were talking about various
   17     training you had on certain processes, and I think
   18     the last one we talked about was the asylum process,
   19     and the fourth process that you talked about was
   20     people running into lanes, people rushing vehicle
   21     lanes?
   22            A.      Yes.
   23            Q.      And when did you receive training on
   24     people rushing the lanes?
   25            A.      It's almost the same thing as -- it's an
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    1     expedited removal as well.            So -- yeah.      It's the
    2     same process.      They're called EWIs, entry without
    3     inspections.
    4             Q.     And individuals who rush the lanes, or
    5     EWI, they're put into expedited removal?                Is that the
    6     case?
    7             A.     Yes.
    8             Q.     Where did you receive training on
    9     individuals who rush the lanes?
   10            A.      Same SharePoint.
   11            Q.      You received it at the Otay Mesa AEU?
   12            A.      Yes.
   13            Q.      And then if you wanted materials on
   14     that, you'd access the SharePoint site?
   15            A.      Yeah, or ask other officers.
   16            Q.      Okay.     Have you ever asked other
   17     officers for further training on the process for
   18     inspecting and processing asylum seekers?
   19            A.      I have.     I have told people I will do
   20     them.
   21            Q.      Okay.
   22            A.      I don't mind.         I mean, I just know it's
   23     a very time-consuming process.
   24            Q.      Do you know how time-consuming?
   25            A.      A couple of hours.
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    1            Q.      And a couple of hours, is that a guess
    2     or your best estimate?
    3            A.      It's a guess.
    4            Q.      When we talked about the four areas that
    5     you received training in at the Otay Mesa AEU,
    6     fraudulent documents, oral -- instances where someone
    7     orally makes a false claim of U.S. citizenship,
    8     asylum processing, and people running into the lanes,
    9     have you received any training on any other process
   10     or procedure for inspecting individuals as they
   11     arrive at the port of entry?
   12            A.      That committed a crime, you mean?
   13            Q.      In any instance.
   14            A.      Not that I recall right now.
   15            Q.      How about unaccompanied children, have
   16     you received any training for that?
   17            A.      Yes.
   18            Q.      Where did that training occur?
   19            A.      I don't recall.        It's been a while.
   20            Q.      Was that training that occurred in
   21     person or via the PALMS course or via reading on the
   22     SharePoint?
   23            A.      I want to say there is a PALMS course on
   24     it, but I'm not 100 percent sure.
   25            Q.      How about training regarding Mexican
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    1     citizens who have a credible fear, have you received
    2     any training on that, Mexican citizens who have a
    3     credible fear of persecution?
    4             A.     There is a training, but I don't recall
    5     where or how to get that.
    6             Q.     Okay.     Did you ever attend it, or do you
    7     just know it exists?
    8             A.     I know it exists.
    9             Q.     Okay.     But you don't recall attending
   10     it?
   11            A.      No.    I would have to ask.
   12            Q.      Are there any other training courses
   13     that are available to you that you're aware of,
   14     regarding inspecting individuals as they arrive at a
   15     port of entry?
   16            A.      Not that I know right now.
   17            Q.      Can you recall any other training that
   18     you have attended regarding inspecting individuals as
   19     they arrive at a port of entry?
   20            A.      Not at this moment, no.
   21            Q.      You mentioned earlier receiving orders
   22     via a muster to turn individuals back at the limit
   23     line.
   24                    Were you ever told why that order was
   25     being given?
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    1            A.      I believe it was just we don't have the
    2     facility, and San Ysidro is the main, I guess, hub or
    3     POE that has the facility to process them.
    4            Q.      Have you ever heard the term "processing
    5     hub" before?
    6            A.      Yes.
    7            Q.      In the San Diego field office area, or
    8     OFO, there are two processing hubs, correct?
    9            A.      I -- I don't know.
   10            Q.      Well, is San Ysidro a processing hub?
   11            A.      Yes.
   12            Q.      Is Calexico a processing hub?
   13            A.      Yes.
   14            Q.      Can you think of any other processing
   15     hubs in the San Diego field office?
   16            A.      No.
   17            Q.      So is it the case that because Tecate
   18     was a smaller port of entry, officers were being
   19     asked to turn back asylum seekers and redirect them
   20     to processing hubs in the San Diego field office?
   21            A.      Yes.
   22            Q.      When you first joined CBP after you were
   23     sworn in and got your training and were sent to the
   24     field, what was your first assignment or port of
   25     entry you were assigned to?
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    1            A.      San Ysidro.
    2            Q.      And how long were you at San Ysidro?
    3            A.      Roughly, around a year.           I don't know
    4     the exact dates.
    5            Q.      You don't know the exact dates.              Okay.
    6                    After San Ysidro, what was your next
    7     posting?
    8            A.      Otay Mesa.
    9            Q.      Why did you get moved from San Ysidro to
   10     Otay Mesa, if you know?
   11            A.      I applied for it.
   12            Q.      Was the Otay Mesa port somehow more
   13     desirable to you?
   14            A.      Yes.
   15            Q.      Why?
   16            A.      It was a lot slower pace.              It was just
   17     an easier port to work at.
   18            Q.      Was the pay any different?
   19            A.      No.
   20            Q.      Was your rank or title any different?
   21            A.      No.
   22            Q.      How long were you at the Otay Mesa Port
   23     of Entry?
   24            A.      About a year.
   25            Q.      And again, you don't know the exact
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                                                                        Page 54
    1     dates?
    2            A.      I don't know the exact dates.
    3            Q.      Okay.     From Otay Mesa, what was the next
    4     port of entry that you were posted to?
    5            A.      Tecate.
    6            Q.      Do you recall when you started working
    7     at Tecate?
    8            A.      October, maybe, of 2016.
    9            Q.      Okay.     So you've been working at Tecate
   10     for a little over three years now?
   11            A.      Yes.
   12            Q.      And why, if you know, were you
   13     transferred or moved from Otay Mesa to Tecate?
   14            A.      I put in for it.
   15            Q.      Why did you put in for it?
   16            A.      It's -- there's numerous reasons.              It
   17     closes, so I knew I was going home every night, and
   18     it's a lot slower pace, and they have three days off.
   19     So I wanted a better home life.
   20            Q.      When you say "three days off," does that
   21     mean you're on four, off three?
   22            A.      No, it's two -- two, one week, and then
   23     three the following week.            So two, three, two, three.
   24            Q.      I see.
   25                    And that's not the case at Otay Mesa and
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                                                                          Page 55
    1     San Ysidro?
    2            A.       No.
    3            Q.       Was the pay the same?
    4            A.       Yes.
    5            Q.       So the same pay, less work?
    6            A.       Yes.
    7            Q.       It's a good deal.
    8                     MR. MEDLOCK:          Why don't we take a quick
    9            break?      We'll probably take a about a
   10            five-minute break.
   11                     (Brief recess.)
   12                     MR. MEDLOCK:          Back on the record.
   13     BY MR. MEDLOCK:
   14            Q.       Welcome back, sir.
   15            A.       Thank you.
   16            Q.       You mentioned earlier, and I think I
   17     have this right, that supervisors indicated to you
   18     that this order to turn people back at the limit line
   19     came from higher management?
   20            A.       Yes.
   21            Q.       Who were the supervisors you were
   22     referring to there?
   23            A.       I know I heard it from Spencer.
   24            Q.       What is Mr. Spencer's full name?
   25            A.       I don't remember his -- I don't know his
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    1     full name.
    2            Q.      What was his rank or title?
    3            A.      Supervisor.
    4            Q.      Okay.     Batch supervisor or --
    5            A.      I think it's just first-line supervisor.
    6            Q.      Anyone else?
    7            A.      McCarthy.      Noelle McCarthy.
    8            Q.      Noelle McCarthy, and what was
    9     Mr. McCarthy's rank or title?
   10            A.      It's a female.
   11            Q.      Sorry.
   12            A.      A first-line supervisor as well.
   13            Q.      Okay.     Anyone else?
   14            A.      At that time, I think that's the only
   15     time I worked when they were giving it out.                 So there
   16     could be others who -- I just don't know.
   17            Q.      And both of those individuals worked at
   18     the Tecate Port of Entry?
   19            A.      Correct.
   20            Q.      And both of those first-line supervisors
   21     gave you that order or instruction at the Tecate Port
   22     of Entry, correct?
   23            A.      Correct.
   24            Q.      And musters are given to the second
   25     shift.
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    1                    Do those musters happen in a centralized
    2     location, or do you go to your duty location and then
    3     they give you the muster there?
    4             A.     Second part, we go to our duty location
    5     and they give us our muster there.
    6             Q.     We talked earlier about, you know,
    7     personal computer, cell phone.            Do you have any sort
    8     of like tablet, iPad, Surface, anything like that?
    9             A.     No.
   10            Q.      We talked about access to a Share drive.
   11     I assume you're not accessing that on your personal
   12     cell phone?
   13            A.      No.    I can't.
   14            Q.      How are you accessing the Share drive at
   15     work?
   16            A.      On the government computer.
   17            Q.      So there's a computer that --
   18            A.      A computer.
   19            Q.      -- anyone can sort of log into?
   20            A.      Correct.
   21            Q.      Okay.     And we talked a little bit
   22     about -- there had been instances where you had been
   23     stationed at primary inspection, where individuals
   24     came to primary inspection and either expressed a
   25     credible fear or an intent to apply for asylum,
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                                                                        Page 58
    1     correct?
    2            A.      Correct.
    3            Q.      What ports of entry were you at when
    4     that occurred?
    5            A.      All ports of entry.          All three.
    6            Q.      So Tecate, Otay Mesa, and San Ysidro?
    7            A.      Correct.
    8            Q.      When someone comes to the primary
    9     inspection point and either mentions a credible fear
   10     or asks to seek asylum, what's the process you go
   11     through?
   12            A.      At San Ysidro, they would come up to me.
   13     I would -- they would ask for credible fear.                 I would
   14     write a referral slip out, refer them to secondary
   15     for credible fear, and then we would walk them to the
   16     AEU.
   17            Q.      And was the AEU where secondary
   18     inspection would happen, or is that where they would
   19     be detained?
   20            A.      That's where they would be detained.
   21            Q.      So they would be detained at the AEU
   22     pending secondary?
   23            A.      They wouldn't go to secondary.
   24            Q.      I see.
   25            A.      They would be referred to secondary so
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    1     AEU can have it, but they would go straight to AEU.
    2            Q.       I got it.
    3                     So you mentioned a referral slip that is
    4     filled out.        Is that filled out by hand or on a
    5     computer at the primary inspection point?
    6            A.       By hand and on computer.
    7            Q.       And the referral slip, that's actually a
    8     form; is that right?
    9            A.       Yes.
   10            Q.       How long is the referral slip form?
   11            A.       It's about four inches by four inches.
   12            Q.       Okay.     So it's a single piece of paper?
   13            A.       Correct.
   14            Q.       Are there boxes that you check or are
   15     you filling in text?
   16            A.       Either/or.      There's boxes that you can
   17     check, or you can actually leave a comment and you
   18     can just write it in.
   19            Q.       What are the boxes that are available to
   20     you to check on that referral slip, if you know?
   21            A.       There's agriculture, there's customs,
   22     there's immigration.         There's about 20 different
   23     boxes.      I can't read them all off to you.             I don't
   24     know them all.
   25            Q.       And one of them is for credible fear or
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    1     asylum?
    2            A.      I believe so.
    3            Q.      Did you have -- at times were those
    4     referral slips prefilled for a credible fear or
    5     asylum, to expedite the process of dealing with
    6     individuals claiming a credible fear?
    7            A.      Not at the time I was there.
    8            Q.      When you say you were there, are you
    9     referring to each of the -- at San Ysidro or each of
   10     the three?
   11            A.      Each, each of the three.
   12            Q.      What questions, if any, do you ask an
   13     individual claiming a credible fear when they are at
   14     the primary inspection point?
   15            A.      Usually, I ask if they have anything
   16     that they're bringing that could be dangerous, just
   17     for us and them; where they're coming from, usually;
   18     and usually where they're trying to go in the U.S.;
   19     and I put that on the referral slip.
   20            Q.      Anything else that you ask?
   21            A.      Not at that point, no.
   22            Q.      Do you ask whether they have any
   23     documents, like a G-28 or a prefilled-out I-586?
   24            A.      No.    Sometimes I do ask if they do have
   25     any documents, just so I can see their -- their name
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    1     and date of birth and all that, so I can put them in
    2     the system.        Usually, every single time I do that;
    3     some people have it, some people don't.
    4            Q.       I should say I-583, counsel is reminding
    5     me.
    6                     Do you affirmatively ask for those
    7     documents, or do you just -- sometimes they just give
    8     them to you?
    9            A.       Sometimes they do both.           I'll ask, and
   10     if they -- sometimes they will give it to me.                  If
   11     they don't, I always ask because I need to put
   12     something in the system, as in name and date of
   13     birth.      So I'll usually ask, do you have anything,
   14     any kind of documentation that shows your name and
   15     date of birth so I can put it in?
   16            Q.       Okay.
   17            A.       Sometimes they understand me, sometimes
   18     they don't.
   19            Q.       Okay.     If someone comes up and they
   20     don't appear to have travel documents but they don't
   21     express a credible fear, do you affirmatively ask
   22     whether they have a credible fear?
   23            A.       No.
   24            Q.       Is it part of your training to not ask
   25     whether people have a credible fear, or is that
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                                                                        Page 62
    1     discretion left to you?
    2            A.      That discretion is left to us.
    3            Q.      Why have you decided not to ask?
    4            A.      I just -- I -- that's not the first
    5     thing I ask people, if they have a credible fear,
    6     when they come up with a document.
    7            Q.      Do you know some CBP officers who will
    8     affirmatively ask whether individuals have a credible
    9     fear?
   10            A.      Not that I know of.
   11            Q.      If an unaccompanied minor approaches the
   12     primary inspection point, how does the inspection
   13     procedure go for that individual?
   14            A.      Usually, I ask where they're going, are
   15     they -- is there -- are they here with anybody, is
   16     someone waiting for them?            I figure out if they do
   17     have any documents, are they U.S. citizens or are
   18     they not, why is a minor crossing by themselves, and
   19     then we go from there.         Usually, I send them to
   20     secondary, and then they'll either call somebody and
   21     then see what their status is as of that, and then
   22     it'll -- it'll go from there.
   23            Q.      And for a Mexican citizen who claims a
   24     credible fear, is there a different procedure for
   25     inspecting them at primary?
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                                                                        Page 63
    1            A.      I don't believe so.
    2            Q.      I'd like to go through a little bit of
    3     the chain of command at CBP and help define some
    4     terms.
    5                    Have you ever heard the term "OFO"
    6     before?
    7            A.      Yes.
    8            Q.      What does "OFO" mean?
    9            A.      Operation field --
   10            Q.      Office of Field Operations?
   11            A.      There you go.
   12            Q.      Is that right?
   13            A.      Office of Field Operations.
   14            Q.      Have you ever heard the term "director
   15     of field operations" or "DOFO"?
   16            A.      No.    I think that's new with -- the new
   17     thing that they're doing right now, their new --
   18            Q.      Structure?
   19            A.      Yeah.     Okay, yeah.
   20            Q.      I think we talked about port directors
   21     before.     Within CBP, what does the term "port
   22     director" mean?
   23            A.      That's usually the director at the port,
   24     the one that's in charge of the port.
   25            Q.      And they're ultimately responsible for
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                                                                        Page 64
    1     all things that occur at the port; is that correct?
    2            A.      Correct.
    3            Q.      There's also a title, assistant port
    4     director, correct?
    5            A.      Yes.
    6            Q.      How many assistant port directors
    7     typically work at a port of entry?
    8            A.      It's always different, depending on the
    9     size of the port of entry.
   10            Q.      How about at Tecate?
   11            A.      We have two.
   12            Q.      And at San Ysidro?
   13            A.      I have no clue.
   14            Q.      A lot more than two?
   15            A.      Yes.
   16            Q.      What are the responsibilities of an
   17     assistant port director, if you know?
   18            A.      I believe they're in charge of the lower
   19     management, which are first-line and second-line
   20     supervisors, I believe.         Just a chain of custody, so
   21     I believe anything that happens with them, they're in
   22     charge of that.       I don't really know offhand, though,
   23     exactly.
   24            Q.      So beneath the assistant port director
   25     there's a term of a second-line supervisor?
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                                                                        Page 65
    1            A.      Second-line supervisor.
    2            Q.      What does a second-line supervisor do?
    3            A.      I believe they're in charge of the
    4     first-line supervisors.
    5            Q.      How many second-line supervisors are
    6     there at Tecate?
    7            A.      We don't have any second-line
    8     supervisors.
    9            Q.      I see.
   10                    So there's only first-line supervisors
   11     at Tecate?
   12            A.      Yes.
   13            Q.      And the first-line supervisors, they're
   14     directly responsible for the officers; is that
   15     correct?
   16            A.      Correct.
   17            Q.      How many first-line supervisors are
   18     there at Tecate, currently?
   19            A.      Between six and seven.
   20            Q.      Is there anybody I've left out in the
   21     chain from OFO higher management down to the officer
   22     level?
   23            A.      I don't believe so.
   24            Q.      Have you ever heard of the term "Class A
   25     port of entry" before?
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                                                                        Page 66
    1            A.      No.
    2            Q.      Have you heard Tecate referred to as a
    3     Class A port of entry?
    4            A.      No.
    5            Q.      We talked about musters before.              Who at
    6     CBP has the authority to issue a muster?
    7            A.      I don't know that question.
    8            Q.      And who are musters intended for, if you
    9     know?
   10            A.      I believe officers.          I'm sure there's
   11     some for supervisors, too, but I believe officers.                   I
   12     don't know.
   13            Q.      Are you familiar with the term "standard
   14     operating procedure" as it is used in CBP?
   15            A.      Yes.
   16            Q.      What does the term "standard operating
   17     procedure" mean at CBP?
   18            A.      That's usually for the port.             It's like
   19     a port policy.       It's usually how the port is going to
   20     be ran, and that's the procedure we're going to run
   21     it at.
   22            Q.      Who issues a standard operating
   23     procedure for a port?
   24            A.      I want to say the port director.
   25            Q.      What's the -- let me ask a better
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                                                                        Page 67
    1     question.
    2                    What's the difference between a muster
    3     and a standard operating procedure?
    4            A.      I believe a muster is just like intel on
    5     how we're going to -- intel of what's going to
    6     possibly occur.       I believe we have muster like on --
    7     you know, on different groups that come through,
    8     like -- like motorcycle groups.             So if there's like a
    9     danger or something like that, how we're going to --
   10     you know, there's a muster.            Or different trends,
   11     there's muster for those.            And standard operating
   12     procedures are actual procedures that are going to be
   13     taken for different situations.
   14            Q.      You mentioned the term AEU, and that
   15     means Admissibility Enforcement Unit; is that right?
   16            A.      Yes.
   17            Q.      What physically is an AEU?
   18            A.      It's I guess a detention facility of
   19     some sort for short term.            So we have a -- we have a
   20     secure area where we secure everything down and make
   21     sure there's no weapons going in.              And now from
   22     there, there's like a waiting area.              And then
   23     there's -- there's bathrooms, and depending if the
   24     people need showers or not or medication, we have an
   25     on-site nurse that can prescribe medication, and then
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                                                                        Page 68
    1     all the holding cells.
    2            Q.       And when you said short-term detention,
    3     what does -- how do you define "short term"?
    4            A.       I believe -- I think the longest I've
    5     seen someone there is maybe like four days, maybe, I
    6     think.      I don't know the exact days, but it's not for
    7     months on end.
    8            Q.       So when someone leaves an AEU, what are
    9     the ways they can leave an AEU?
   10            A.      So they either get paroled in or they
   11     get transferred to a longer facility, holding
   12     facility, or they get ER'd back to Mexico.
   13            Q.      Are there any other ways that an
   14     individual can leave an AEU?
   15            A.      There would possibly be; I just don't
   16     know right now.
   17            Q.      Have you ever had heard the term
   18     "Criminal Enforcement Unit" or "CEU"?
   19            A.      Yes.
   20            Q.      What is a CEU, if you know?
   21            A.      I believe those are the people we
   22     contact for when we have warrants.              We contact them,
   23     and they can process them and take them.                We don't --
   24     so we always have to contact them if they want to
   25     take them or not.
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                                                                        Page 69
    1                    Also if there is an EWI that was in
    2     credible -- in fear -- entry without inspection, ESI,
    3     if there was someone like in a vehicle that had a
    4     compartment case where they couldn't get out and they
    5     were in danger, CEU would process the driver of that
    6     vehicle.
    7            Q.      If somebody uses false or fraudulent
    8     documents to attempt to enter the United States, are
    9     they sent to a CEU or to the AEU?
   10            A.      I guess it depends.          There's always --
   11     if the guy is like a felon, aggravated felon, they
   12     could be -- AEU could be contacted, you know, because
   13     he's been doing it multiple times.              And they can
   14     prosecute him, which he can do some jail time.                 But
   15     if he's just a first-time crosser, it's usually just
   16     AEU.
   17            Q.      We talked about the term "limit line"
   18     before today.      What is the limit line?
   19            A.      It is a position right outside the gate
   20     of the -- of Mexico into the U.S., where we check
   21     documents of everyone coming into the United States.
   22            Q.      Is it the case that the limit line is
   23     actual physical line between the United States and
   24     Mexico, right?
   25            A.      Yes.
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                                                                        Page 70
    1             Q.       Is the limit line demarcated differently
    2     in different ports of entry you've been to?
    3             A.       I -- no.   There's always a gate in front
    4     of it.       I just don't know if that's the actual limit
    5     line or not.
    6             Q.       Okay.
    7             A.       But there's always a gate that separates
    8     Mexico from the U.S.
    9             Q.       In some cases, is there a turnstile at
   10     the limit line?
   11            A.       Yes.
   12            Q.       What ports have you been to where there
   13     is a turnstile at the limit line?
   14            A.       San Ysidro and Otay Mesa.
   15            Q.       To your knowledge, why is there a
   16     turnstile at the limit line at San Ysidro and Otay
   17     Mesa?
   18            A.       I don't -- I don't know the reason why
   19     they did that.
   20            Q.       In each of the three ports you've been
   21     to -- Otay Mesa, San Ysidro, and Tecate -- there have
   22     been officers posted to the limit line at least a
   23     part of the time you've been there?
   24            A.       Not at Otay.
   25            Q.       Not at -- that was the first port you
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                                                                        Page 71
    1     were at?
    2             A.     No.     San Ysidro was the first port I was
    3     at.     But we didn't have the -- that position was made
    4     for security purposes.
    5             Q.     I see.
    6                    The limit line position?
    7             A.     Yeah.     It wasn't -- we weren't there
    8     checking or facilitating traffic.              We weren't there
    9     at that time doing any -- anything like that.                 It was
   10     just to back up the GSA guards.
   11            Q.      I see.
   12                    When was the first time you're aware of
   13     that officers were posted to the limit line to check
   14     documents?
   15            A.      It was right when I was leaving
   16     San Ysidro.
   17            Q.      So that would have been around 2016,
   18     2017?
   19            A.      No.    I was at Tecate at that time.
   20            Q.      Okay.
   21            A.      I want to say the end of 2013.
   22            Q.      Okay.     Got it.
   23            A.      And that was for safety reasons, though.
   24     I remember that.
   25            Q.      And have you heard the term "metering"
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                                                                        Page 72
    1     before?
    2            A.      Not till all -- after this.
    3            Q.      So the first time you heard about
    4     metering was when you heard about this litigation; is
    5     that right?
    6            A.      Yeah.
    7            Q.      But you had certainly heard about
    8     turning back individuals at the limit line before?
    9            A.      Yeah, we call it "redirecting."
   10            Q.      Have you heard the term "queue
   11     management" before?
   12            A.      No.
   13            Q.      So I just want to be real clear:              Your
   14     higher management has never told you -- used the term
   15     "metering" with you before?
   16            A.      No.
   17            Q.      And they've never used the term "queue
   18     management" before?
   19            A.      No.
   20            Q.      And your supervisors, they've never used
   21     the term "metering" with you before?
   22            A.      No.
   23            Q.      And your supervisors have never used the
   24     term "queue management" with you before?
   25            A.      No.
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                                                                        Page 73
    1            Q.      But they have told you to turn
    2     individuals back at the limit line or redirect them?
    3            A.      Yes.
    4            Q.      Have you ever heard the term "UDA"
    5     before?
    6            A.      No.
    7            Q.      Have you ever heard the term
    8     "undocumented alien" before?
    9            A.      Yes.
   10            Q.      Is "UDA" sometimes used as an
   11     abbreviation for it, "undocumented alien"?
   12            A.      I've never heard.
   13            Q.      Okay.
   14            A.      I think it's more Border Patrol.
   15            Q.      Got it.
   16                    Have you ever heard the term "FAMU" or
   17     "family unit" before?
   18            A.      No.    That's more -- I think that's more
   19     of an AEU, too.
   20            Q.      How about "OTM" or "other than Mexican"?
   21            A.      Yes.
   22            Q.      What does "OTM" mean?
   23            A.      "Other than Mexican."
   24            Q.      Fair point.
   25                    So these are individuals who present at
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45501
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                                                                        Page 74
    1     a port of entry that aren't Mexican nationals,
    2     correct?
    3            A.      Yes.
    4            Q.      Have you ever heard the term "funneling"
    5     before?
    6            A.      I feel like I have, but I don't recall
    7     when and where.
    8            Q.      Have you heard the term "funneling" used
    9     synonymously with redirecting asylum seekers?
   10            A.      No.
   11            Q.      So when you're posted to a primary
   12     inspection point, you're governed by musters,
   13     standards procedures, as well as your training; is
   14     that right?
   15            A.      Yes.
   16            Q.      And the officers at the limit line,
   17     they're governed by the musters, standard operating
   18     procedures, and training that they receive; is that
   19     right?
   20            A.      Yes.
   21            Q.      And in your experience, do CBP officers
   22     deliberately disobey the training or musters or
   23     instructions they receive from senior management?
   24            A.      Not that I know of.
   25            Q.      Why not?
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                                                                        Page 75
    1            A.      Because no one wants to get written up.
    2            Q.      In your experience, have you ever
    3     deliberately disobeyed an order or instruction from
    4     your senior management?
    5            A.      No.
    6            Q.      Have you ever observed any of your
    7     fellow coworkers deliberately disobey an order from
    8     senior management?
    9            A.      Not that I know of.
   10            Q.      Do CBP officers freelance and come up
   11     with their own practices for inspecting and
   12     processing individuals, without reference to the
   13     guidance and orders from senior management?
   14            A.      I guess everyone has their different
   15     practices.     It's just something you learn in the
   16     field, and what kind of style inspections you want to
   17     do.
   18            Q.      But do they ignore their training?
   19            A.      No.
   20            Q.      Do they -- do officers ignore the orders
   21     that they receive?
   22            A.      Not that I know.
   23            Q.      So when officers receive an order to
   24     turn back individuals at the limit line, they
   25     wouldn't ignore that order, right?
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                                                                         Page 76
    1            A.      No.
    2            Q.      And, in fact, you never ignored an order
    3     to turn back asylum seekers at the limit line?
    4            A.      I have not, but I also haven't ever
    5     returned asylum seekers.             I've always called for a
    6     supervisor.
    7            Q.      And you call for a supervisor because
    8     you were uncomfortable with the order; is that right?
    9            A.      Correct.
   10            Q.      Why were you uncomfortable with that
   11     order?
   12            A.      At that time there was no documentation,
   13     nor would they give me documentation on what to do.
   14            Q.      Did you have a concern that following
   15     the order could expose you to a lawsuit?
   16            A.      Yes.
   17            Q.      Did you have a concern that following
   18     the order might be illegal?
   19            A.      Yes.
   20            Q.      How so?
   21            A.      To my understanding, asylum seekers
   22     could apply for entry at any port of entry, not
   23     certain ports of entry.
   24            Q.      And how did it make you feel to be
   25     forced to follow an order that you believe was
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45504
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                                                                        Page 77
    1     illegal?
    2            A.      I would -- I would never do it.              That's
    3     why I always called for a supervisor.
    4            Q.      Did any of your fellow coworkers at the
    5     Tecate Port of Entry ever express to you that they
    6     were uncomfortable with following the order to turn
    7     back asylum seekers at the port of entry?
    8            A.      No.
    9            Q.      Did anyone else at the Tecate Port of
   10     Entry ever express to you that they believed the
   11     order was illegal?
   12            A.      No.    They might have expressed that they
   13     were a little concerned, but not -- it wasn't -- it
   14     was less work for them, pretty much.
   15            Q.      It was less work because they didn't
   16     have to process the asylum seekers?
   17            A.      Yes.
   18            Q.      And who expressed to you that they were
   19     a little concerned?
   20            A.      I don't -- I don't recall names.
   21            Q.      Do you recall how many people expressed
   22     to you that they were a little concerned?
   23            A.      Maybe about four.
   24            Q.      And these four, were they officers or
   25     supervisors?
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                                                                        Page 78
    1            A.      Officers.
    2            Q.      Were these officers posted to limit line
    3     or --
    4            A.      Everyone was posted to limit line.
    5            Q.      Were they officers who were on your
    6     shift?
    7            A.      Some on my shift and some on other
    8     shifts.
    9            Q.      Was                     one of the officers
   10     that expressed a concern?
   11            A.      I believe so.
   12            Q.      And do you recall when Officer
   13     expressed that concern to you?
   14            A.      I don't.
   15            Q.      Do you recall what Officer                    said
   16     to you to indicate she had a concern with the order?
   17            A.      I -- I don't, to be honest.             It's been a
   18     while.
   19            Q.      Do you have any social media accounts?
   20            A.      Yes.
   21            Q.      A Facebook account?
   22            A.      Yes.
   23            Q.      How about LinkedIn?
   24            A.      I do, but I never use it.
   25            Q.      Same; don't worry about it.
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                                                                         Page 79
    1                    Twitter?
    2            A.      No.
    3            Q.      Instagram account?
    4            A.      Yes.
    5            Q.      Do you ever post on your Facebook
    6     account about things you do at work?
    7            A.      Never.
    8            Q.      Do you ever post on your Facebook
    9     account about U.S. immigration policy?
   10            A.      Never.
   11            Q.      Are you a part of any Facebook groups
   12     related to the activities of CBP officers?
   13            A.      No.
   14            Q.      Have you ever been a part of a Facebook
   15     group called "I'm 10-15"?
   16            A.      No.
   17            Q.      Have you ever heard about that group?
   18            A.      No.
   19                    MR. MEDLOCK:          We'll mark the next
   20            document.
   21                    [Exhibit 3, a memorandum, was marked for
   22            identification.]
   23                    MR. MEDLOCK:          Let's go off the record.
   24                    (Brief recess.)
   25                    MR. MEDLOCK:          Back on the record.
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    1     BY MR. MEDLOCK:
    2             Q.     All right, sir.        I've put in front of
    3     you what's marked as Exhibit 3 to your deposition.
    4     It's a one-page document that I'll represent to you
    5     is a somewhat redacted copy that was filed on the
    6     public docket in this case; that's why there's those
    7     black boxes there some weird type on the top of it.
    8                    Please take a moment to review it, and
    9     let me know verbally when you've done so.
   10            A.      Okay.
   11            Q.      So Exhibit 3 is an April 27, 2018,
   12     memorandum with the subject line, "Metering
   13     guidance."     Do you see that?
   14            A.      Yes.
   15            Q.      And it's from Todd C. Owen, Executive
   16     Assistant Commissioner, Office of Field Operations.
   17     Do you see that?
   18            A.      Yes.
   19            Q.      Have you ever met Mr. Owen?
   20            A.      No.
   21            Q.      Have you ever communicated with Mr. Owen
   22     in any way?
   23            A.      No.
   24            Q.      At the bottom, there's a distribution
   25     list.    Do you see that?
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    1            A.      Yes.
    2            Q.      And the distributions are to director of
    3     field operations El Paso, director of field
    4     operations Laredo, director of field operations
    5     San Diego, and director of field operations Tucson,
    6     correct?
    7            A.      Correct.
    8            Q.      And those are the four field offices
    9     that the office of -- that OFO has on the U.S.-Mexico
   10     border; is that right?
   11            A.      Yes.
   12            Q.      So this memo did not go to anyone on the
   13     OFO staff on the northern border with Canada; is that
   14     right?
   15            A.      Yes.
   16            Q.      Have you seen a copy of Exhibit 3
   17     before?
   18            A.      Yes.
   19            Q.      When did you first see a copy of this
   20     memorandum?
   21            A.      Yesterday.
   22            Q.      So prior to you being involved in this
   23     litigation, you never saw a copy of this memorandum;
   24     is that right?
   25            A.      No.
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                                                                         Page 82
    1            Q.      Okay.      So understanding that you haven't
    2     seen it, I would still like to ask you a few
    3     questions about it.
    4                    I'm focused on the first full paragraph
    5     of the memorandum, that begins with, "When
    6     necessary."        Do you see that?
    7            A.      Yes.
    8            Q.      Okay.      That reads, "When necessary or
    9     appropriate to facilitate orderly processing and
   10     maintain the security of the port in safe and
   11     sanitary conditions for the traveling public, DFOs
   12     may elect to meter the flow of travelers at the land
   13     border to take into account the port's processing
   14     capacity."
   15                    Did I read that correctly?
   16            A.      Yes.
   17            Q.      The term "DFO," though, that means
   18     "director of field operations"; is that right?
   19            A.      Correct.
   20            Q.      Do you have any understanding of what
   21     the phrase "meter the flow of travelers" means?
   22            A.      No.
   23            Q.      From reviewing this memorandum, is the
   24     phrase "meter the flow of travelers" defined anywhere
   25     in this memorandum?
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    1             A.     Not that I see.
    2             Q.     When you get guidance from your senior
    3     management, do you want to understand what the terms
    4     in that guidance mean?
    5             A.     Yes.
    6             Q.     If you got this memorandum, would you
    7     have a question about what the phrase "meter the flow
    8     of travelers" means?
    9             A.     Yes.
   10            Q.      On its face, this memorandum applies to
   11     all members of the traveling public.                  Do you see
   12     that?
   13            A.      Where?
   14            Q.      It's says, "Meter the flow of
   15     travelers," so this memorandum applies to travelers,
   16     right?
   17            A.      Yes.
   18            Q.      Are you aware of any instance in which
   19     the port directors at San Ysidro or Otay Mesa or
   20     Tecate elected to meter the flow of U.S. citizens
   21     entering the United States through the land border
   22     with Mexico?
   23            A.      I never heard of metering before this.
   24     I always heard of redirecting; that's what we used.
   25            Q.      Have you ever been instructed to
Case 3:17-cv-02366-BAS-KSC   Document 535-3     Filed 09/04/20    PageID.45511
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    1     redirect or turn back U.S. citizens entering the
    2     United States through the land border with Mexico?
    3            A.      No.
    4                    MR. HALASKA:          Objection.        Compound.
    5     BY MR. MEDLOCK:
    6            Q.      Let me ask it to you a different way:
    7     Have you ever been asked to redirect U.S. citizens
    8     entering the United States?
    9            A.      No.
   10            Q.      Have you ever been asked to redirect
   11     legal permanent residents entering the United States?
   12            A.      No.
   13            Q.      Have you ever been asked to turn back
   14     U.S. citizens entering the United States?
   15            A.      No.
   16            Q.      Have you ever been asked to turn back
   17     legal permanent residents entering the United States?
   18            A.      No.
   19            Q.      Are you aware of the SENTRI program?
   20            A.      Somewhat.
   21            Q.      Have you ever been asked to meter the
   22     flow of a SENTRI pass holders entering the United
   23     States?
   24            A.      No.
   25            Q.      Have you ever been asked to turn back
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45512
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                                                                        Page 85
    1     SENTRI pass holders?
    2            A.      No.
    3            Q.      Have you ever been asked to redirect
    4     SENTRI pass holders?
    5            A.      No.
    6            Q.      Have you ever received any order telling
    7     you to redirect any class of traveler at a port of
    8     entry, other than asylum seekers?
    9            A.      Can you repeat the question?
   10            Q.      So put asylum seekers aside for a
   11     second.
   12            A.      Okay.
   13            Q.      Have you ever been asked to redirect
   14     anyone else at a port of entry?
   15            A.      Redirect them to other ports of entry?
   16            Q.      Yes.
   17            A.      No.
   18            Q.      Have you ever been asked to turn back
   19     anyone other than an asylum seeker at a port of
   20     entry?
   21            A.      Yes.
   22            Q.      Who?
   23            A.      We have some people that just get lost
   24     and they ask random questions on, like, I wanted to
   25     go to the grocery store, and they don't know they're
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20    PageID.45513
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                                                                         Page 86
    1     at a port of entry, and so yes, we do return those
    2     people.      But --
    3             Q.      Okay.    So put aside the people who are
    4     simply lost and the asylum seekers, have you ever
    5     been asked to turn back anyone else?
    6             A.      No.
    7             Q.      Okay.    So focusing again on the first
    8     sentence of this memorandum, it says, "Facilitate
    9     orderly processing."        Do you see that phrase?
   10            A.      Yes.
   11            Q.      Do you have an understanding of what the
   12     phrase, "Facilitate orderly processing," means?
   13            A.      In an orderly fashion?           I don't know.
   14            Q.      Is the phrase "facilitate orderly
   15     processing" defined anywhere in this memorandum?
   16            A.      No.
   17            Q.      If you read this memorandum, and this
   18     memorandum was given to you by your senior
   19     management, would you have a question about what the
   20     phrase "facilitate orderly processing" means?
   21            A.      Yes.
   22            Q.      The next phrase I want to focus on is,
   23     "Maintain the security of the port."                  Do you see
   24     that?
   25            A.      Yes.
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                                                                         Page 87
    1            Q.      In your experience, do asylum seekers
    2     threaten the security of ports of entry?
    3            A.      We don't know what's coming in.
    4     Everybody --
    5            Q.      Anybody could, right?
    6            A.      Anybody could.
    7                    MR. HALASKA:          I'll ask that you let him
    8            just finish his answer to your questions.
    9                    MR. MEDLOCK:          That's fine.
   10                    MR. HALASKA:          Thank you.
   11     BY MR. MEDLOCK:
   12            Q.      Anyone approaching a port of entry,
   13     regardless of whether they're an asylum seeker or any
   14     other type of traveler, could threaten the safety of
   15     a port of entry, right?
   16            A.      Correct.
   17            Q.      So it could be a U.S. citizen that could
   18     threaten the safety of a port of entry, right?
   19            A.      Correct.
   20            Q.      But you've never been asked to redirect
   21     a U.S. citizen, right?
   22            A.      No.
   23            Q.      And you've never been asked to meter a
   24     U.S. citizen, correct?
   25            A.      No.
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                                                                        Page 88
    1            Q.      It could be that they -- a legal
    2     permanent resident could threaten the security of a
    3     port of entry, correct?
    4            A.      Correct.
    5            Q.      And you've ever been asked to redirect
    6     them either?
    7            A.      No.
    8            Q.      Okay.     So the next phrase in this first
    9     sentence is "sanitary conditions"?
   10            A.      Correct.
   11            Q.      Do you see that?
   12            A.      Yes.
   13            Q.      Do you have any understanding of what
   14     "sanitary conditions" means?
   15            A.      Cleanliness.
   16            Q.      But besides sanitary meaning clean, do
   17     you have any understanding of what the standard for
   18     sanitary conditions is, as set out by this memo?
   19            A.      No.
   20            Q.      If you received an instruction from your
   21     senior management asking you to redirect people in
   22     order to maintain sanitary conditions at the port,
   23     would you have a question about what the phrase
   24     "sanitary conditions" means?
   25            A.      Yeah and no.
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                                                                        Page 89
    1            Q.      Okay.     Let's start with the "yeah."
    2     What's the "yeah" for?
    3            A.      Would I have -- well, because I -- I
    4     would like to know what exactly sanitary does, what
    5     it falls -- it falls into.           But also we do have a lot
    6     of people that do have lice and scabies and all these
    7     other things that can be passed on to other people.
    8     So I can understand that aspect of sanitary.                 We
    9     can't have people with other people that have lice
   10     and scabies.       We have to take care of that situation
   11     before we put them in the general population.
   12            Q.      Are asylum seekers the only people in
   13     your experience who have lice?
   14            A.      No.
   15            Q.      Are asylum seekers the only people who
   16     approach a port of entry who have scabies?
   17            A.      No.
   18            Q.      Are asylum seekers the only individuals
   19     who approach a port of entry who have health
   20     conditions?
   21            A.      No.
   22            Q.      In fact, it could be that U.S. citizens
   23     approaching a port of entry have lice?
   24            A.      Yes.
   25            Q.      And it could be that U.S. citizens
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45517
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                                                                         Page 90
    1     approaching a port of entry have scabies, correct?
    2            A.      Yes.
    3            Q.      And it could be that U.S. citizens
    4     approaching a port of entry have communicable
    5     diseases, correct?
    6            A.      Correct.
    7            Q.      And you've never been asked to redirect
    8     them?
    9            A.      No.
   10            Q.      I want to focus back on that sentence.
   11     It says, "DFOs may elect to meter the flow of
   12     travelers."        Do you see that?
   13            A.      Correct.
   14            Q.      During the entire time you worked at the
   15     Tecate Port of Entry, there were officers posted to
   16     the limit line, correct?
   17            A.      No.
   18            Q.      No?
   19            A.      No.
   20            Q.      What was the periods where there were
   21     not officers at the limit line?              What was the period
   22     in which there weren't officers at the limit line?
   23            A.
   24                                                             I don't know
   25     the exact date of that, but it was about two or three
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45518
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                                                                        Page 91
    1     months before that we had -- we didn't have a limit
    2     line position.
    3            Q.      Is there still a limit line position
    4     today?
    5            A.      Yes.
    6            Q.
    7
    8
    9            A.
   10            Q.      And during that time that officers were
   11     posted to the limit line at Tecate, they were always
   12     instructed to check documents that the travelers had,
   13     correct?
   14            A.      Yes.
   15            Q.      And those officers at the limit line
   16     were all instructed to turn back asylum seekers,
   17     correct?
   18            A.      We had instructions at one point to just
   19     call a supervisor, and they would --
   20            Q.      They would do the turn-back?
   21            A.      Yes.
   22            Q.      So one way or the other, the
   23     instructions were that the asylum seekers would be
   24     turned back.       It was just in some cases the
   25     supervisor was doing it, and in some cases the
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45519
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                                                                        Page 92
    1     officer was doing it; is that right?
    2             A.     Correct.
    3             Q.     And there's a reference to the port's
    4     processing capacity.        Do you see that?
    5             A.     Yes.
    6             Q.     Do you have an understanding of what
    7     "processing capacity" means here?
    8             A.     Yes.    We all have a capacity of how many
    9     we can fit in a port.
   10            Q.      When you say "how many," what do you
   11     mean?    How many of what?
   12            A.      How many people can be in a port.              Just
   13     like any building, there's always a capacity of
   14     occupancy.
   15            Q.      Are you aware of the General Services
   16     Administration of the United States' government?
   17            A.      GSA?
   18            Q.      Yes.
   19            A.      Yes.
   20            Q.      And GSA tells you the maximum number of
   21     people who can be in a government building, correct?
   22            A.      Correct.
   23            Q.      And that is the capacity that you
   24     believe is being referred to here?
   25            A.      That's what I would take it as.
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    1            Q.      In that capacity, that number that you
    2     got from GSA, that's an actual number, right?
    3            A.      Yes.
    4            Q.      It's not something that's, you know,
    5     amorphous and unknowable, right?             It's an actual
    6     number?
    7            A.      Yes.
    8            Q.      So I want to focus on the next sentence.
    9     It says, "Depending on port configuration operating
   10     conditions, the DFO may establish and operate
   11     physical access controls at the borderline, including
   12     as close to the U.S.-Mexico border as operationally
   13     feasible."
   14                    Did I read that correctly?
   15            A.      Yes.
   16            Q.      Okay.     I want to pick out some parts of
   17     that sentence.
   18                    Do you have a sense of what the phrase
   19     "physical access controls" means?
   20            A.      I'm guessing officers?
   21            Q.      Could it also be turnstiles as well?
   22            A.      Yes.
   23            Q.
   24                                              there's always been
   25     some form of physical access control at the
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45521
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                                                                        Page 94
    1     borderline of Tecate; is that right?
    2            A.      Wait.     Three months before and now?
    3            Q.      Yes.
    4            A.      Yes, sir.
    5            Q.      I want to look at the next sentence, and
    6     I'll read it to you:        "DFOs may not create a line
    7     specifically for asylum seekers only, but could, for
    8     instance, create lines based on legitimate
    9     operational needs, such as lines for those with
   10     appropriate travel documents and those without such
   11     documents."
   12                    Do you see that?
   13            A.      Yes.
   14            Q.      At Tecate, are there two different lines
   15     of people approaching the port of entry?
   16            A.      No.
   17            Q.      At San Ysidro, were there?
   18            A.      Yes.
   19            Q.      And how many lines were there
   20     approaching the port of entry?
   21            A.      I believe there was four.
   22            Q.      Who was in each of those lines?              How
   23     were they broken down?
   24            A.      There was a SENTRI, there was a ready
   25     line, there was a general public lane -- that just
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45522
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                                                                        Page 95
    1     didn't have any -- just regular passport, wasn't a
    2     ready-lane document -- and then there was the
    3     handicapped lane.
    4             Q.     And these are the lanes of people
    5     approaching primary, right?
    6             A.     Correct.
    7             Q.     Were there lines of people approaching
    8     the limit line?
    9             A.     Yes.
   10            Q.      And how were those lines broken down?
   11            A.      They were the same.
   12            Q.      The same?
   13            A.      Yes.
   14            Q.      And how about at Otay Mesa, were there
   15     different lines at Otay Mesa?
   16            A.      I don't -- well, yes, there was a SENTRI
   17     line, for sure.       I don't remember there because there
   18     was no limit line when I was there at Otay Mesa.
   19            Q.      I see.     Okay.
   20                    There's a reference here to the border
   21     line.    Do you see that in the memorandum?
   22            A.      Yes.
   23            Q.      Is the border line what you understand
   24     to be the limit line?
   25            A.      That's -- I -- what I understand is
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45523
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                                                                        Page 96
    1     that's the actual physical line that separates Mexico
    2     to the U.S.
    3            Q.      And the officers who were posted to the
    4     limit line at Tecate, do they stand at the actual
    5     border, or do they stand some ways back of it?
    6            A.      Some ways back of it.
    7            Q.      How far back?
    8            A.      Every port is different.
    9            Q.      Okay.     At Tecate, how far back?
   10            A.      Three feet.
   11            Q.      Okay.     So if an asylum seeker approaches
   12     the officer at the limit line and is turned back,
   13     they've actually stepped three feet into U.S. soil
   14     before being turned back; is that right?
   15            A.      There's a possibility.
   16            Q.      Where is -- when you say there's a
   17     possibility --
   18            A.      Because they could stop before and talk
   19     to the officer.
   20            Q.      Okay --
   21            A.      So --
   22            Q.      So unless they stand a yard away and
   23     just yell at the officer, they're going to be on
   24     U.S. soil, right?
   25            A.      Yes.
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                                                                        Page 97
    1            Q.      Okay.     And in your experience, how often
    2     do asylum seekers just stand three feet back to have
    3     that conversation from you?
    4            A.      Very rare.
    5            Q.      In fact, they usually come up a normal
    6     speaking distance away, right?
    7            A.      Yes.
    8            Q.      So we're talking about a foot or so away
    9     from you?
   10            A.      Correct.
   11            Q.      So they're on U.S. soil, most cases,
   12     when they come to the limit line at Tecate, right?
   13            A.      Yes.
   14            Q.      And so they would be -- in most cases,
   15     asylum seekers would have their feet on U.S. soil and
   16     then be turned back to Mexican soil and told to go to
   17     another port of entry; is that right?
   18            A.      Correct.
   19            Q.      During the time that you were at
   20     San Ysidro, where were the officers stationed at the
   21     limit line with respect to the actual borderline
   22     between the U.S. and Mexico?
   23            A.      San Ysidro?      I don't remember where the
   24     actual limit line is at San Ysidro.
   25            Q.      And at Otay Mesa, no one was posted to
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45525
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    1     the limit line, so you don't recall?
    2            A.      No.
    3            Q.      I want to move down to the second
    4     paragraph of this memo, that begins with, "Ports
    5     should."
    6                    Do you see that?
    7            A.      Yes.
    8            Q.      That sentence reads, "Ports should
    9     inform the waiting travelers that processing at the
   10     port of entry is currently at capacity.                And CBP is
   11     permitting travelers to enter the port once there is
   12     sufficient space and resources to process them."
   13                    Did I read that correctly?
   14            A.      Yes.
   15            Q.      Have you -- at the time you were at
   16     Tecate, did officers ever tell individuals that the
   17     port was at capacity and turn them back to Mexico?
   18            A.      Yes.
   19            Q.      And the Tecate port doesn't have an AEU,
   20     right?
   21            A.      No.
   22            Q.      But asylum seekers can be processed at
   23     Tecate, right?
   24            A.      Yes.
   25            Q.      There are individuals, officers at
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45526
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                                                                        Page 99
    1     Tecate, who have training that enables them to
    2     process asylum seekers, correct?
    3             A.     Correct.
    4             Q.     And do you know -- do you know of
    5     instances where asylum seekers have actually been
    6     processed at Tecate?
    7             A.     Yes.
    8             Q.     And do you know what the actual capacity
    9     of Tecate is on a daily basis to process asylum
   10     seekers?
   11            A.      No.
   12            Q.      Is it safe to say that it is higher than
   13     zero?
   14            A.      Yes.
   15            Q.      And in most days that you were posted to
   16     the limit line, the Tecate port was processing zero
   17     asylum seekers per day, correct?
   18            A.      Yes.
   19            Q.      So it's just simply not true that when
   20     officers told asylum seekers that the port was
   21     currently at capacity and turning them back, that the
   22     port was actually -- that Tecate was actually at
   23     capacity, right?
   24            A.      Correct.
   25            Q.      So you were instructed to lie to people
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45527
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    1     when turning them back; is that right?
    2            A.      We were instructed, yes.
    3            Q.      How did it make you feel that your
    4     management was telling you to lie to people in order
    5     to turn them back from U.S. soil to Mexican soil?
    6            A.      I didn't do it.        I would have the
    7     manager come down and they would have to do it.
    8            Q.      So the management would lie?
    9            A.      Yes.
   10            Q.      They would lie for you, essentially; is
   11     that right?
   12            A.      Well, I wouldn't talk to them.              First
   13     off, I don't -- a lot of time I don't speak the
   14     language --
   15            Q.      I see.
   16            A.      -- enough to tell them all that.
   17            Q.      But when the supervisor came down, they
   18     would give this capacity excuse, correct?
   19            A.      Not all the time.
   20            Q.      So sometimes they would, though?
   21            A.      Yes.
   22            Q.      And when they said the port was at
   23     capacity, you knew that was a lie, right?
   24            A.      Yes.
   25            Q.      And it would have been obvious to those
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45528
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                                                                       Page 101
    1     supervisors that it was a lie as well, correct?
    2            A.      Correct.
    3            Q.      In fact, it was obvious to everybody who
    4     was implementing this policy at Tecate that the
    5     capacity excuse was a lie, right?
    6            A.      Correct.
    7                    MR. MEDLOCK:      We'll mark the next
    8            exhibit as Exhibit 4.
    9                    [Exhibit 4, a declaration, was marked
   10            for identification.]
   11     BY MR. MEDLOCK:
   12            Q.      Okay, sir.      I put in front of you what
   13     we've marked as Exhibit 4 to your deposition.                 It's a
   14     multipage declaration from Mariza Marin, whose name
   15     I'm hoping I pronounced correctly, that was filed
   16     earlier in this litigation.
   17                    Please take a moment to review it, and
   18     then let me know verbally on the record when you've
   19     finished doing that.
   20            A.      This is going to take a while.              It looks
   21     like a lot of it is not my port of entry.
   22            Q.      Yes, that's correct.
   23                    You want me to direct you to the place I
   24     would like to talk to you about?
   25            A.      Sure.
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    1            Q.      Well, first off, I take it you've never
    2     seen this document before?
    3            A.      No.
    4            Q.      And if you look at the very last page,
    5     page 6, there's a page that has what appears to be a
    6     signature above the name Mariza Marin.                Do you see
    7     that?
    8            A.      Yes.
    9            Q.      And it lists -- it says Mariza Marin,
   10     Assistant Director of Border Security, San Diego
   11     Field Office, Office of Field Operations, correct?
   12            A.      Yes.
   13            Q.      Have you ever met Mariza Marin before?
   14            A.      No.
   15            Q.      Have you ever communicated with Mariza
   16     Marin for any purpose?
   17            A.      No.
   18            Q.      Okay.    And I take it you didn't know
   19     Mariza Marin had offered a declaration in this case;
   20     is that right?
   21            A.      No.
   22            Q.      Let's turn to paragraph 5 on page 2 of
   23     the declaration.       Do you see paragraph 5, sir?
   24            A.      Yes.
   25            Q.      That reads, quote, "As an initial
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45530
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                                                                       Page 103
    1     matter, it is impossible to state the capacity of the
    2     San Ysidro and Otay Mesa port of entries" -- POEs, I
    3     should say -- "to process aliens without documents
    4     sufficient for lawful entry to the United States."
    5                    Did I read that correctly?
    6            A.      Yes.
    7            Q.      And you stated earlier that the capacity
    8     of a port of entry to house individuals comes from
    9     the GSA, right?
   10            A.      I would assume so.
   11            Q.      So to you, you did know the capacity
   12     of -- you knew there was a capacity to the Tecate
   13     Port of Entry, correct?
   14            A.      I believe every building has a capacity.
   15            Q.      So when Mariza Marin says it's
   16     impossible to state the capacity of the San Ysidro
   17     and Otay Mesa ports of entry, that's not correct.
   18     There's a known capacity for those ports of entry,
   19     right?
   20            A.      I don't know that.
   21            Q.      Okay.
   22            A.      I mean, I'm sure there has to be, from
   23     GSA and fire codes and --
   24            Q.      Did it strike you as odd to hear there's
   25     no gas and fire code capacity for those ports of
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    1     entry, correct?
    2            A.      Correct.
    3            Q.      And in your experience, when you were at
    4     San Ysidro, did you know, roughly, how many asylum
    5     seekers could be housed in the AEU?
    6            A.      No.
    7            Q.      Did your management know that?
    8            A.      No.
    9            Q.      Nobody knew that?
   10            A.      Not that I know of.
   11            Q.      And did you ever see any document that
   12     actually listed the capacity of the San Ysidro Port
   13     of Entry --
   14            A.      No.
   15            Q.      -- for housing asylum seekers?
   16            A.      No.
   17            Q.      Did you ever see a document that said
   18     the San Ysidro Port of Entry is at 50 percent
   19     capacity for housing asylum seekers?
   20            A.      No.
   21            Q.      Did you ever see a document that says
   22     here's the percentage capacity for San Ysidro?
   23            A.      No.
   24            Q.      Do you think that those documents exist?
   25            A.      I would hope so.
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    1            Q.      Why would you hope so?
    2            A.      Well, because it's -- like I said, it's
    3     a safety hazard for everybody.
    4            Q.      It's operationally important to know the
    5     percentage capacity that a port of entry has; is that
    6     correct?
    7            A.      Yes.
    8            Q.      And it's something that you would expect
    9     senior management of the port of entry to be
   10     tracking, correct?
   11            A.      Yes.
   12            Q.      You would be expect them to be tracking
   13     it on a daily basis, right?
   14            A.      Yes.
   15            Q.      Because it is important to know what the
   16     capacity of the port of entry is, right?
   17            A.      Correct.
   18            Q.      So when Mariza Marin says it's
   19     impossible to state what with the capacity of the
   20     port of entry is, it would surprise you to know that
   21     that -- it would surprise you that -- that somehow
   22     management of CBP doesn't know the percentage
   23     capacity of a port of entry on any day, right?
   24            A.      Yes.
   25            Q.      And it would surprise you that
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                                                                       Page 106
    1     management of CBP doesn't know the actual capacity of
    2     the port of entry on any given day, correct?
    3            A.      Yes.
    4            Q.      Let's turn back to Exhibit 3, the
    5     metering guidance.        I want to focus for a second on
    6     the third paragraph, the beginning of it.
    7                    Are you with me on the third paragraph,
    8     sir?
    9            A.      Yes.
   10            Q.      If begins, "INAMI has, at times, elected
   11     to conduct exit controls at some locations in Mexico,
   12     to limit the throughput of travelers to the United
   13     States."
   14                    Did you read that, sir?
   15            A.      Yes.
   16            Q.      And INAMI, I-N-A-M-I, do you know what
   17     that is?
   18            A.      No.
   19            Q.      Do you know what the exit controls
   20     referred to in this document are?
   21            A.      No.
   22            Q.      And have you ever heard of the Mexican
   23     government implementing exit controls to limit the
   24     throughput of travelers to the U.S.?
   25            A.      No.
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                                                                       Page 107
    1            Q.      In your experience, do your counterparts
    2     in Mexico do anything to stop people from coming up
    3     to the Tecate Port of Entry?
    4            A.      No.
    5            Q.      I know I said I'd offer you a break
    6     every hour, but do you want to take a break now or
    7     keep going?
    8            A.      I can keep going.
    9                    MR. MEDLOCK:      Okay.      Exhibit 5.
   10                    [Exhibit 5, an e-mail, was marked for
   11            identification.]
   12     BY MR. MEDLOCK:
   13            Q.      All right, sir.        I have put in front of
   14     you what we've marked as, I believe, Exhibit 5 to
   15     your deposition.       It's a two-page document that bears
   16     the Bates numbers AOL-DEF-00087160 through 87161.
   17     And for your edification, because I'm sure you'll
   18     want to know this going forward, Bates numbers are
   19     those tiny things in the bottom right-hand corner of
   20     the document.      I don't know why they call them Bates
   21     numbers; it's a lawyer word.
   22                    Please review the document and then let
   23     me know audibly on the record when you're done doing
   24     so.
   25            A.      Okay.    I'm done.
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                                                                       Page 108
    1            Q.       So this is an e-mail from -- it says
    2     Eric J. Everson, sent on March 21, 2019, at 3:56 p.m.
    3     Do you see that?
    4            A.       Yes.
    5            Q.       And it says, "On behalf of CBP MCAT
    6     team."      Do you see that, sir?
    7            A.       Yes.
    8            Q.       Have you ever heard the term "MCAT" or
    9     M-C-A-T?
   10            A.       No.
   11            Q.       Do you have any understanding of whether
   12     there's an organization with CBP referred to as a
   13     migration crisis action team?
   14            A.       No.
   15            Q.       You never said heard of that, that group
   16     before?
   17            A.       No.
   18            Q.       So the subject line of this e-mail is,
   19     "Field office queue management report, March 21,
   20     2019."      Do you see that?
   21            A.       Yes.
   22            Q.       And then beneath that, there in the body
   23     of the e-mail, there are several charts, correct?
   24            A.       Correct.
   25            Q.       And they're labeled "Laredo Field
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                                                                       Page 109
    1     Office," "El Paso Field Office," "Tucson Field
    2     Office," and "San Diego Field Office," correct?
    3            A.      Correct.
    4            Q.      And I think we already discussed this,
    5     but those are the four field offices on the
    6     U.S.-Mexico border within LFO, correct?
    7            A.      Correct.
    8            Q.      And let's focus for a moment on the
    9     San Diego field office chart.            Do you see that on
   10     page 2, sir?
   11            A.      Yes.
   12            Q.      That chart has various vertical columns
   13     that goes across the page, correct?
   14            A.      Yes.
   15            Q.      The first reads "Port of Entry"; is that
   16     right?
   17            A.      Yes.
   18            Q.      And then moving to the right, it says,
   19     "Total in Custody"?
   20            A.      Correct.
   21            Q.      And then to the right of that is,
   22     "Percentage of Capacity," correct?
   23            A.      Correct.
   24            Q.      And then to the right of that is, "Do
   25     you have any UDAs in line waiting on the Mexico side?
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                                                                       Page 110
    1     If yes, how many?"         Do you see that?
    2             A.       Yes.
    3             Q.       And then the next column to the right of
    4     that reads, "Are you directing UDAs to other ports of
    5     entry?       If yes, which ports of entry?"           Did I read
    6     that correctly?
    7             A.       Yes.
    8             Q.       And there are various other columns to
    9     the right of that, correct?
   10            A.       Correct.
   11            Q.       So I want to focus on those four
   12     columns.
   13                     So under the Port of Entry column, it
   14     lists San Ysidro, Otay Mesa, Tecate, Calexico West,
   15     Calexico East, and Andrade.           Do you see that, sir?
   16            A.       Yes.
   17            Q.       And those are the six ports of entry in
   18     the San Diego field office, correct?
   19            A.       Correct.
   20            Q.       And for the San Ysidro port of entry, it
   21     lists         in custody, correct?
   22            A.       Correct.
   23            Q.       And it says that's 96 percent of
   24     capacity, correct?
   25            A.       Correct.
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                                                                       Page 111
    1            Q.      And it lists 2,800 undocumented aliens
    2     in line, waiting on the Mexico side, correct?
    3            A.      Correct.
    4            Q.      And for the Otay Mesa Port of Entry, it
    5     says that there are zero in custody, correct?
    6            A.      Correct.
    7            Q.      And when it says, "Are you directing
    8     UDAs to other ports of entry?            If yes, which port of
    9     entry?"     For Otay Mesa, it says, "Referred to
   10     San Ysidro," correct?
   11            A.      That's correct.
   12            Q.      And for Tecate, it says there are zero
   13     in custody, correct?
   14            A.      Correct.
   15            Q.      And that people are being referred to
   16     San Ysidro, correct?
   17            A.      Correct.
   18            Q.      So according to this chart, on March 21,
   19     2019, there were zero undocumented aliens in custody
   20     at the Tecate Port of Entry, correct?
   21            A.      Correct.
   22            Q.      And all the undocumented noncitizens
   23     that approached the port of entry we're being
   24     referred to San Ysidro, correct?
   25            A.      Correct.
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                                                                       Page 112
    1            Q.      And that's consistent with your
    2     experience when you were posted at Tecate, correct?
    3            A.      Correct.
    4            Q.      It's also consistent with the processing
    5     hub theory that we talked about earlier, correct?
    6            A.      Correct, unless they came running up the
    7     lanes.
    8            Q.      So on March 21st, CBP officers at Tecate
    9     were referring noncitizens without proper travel
   10     documents who approached the Otay Mesa Port of Entry
   11     to San Ysidro, where there were 2,800 people already
   12     in line; is that right?
   13            A.      Non-U.S. citizens?
   14            Q.      Right.
   15            A.      Without documents?
   16            Q.      Right.
   17            A.      To?
   18            Q.      Were being referred to San Ysidro?
   19            A.      Yes.
   20            Q.      And there were already 2,800 people in
   21     line at San Ysidro on that day?
   22            A.      Yes.
   23            Q.      So those noncitizens at Tecate went from
   24     a port where there were zero people in custody but
   25     there was capacity to process them, and they were
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20    PageID.45540
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                                                                           Page 113
    1     redirected to a port where there were already 2,800
    2     people in line; is that correct?
    3            A.      Yes.
    4            Q.      And that was the policy of CBP as you
    5     understood it on that day?
    6            A.      Yes.
    7            Q.      Before we move on, if you just look at
    8     this chart, the charts on Exhibit 5, there is a
    9     percentage of capacity for every port listed,
   10     correct?
   11            A.      Correct.
   12            Q.      So according to this e-mail, people at
   13     CBP do know the capacity of the ports of entry,
   14     correct?
   15            A.      Yes.
   16            Q.      And they do track it, correct?
   17            A.      Correct.
   18            Q.      So it's simply not true to say that
   19     there is no way to know the capacity of a port of
   20     entry, correct?
   21                    MR. HALASKA:      Objection.           Leading.
   22                    You can answer.
   23     BY MR. MEDLOCK:
   24            Q.      Sir, just so I'm clear, you work at CBP,
   25     correct?
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                                                                       Page 114
    1            A.      Correct.
    2            Q.      And your attorney is from the U.S.
    3     Department of Justice, correct?
    4            A.      Correct.
    5            Q.      So I am going to ask you a leading
    6     question, if that's all right.            My question to you
    7     is:    Isn't it true -- if somebody says that you can't
    8     know the capacity of a port of entry, this document
    9     shows that that's just simply incorrect, right?
   10            A.      Correct.
   11                    MR. MEDLOCK:      Let's move on to the next
   12            exhibit.    Exhibit 6.
   13                    [Exhibit 6, an e-mail, was marked for
   14            identification.]
   15     BY MR. MEDLOCK:
   16            Q.      Sir, I'm showing you a one page e-mail
   17     that we marked as Exhibit 6 to your deposition.                  It
   18     bears the Bates number AOL-DEF-00170598.
   19                    Please take a moment to review the
   20     document and then let me know when you're done doing
   21     so, sir.
   22            A.      Okay.
   23            Q.      This is a one-page e-mail from Ryan
   24     Koseor that was sent on Saturday, June 16, 2018, at
   25     7:17 p.m., correct?
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                                                                       Page 115
    1            A.      Correct.
    2            Q.      And it was sent to Randy Howe.              Do you
    3     see that?
    4            A.      Yes.
    5            Q.      Do you know who Randy Howe is?
    6            A.      No.
    7            Q.      And the subject line of the e-mail is,
    8     "SWB queue management update"; is that right?
    9            A.      Yes.
   10            Q.      And do you know what "SWB" means?
   11            A.      No.
   12            Q.      Have you heard of the phrase "Southwest
   13     border" used at CBP?
   14            A.      Yes.
   15            Q.      And does that refer to the U.S.-Mexico
   16     border?
   17            A.      Yes.
   18            Q.      There's no other border on the
   19     Southwest, right?
   20            A.      Yes.
   21            Q.      In the report date -- in the body of the
   22     e-mail, there's a spreadsheet or chart, correct?
   23            A.      Correct.
   24            Q.      And the top of it says, "Report date,
   25     June 16, 2018," correct?
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                                                                       Page 116
    1            A.      Correct.
    2            Q.      And then beneath that, there are six
    3     columns, correct?
    4            A.      Yes.
    5            Q.      And those columns are -- those vertical
    6     columns read from left to right, "Field office,"
    7     "Port," "Total number of detainees," "Percentage of
    8     capacity," "Number in queue at boundary line," and
    9     "Impact to port operations."           Did I read that
   10     correctly?
   11            A.      Correct.
   12            Q.      And the fields offices listed are the
   13     four field offices for the U.S.-Mexico border,
   14     correct?
   15            A.      Yes.
   16            Q.      And the ports listed in this chart are
   17     all the ports on the U.S.-Mexico border, correct?
   18            A.      Yes.
   19            Q.      Let's start with San Ysidro.
   20
   21            correct?
   22            A.      Yes.
   23            Q.      And that percentage of capacity is
   24     63 percent, correct?
   25            A.      Yes.
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                                                                       Page 117
    1            Q.      So, again, on this day, CBP knows
    2     exactly how many individuals are being detained at
    3     the San Ysidro Port of Entry and what that percentage
    4     of capacity is, correct?
    5            A.      Yes.
    6            Q.      That's because it is operationally
    7     important, and it doesn't surprise you as being
    8     tracked on a daily basis, correct?
    9            A.      Yes.
   10            Q.      And it lists
   11
   12     correct?
   13            A.      Yes.
   14            Q.      And under "Impact to Port Operations" it
   15     says "negative," correct?
   16            A.      Yes.
   17            Q.      So let's move down.
   18                    Do you see Tecate listed here?
   19            A.      Yes.
   20            Q.      And the number of detainees at Tecate is
   21     zero, correct?
   22            A.      Yes.
   23            Q.      And the percentage capacity is listed as
   24     zero, right?
   25            A.      Yes.
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                                                                       Page 118
    1            Q.      And under "Impact to Port Operations,"
    2     it says, "Redirecting to San Ysidro," correct?
    3            A.      Yes.
    4            Q.      So on June 16, 2018, individuals who
    5     were noncitizens that didn't have proper travel
    6     documents were being -- who came to the Tecate Port
    7     of Entry were being redirected to San Ysidro,
    8     correct?
    9            A.      Yes.
   10            Q.      Even though there was nobody being --
   11     there were no asylum seekers being detained at the
   12     Tecate Port of Entry?
   13            A.      Correct.
   14            Q.      And even though zero percent of Tecate's
   15     capacity was being used, correct?
   16            A.      Correct.
   17            Q.      And they were being redirected to
   18     San Ysidro, where there were already 850 people in
   19     Tijuana shelters in line, correct?
   20            A.      Correct.
   21            Q.      And that was being done consistent with
   22     CBP policy, right?
   23            A.      Yes.    May I use the restroom again?
   24                    MR. MEDLOCK:      You may.       Let's take a
   25            five-minute break.
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    1                    (Brief recess.)
    2                    MR. MEDLOCK:      Back on the record.
    3     BY MR. MEDLOCK:
    4             Q.     Thank you, sir.
    5             A.     Thank you.
    6             Q.     Before I mark the next document, I have
    7     a couple of follow-up questions I want to ask you.
    8                    Did you have any conversations with
    9     anyone during the break?
   10            A.      No.
   11            Q.      You haven't discussed the substance of
   12     your testimony with anyone during the breaks during
   13     this deposition?
   14            A.      No.
   15            Q.      When an asylum seeker is turned away at
   16     the Tecate Port of Entry, how do they react?
   17            A.      Sometimes -- it's always different.
   18     Sometimes they're hysterical.            Sometimes they don't
   19     understand why.       Some people just say "okay" and walk
   20     away.
   21            Q.      And when you say "hysterical," I imagine
   22     you're saying that's an emotional reaction?
   23            A.      Yes.
   24            Q.      Some people cry?
   25            A.      Yes.
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                                                                       Page 120
    1            Q.      How does it make you actually to see
    2     people who are turned away being -- crying?
    3            A.      Not good.
    4            Q.      Is that one of the hardest things you
    5     have to do in your job?
    6            A.      Not one of the harder.           We definitely
    7     deal with harder things at my job.
    8            Q.      Harder emotionally?
    9            A.      Yes.
   10            Q.      And why is that?
   11            A.      We see -- we see everything.             We see
   12     kids in trunks that come across.             We've seen dead
   13     bodies come across.        We've seen women that are
   14     internal body carriers.         We see a lot more than just
   15     somebody crying.
   16            Q.      Got it.
   17                    And the individuals that are turned back
   18     from U.S. soil to Mexican soil at the Tecate Port of
   19     Entry, CBP doesn't provide transport for them from
   20     Tecate to San Ysidro, do they?
   21            A.      No.
   22            Q.      You've traveled to both the San Ysidro
   23     Port of Entry and the Tecate Port of Entry, correct?
   24            A.      Correct.
   25            Q.      Roughly, how far away are they from each
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    1     other?
    2            A.      I think Mexico is a little -- a straight
    3     shot than ours.
    4            Q.      Okay.
    5            A.      Ours is about a 55-minute drive.
    6            Q.      As the crow flies, how far is it in
    7     miles from one to the other?
    8            A.      A rough estimate?         45 miles.
    9            Q.      So if individuals that were turned away
   10     at the Tecate Port of Entry can't get a bus or a car,
   11     they have to walk 45 miles to the San Ysidro Port of
   12     Entry; is that right?
   13            A.      Correct.
   14            Q.      Where, as we saw in some of these
   15     documents, there are already hundreds of people who
   16     are already waiting, correct?
   17            A.      Correct.
   18            Q.      When the limit line position was created
   19     at the Tecate Port of Entry, were additional officers
   20     added to the shifts to account for those limit line
   21     positions?
   22            A.      No.
   23            Q.      So the officers for those limit line
   24     positions came from elsewhere, correct?
   25            A.      No.
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                                                                       Page 122
    1            Q.      They would have had to have been working
    2     at -- those officers would have had to have been --
    3     somebody would've -- they would've been working at
    4     primary or secondary, and then they were moved to the
    5     limit line; is that right?
    6            A.      Correct.
    7            Q.      So as a result of creating the limit
    8     line position, there were less officers either at
    9     primary or secondary; is that right?
   10            A.      Correct.
   11            Q.      Let's turn back to the metering policy
   12     for a second.      That's Exhibit 3, the one-page
   13     metering one.      Do you still have that in front of
   14     you, sir?
   15            A.      Yes.
   16            Q.      I want to focus again on the phrase,
   17     "Orderly processing."
   18            A.      What paragraph?
   19            Q.      First paragraph, first sentence.              Do you
   20     see the phrase, "Orderly processing"?
   21            A.      Yes.
   22            Q.      During your time at the Tecate Port of
   23     Entry, can you think of any instance in which
   24     processing became disorderly?
   25            A.      No.
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                                                                       Page 123
    1            Q.
    2
    3
    4
    5
    6            A.
    7            Q.
    8            A.
    9
   10            Q.
   11            A.
   12
   13
   14
   15            Q.
   16            A.
   17
   18
   19
   20
   21
   22
   23            Q.
   24
   25            A.
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    1            Q.      And that security issue is created by
    2     I-94 holders, not asylum seekers, correct?
    3            A.      Correct.
    4            Q.      Can you think of any instance in which
    5     the security of the port of entry at Tecate was
    6     threatened by asylum seekers?
    7            A.      Just when they're running up the lanes.
    8            Q.      Besides that?
    9            A.      No.
   10            Q.      When asylum seekers rush the lanes, in
   11     the vehicle traffic lanes, are they actually
   12     threatening the security of the port?
   13            A.      We don't know what they're doing.              We
   14     just get people running, a group of them, so we have
   15     no clue what they want.
   16            Q.      In the instances where individuals have
   17     rushed the vehicular lanes at the Tecate Port of
   18     Entry, can you think of any instance in which an
   19     asylum seeker was carrying a weapon?
   20            A.      No.
   21            Q.      Can you think of any instance in which
   22     an asylum seeker was carrying drugs?
   23            A.      No.
   24            Q.      Can you think of any instance in which
   25     an asylum seeker that rushed the vehicular lanes was
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45552
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                                                                       Page 125
    1     carrying bomb-making materials?
    2             A.     No.
    3             Q.     Can you think of any instances in which
    4     an asylum seeker who rushed the vehicular lanes had
    5     expressed a desire to hurt Americans?
    6             A.     No.
    7             Q.     Can you think of any instance in which
    8     an asylum seeker who rushed the vehicular lanes at
    9     the Tecate Port of Entry assaulted an officer?
   10            A.      No.    The thing is that we don't know
   11     also who is an asylum seeker or not till after the
   12     fact.
   13            Q.      But now knowing after the fact, can you
   14     say that non-asylum seekers who actually rushed the
   15     lanes were violent in any way?
   16            A.      No.
   17            Q.      Prior to the implementation of the duty
   18     station at the limit line and the policy to turn back
   19     asylum seekers, were asylum seekers rushing the
   20     vehicular lanes?
   21            A.      No.
   22            Q.      Let's focus again on the memo.
   23                    We talked about the reference to
   24     sanitary conditions, correct?
   25            A.      Yes.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45553
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                                                                       Page 126
    1             Q.     During the time you've been at the
    2     Tecate Port of Entry, has it ever become unsanitary?
    3             A.     No.
    4             Q.     How about the San Ysidro Port of Entry,
    5     has it ever become unsanitary during the time you
    6     were working there?
    7             A.     Yes.
    8             Q.     And that unsanitary condition, what was
    9     it?
   10            A.      We've had feces, we've had diseases,
   11     we've had dirt and just other stuff, not necessarily
   12     always from asylums.        But GSA is usually pretty good
   13     about cleaning up the facility pretty fast.
   14            Q.      When you say "pretty fast," how quickly
   15     does that happen?
   16            A.      Within an hour or so.
   17            Q.      So --
   18            A.      I don't know if it's GSA, but I think
   19     that's -- I don't know the cleaning crew exactly.
   20            Q.      But whoever provides the cleaning crew,
   21     they can clean it up in about an hour?
   22            A.      Yes.
   23            Q.      So any of the unsanitary conditions that
   24     you just mentioned could be remedied in an hour or
   25     less?
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                                                                       Page 127
    1             A.     Unless they need to be showered, which
    2     that -- sometimes depending on how many officers,
    3     depending on the cases, how many people need to be --
    4     take showers.      But they do do that, I believe, once a
    5     day, they'll have, you know, new people or whatever
    6     come in, shower, and then give them all their lice
    7     medication or scabies medication that they need.                     I
    8     believe it's once a day; I don't know exactly.
    9             Q.     So to the best of your recollection, any
   10     unsanitary condition at the San Ysidro Port of Entry
   11     that you saw could have been remedied in about a day;
   12     is that right?
   13            A.      Yes.
   14            Q.      And is that the same for the Otay Mesa
   15     Port of Entry with respect to unsanitary conditions?
   16            A.      They never really have any unsanitary,
   17     and the -- and theirs is -- they didn't have any
   18     overnights -- well, they did have overnights, but
   19     they didn't have anything over, I believe, three
   20     days.    I think the longest for San Ysidro -- I mean
   21     for Otay Mesa was two days, just because they didn't
   22     have holding cells.
   23            Q.      I see.
   24                    And for the San Ysidro Port of Entry,
   25     was there ever a time period in which an asylum
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45555
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                                                                       Page 128
    1     seeker caused the port of entry to no longer be
    2     secure, that you can think of?
    3            A.      No.
    4            Q.      For the Otay Mesa Port of Entry, was
    5     there ever an instance where an asylum seeker caused
    6     the Otay Mesa Port of Entry to no longer be secure?
    7            A.      No.
    8            Q.      For the San Ysidro Port of Entry, can
    9     you think of an instance where an asylum seeker or
   10     asylum seekers caused the port of entry to be
   11     processing people in a disorderly manner?
   12            A.      No.
   13            Q.      And is the same true of Otay Mesa?
   14            A.      Well, not disorderly.           Sometimes
   15     San Ysidro would have an influx of them come at a
   16     certain time, and we couldn't take them all.                 So I
   17     remember we had them line up along the side of the
   18     wall for a while, because we -- we just couldn't --
   19     you can't pat down 20 people at a time.
   20            Q.      Sure.
   21            A.      So it would take some time to get them
   22     all in.
   23            Q.      So in those instances where you had
   24     influxes of asylum seekers at San Ysidro, and there
   25     were more people than you could actually take in at
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45556
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                                                                       Page 129
    1     any given time, how long did it take you to work
    2     through the backlog?
    3            A.      It's hard to say.         Maybe an hour or so,
    4     maybe longer.
    5            Q.      Any time where it took more than a day
    6     that you can think of?
    7            A.      When I was there, no.
    8            Q.      Would it be odd for you to have a
    9     backlog when you were there for more -- was there
   10     ever a backlog when you were at San Ysidro of longer
   11     than a week?
   12            A.      No.
   13            Q.      How about longer than a month?
   14            A.      You mean staying in the cells or just
   15     outside.
   16            Q.      Just waiting.
   17            A.      No.
   18            Q.      Would it be odd to you if someone had to
   19     wait outside the San Ysidro Port of Entry for longer
   20     than a month to be processed as an asylum seeker?
   21            A.      When I was at San Ysidro?
   22            Q.      Yes.
   23            A.      Yes, I never encountered that.
   24            Q.      It never happened, right?
   25            A.      Not when I was there.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45557
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                                                                       Page 130
    1            Q.      Did it ever occur at Otay Mesa, that
    2     asylum seekers were waiting longer than a day to be
    3     processed?
    4            A.      No.    Well, inside there were, maybe, two
    5     maximum.     There would be some transport over, but not
    6     outside.
    7            Q.      So asylum seekers never had to wait
    8     longer than a day at Otay Mesa to be processed during
    9     your time there?
   10            A.      No.
   11            Q.      And was there ever an instance when you
   12     were working at Otay Mesa as an officer where Otay
   13     Mesa actually had an influx of asylum seekers, where
   14     there were more asylum seekers than could be
   15     processed at that time?
   16            A.      No.
   17            Q.      What's the process that CBP officers go
   18     through when a Mexican without proper travel
   19     documents presents themselves at the limit line?
   20            A.      What is --
   21            Q.      When a Mexican national presents
   22     themselves at the limit line and claims asylum, what
   23     happens?
   24            A.      Claims asylum?
   25            Q.      Yes.
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                                                                       Page 131
    1            A.      For me, I call a supervisor, always.
    2            Q.      And when the supervisor comes down, what
    3     happens?
    4            A.      They either -- depending -- well, if
    5     they want asylum, they will redirect them to San
    6     Ysidro or Calexico.
    7            Q.      Okay.    So I want to make sure I get this
    8     correct:     So at Tecate, a Mexican citizen claiming
    9     asylum approaches the limit line and steps onto U.S.
   10     soil, you will call a supervisor down, and the
   11     supervisor will redirect them back to Mexican soil;
   12     is that right?
   13            A.      Yes, but, I think, recently we did take
   14     one.
   15            Q.      So you can take them, right?
   16            A.      Yes.
   17            Q.      But it's often the case that the
   18     supervisor redirects them back to Mexico?
   19            A.      Yes.
   20            Q.      What happens when somebody comes to the
   21     limit line with a serious medical issue?                What's the
   22     process?
   23            A.      We call for an MFRT, which is our
   24     first -- I don't know what it stands for.
   25            Q.      A medical first response team?
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                                                                       Page 132
    1            A.      Yes, something like that, that's trained
    2     for -- as an EMT.       So he comes down, assesses the
    3     situation, calls 911 and all that stuff.                But they
    4     have to have proper documents to come into the U.S.
    5            Q.      So if an asylum seeker has a medical
    6     issue, either at the limit line or at primary, what
    7     happens to them?
    8            A.      I believe they would call the Mexican
    9     police for them to come down and call for an
   10     ambulance.
   11            Q.      So that person would be taken --
   12            A.      I don't know because I haven't --
   13            Q.      That's never happened to you?
   14            A.      That's never happened to me.
   15            Q.      Have you ever heard of any of your
   16     coworkers encountering that situation?
   17            A.      No.
   18            Q.      Were you ever asked to track the
   19     processing time for individuals without proper travel
   20     documents who come to the limit line?
   21            A.      Never.
   22            Q.      Were you ever asked to track the
   23     processing time for individuals without proper travel
   24     documents to come to primary?
   25            A.      No.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45560
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                                                                       Page 133
    1            Q.      Are you aware of any -- anyone at CBP
    2     who was tracking the processing time for individuals
    3     without proper travel documents presenting themselves
    4     at the limit line?
    5            A.      No.
    6            Q.      Are you aware of anyone at CBP who was
    7     tracking the processing time for individuals without
    8     proper travel documents presenting themselves at
    9     primary?
   10            A.      No.
   11            Q.      And I want to make sure I got this
   12     correct earlier:       At the Tecate Port of Entry, how
   13     many lines are there for individuals who are coming
   14     up to the limit line?
   15            A.      Coming up to the limit line, there's
   16     only one.
   17            Q.      There's only one?
   18            A.      Pedestrian, when they walk up to the
   19     actually booth, there's two.
   20            Q.      When you say "the actual booth," that's
   21     primary?
   22            A.      There's two primary positions, but limit
   23     line, there's only one.
   24            Q.      And how are folks sorted into those two
   25     lines after they hit the limit line?
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45561
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                                                                       Page 134
    1            A.      Right when they walk into the door,
    2     there's two different lines they can go into.
    3            Q.      What are the two different lines for?
    4            A.      They're both the exact same.
    5                    MR. MEDLOCK:      Okay.      Understood.
    6                    Let's mark this as Exhibit 7.
    7                    [Exhibit 7, an e-mail, was marked for
    8            identification.]
    9     BY MR. MEDLOCK:
   10            Q.      All right.      Sir, I put in front of you
   11     what we marked as Exhibit 7 to your deposition.                  It
   12     is a two-page e-mail that bears the Bates number
   13     AOL-DEF-00086900 through 01.
   14                    Please review it and let me know when
   15     you're done reviewing it, and then we'll talk about
   16     it.
   17            A.      Okay.
   18            Q.      You've done reviewing it, sir?
   19            A.      Yes.
   20            Q.      This is an e-mail from Michael Estrada,
   21     sent on May 2, 2019, at 3:25 p.m., correct?
   22            A.      Correct.
   23            Q.      And the subject line of the e-mail is,
   24     "Field office queue management report, May 2, 2019."
   25     Did I read that correctly?
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45562
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                                                                       Page 135
    1             A.     Correct.
    2             Q.     I want to focus on the chart that says
    3     "San Diego Field Office" on the second page.                 Do you
    4     see that?
    5             A.     Yes.
    6             Q.     And this has the same columns as the
    7     other charts that we've been discussing, with "Port
    8     of Entry," "Total in Custody," "Percentage of
    9     Capacity," and other columns, correct?
   10            A.      Correct.
   11            Q.      So for the San Ysidro Port of Entry, it
   12     lists        individuals in custody, correct?
   13            A.      Correct.
   14            Q.      And that's 93 percent of its capacity,
   15     correct?
   16            A.      Correct.
   17            Q.      And under the column where it says, "Do
   18     you have any UDAs in line waiting on the Mexico side?
   19     If yes, how many?"        It lists 4,000, correct?
   20            A.      Correct.
   21            Q.      And for the Tecate Port of Entry, the
   22     total in custody is zero, correct?
   23            A.      Correct.
   24            Q.      And that means there's zero asylum
   25     seekers and no one else in custody at Tecate,
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45563
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                                                                       Page 136
    1     correct?
    2            A.      Correct.
    3            Q.      That's zero percent of Tecate's
    4     available capacity, correct?
    5            A.      Correct.
    6            Q.      And the UDAs are being referred to
    7     San Ysidro, correct?
    8            A.      Correct.
    9            Q.      That's consistent with the policy of
   10     turning people back to Mexico and redirecting them to
   11     San Ysidro that we've been talking about, correct?
   12            A.      Correct.
   13            Q.      And so in this instance on May 2, 2019,
   14     asylum seekers who approached the Tecate Port of
   15     Entry's limit line position were being turned back to
   16     Mexico and sent to San Ysidro, where there were 4,000
   17     people already in line, correct?
   18            A.      Correct.
   19                    MR. MEDLOCK:      Exhibit 8.
   20                    [Exhibit 8, an e-mail, was marked for
   21            identification.]
   22     BY MR. MEDLOCK:
   23            Q.      Sir, I put in front of you what we
   24     marked as Exhibit 8 to your deposition.                It is a
   25     two-page e-mail that bears the Bates numbers
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45564
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                                                                       Page 137
    1     AOL-DEF-00088202 through 03.
    2                    Please take a moment to review it, and
    3     then let me know audibly on the record when you're
    4     done doing so.
    5            A.      Okay.
    6            Q.      This is an e-mail dated February 5,
    7     2019, at 4:06 p.m., with the subject line, "Field
    8     office queue management report, February 5, 2019."
    9     Did I read that correctly?
   10            A.      Yes.
   11            Q.      And it has the same charts for Laredo,
   12     El Paso, Tucson, and San Diego, correct?
   13            A.      Correct.
   14            Q.      Let's focus on the San Diego field
   15     office chart again.
   16                    The San Diego field office section of
   17     the chart has the same columns that we've been
   18     talking about on other documents, correct?
   19            A.      Correct.
   20            Q.      And for San Ysidro, it says there are
   21          individuals in custody, correct?
   22            A.      Correct.
   23            Q.      And that's 97 percent of San Ysidro's
   24     capacity, correct?
   25            A.      Yes.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45565
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                                                                       Page 138
    1            Q.      And it also states that there's 1,930
    2     people in line at San Ysidro, correct?
    3            A.      Correct.
    4            Q.      During your time at the San Ysidro Port
    5     of Entry, can you think of any time where there were
    6     1,930 people in line waiting to be processed?
    7            A.      Never.
    8            Q.      It's just something that never happened,
    9     right?
   10            A.      Not while I was there.
   11            Q.      For the Tecate Port of Entry, there are
   12     zero people in custody listed here?
   13            A.      Yes.
   14            Q.      And that's zero percent of Tecate's
   15     capacity, correct?
   16            A.      Correct.
   17            Q.      And it says that individual --
   18     undocumented aliens are being referred to the
   19     San Ysidro Port of Entry, correct?
   20            A.      Correct.
   21            Q.      And that's consistent with the turn-back
   22     policy we've been discussing today, correct?
   23            A.      Correct.
   24            Q.      Just so I'm clear, what this chart shows
   25     is if somebody came -- if an asylum seeker came to a
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45566
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                                                                        Page 139
    1     Tecate Port of Entry on February 5, 2019, they would
    2     be redirected from U.S. soil to Mexican soil, and
    3     referred to the San Ysidro Port of Entry, where there
    4     are already 1,930 people in line, correct?
    5            A.      Or they can be standing in Mexico.
    6            Q.      Either way?
    7            A.      Yes, correct.
    8            Q.      So their options were either get in line
    9     with 1,930 people, or go back to Mexico and give up
   10     on asylum in the U.S.?
   11            A.      Correct.
   12                    MR. MEDLOCK:       Exhibit 9.
   13                    [Exhibit 9, an e-mail, was marked for
   14            identification.]
   15     BY MR. MEDLOCK:
   16            Q.      Sir, I've put front of you what's marked
   17     Exhibit 9 to your deposition.             It's two-page e-mail
   18     that bears the Bates numbers AOL-DEF-00050964
   19     through 65.        Do you see that, sir?
   20            A.      Yes.
   21            Q.      Please take a moment to review the
   22     document and then let me know when you're done
   23     reviewing it.
   24            A.      I'm done.
   25            Q.      All right.       So this is an e-mail dated
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45567
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                                                                       Page 140
    1     January 10, 2019, at 3:20 p.m., correct?
    2            A.      Correct.
    3            Q.      And the subject line is, "Field office
    4     queue management report, 1.10.2018," correct?
    5            A.      Yes.
    6            Q.      And the actual date of it as reflected
    7     in the chart is from January 10, 2019, correct?
    8            A.      Correct.
    9            Q.      So that appears to be a typo, right?
   10            A.      Yes.
   11            Q.      So let's focus on the San Diego field
   12     office portion of the chart again.              And this has --
   13     this portion of the chart has the same vertical
   14     columns that we were looking at in the prior
   15     documents, correct?
   16            A.      Correct.
   17            Q.      And for the San Ysidro Port of Entry, it
   18     says there are          people in custody, correct?
   19            A.      Correct.
   20            Q.      And that's 97 percent of San Ysidro's
   21     capacity, correct?
   22            A.      Yes.
   23            Q.      And it lists 4,540 UDAs who are in line
   24     waiting in Mexico, correct?
   25            A.      Yes.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45568
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                                                                       Page 141
    1            Q.      And for the Tecate Port of Entry, there
    2     are zero people in custody, correct?
    3            A.      Yes.
    4            Q.      And that's zero asylum seekers, zero of
    5     anyone in custody at Tecate, correct?
    6            A.      Yes.
    7            Q.      And that's zero percent of Tecate's
    8     operating capacity, correct?
    9            A.      Yes.
   10            Q.      And it says that UDAs who come into the
   11     Tecate Port of Entry are being referred to
   12     San Ysidro, correct?
   13            A.      Yes.
   14            Q.      And that's consistent with the turn-back
   15     policy we've been discussing today, correct?
   16            A.      Correct.
   17                    MR. MEDLOCK:      Exhibit 10.
   18                    [Exhibit 10, an e-mail, was marked for
   19            identification.]
   20     BY MR. MEDLOCK:
   21            Q.      Sir, I put in front of you what we've
   22     marked as Exhibit 10 to your deposition.                It is a
   23     two-page e-mail that bears the Bates numbers
   24     AOL-DEF-00195859 through 60.
   25                    Please take a moment to review it, and
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45569
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                                                                       Page 142
    1     let me know audibly on the record when you're done
    2     doing so.
    3            A.      I'm done.
    4            Q.      All right.      This is an e-mail sent on
    5     December 26, 2018, at 3:05 p.m., correct?
    6            A.      Correct.
    7            Q.      The day after Christmas, right?
    8            A.      Yes.
    9            Q.      And it's in the same format with the
   10     charts for the Laredo field office, El Paso field
   11     office, Tucson field office, and San Diego field
   12     office that we've been discussing, correct?
   13            A.      Correct.
   14            Q.      And I'm focusing now on the San Diego
   15     field office portion of the document.                 Are you there?
   16            A.      Yes.
   17            Q.      And there's -- for the San Ysidro Port
   18     of Entry, it lists            individuals in custody,
   19     correct?
   20            A.      Correct.
   21            Q.      And that is 87 percent of their
   22     capacity; is that correct?
   23            A.      Correct.
   24            Q.      And it states that there are 4,950
   25     individuals waiting in line on the Mexico side at the
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45570
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                                                                       Page 143
    1     San Ysidro Port of Entry, correct?
    2            A.      Correct.
    3            Q.      And for the Tecate Port of Entry there
    4     are zero individuals in custody, correct?
    5            A.      Correct.
    6            Q.      That's zero percent of Tecate's
    7     operating capacity, correct?
    8            A.      Correct.
    9            Q.      And individuals that come to the limit
   10     line are being referred to the San Ysidro, correct?
   11            A.      Correct.
   12            Q.      So an individual who comes to the Tecate
   13     Port of Entry seeking asylum would be referred to
   14     San Ysidro, where there are already 4,950 people in
   15     line, according to this document, correct?
   16            A.      Correct.
   17            Q.      And that's consistent with the turn-back
   18     policy that we've been discussing today, correct?
   19            A.      Correct.
   20                    MR. MEDLOCK:      So I've hit a stopping
   21            point in my outline.          Do you guys want to break
   22            for lunch?
   23                    MR. HALASKA:      I think that makes sense.
   24                    MR. MEDLOCK:      So let's go off the record
   25            then.
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                                                                       Page 144
    1                    (Lunch recess taken.)
    2                    MR. MEDLOCK:      Back on the record.
    3     BY MR. MEDLOCK:
    4             Q.     Sir, welcome back from lunch.
    5             A.     Thank you.
    6             Q.     I just wanted to clarify a few things
    7     before I jump back to where we were in the
    8     questioning.
    9                    What's the longest period of time that
   10     individuals expressing a desire to seek asylum had to
   11     wait at the limit line of the San Ysidro Port of
   12     Entry when you were stationed there?
   13            A.      20, 30 minutes, maybe.           Oh, wait at the
   14     limit line?
   15            Q.      Yes.
   16            A.      When I was stationed there, there was no
   17     wait.
   18            Q.      And what's the longest --
   19            A.      I'm sorry.      I take that back.         There are
   20     lines that we do accumulate, so I think they would
   21     just stay in the regular line.            So I -- it was
   22     frequent -- during the time of week it is.
   23            Q.      Okay.
   24            A.      Because they would wait in general
   25     traffic when we held them back, and then they would
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45572
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                                                                       Page 145
    1     just come in with general traffic.              So it would
    2     always be different.        But I don't think they would be
    3     held specifically for -- because they're asylums.
    4             Q.     So during the time you were at the
    5     San Ysidro Port of Entry, the asylum seekers that
    6     arrived at the port were part of the general traffic;
    7     is that right?
    8             A.     Correct.
    9             Q.     And to your knowledge, what's the
   10     longest period of time that an asylum seeker had to
   11     wait to approach the primary inspection point during
   12     the time you were there?
   13            A.      With general traffic, maybe two, three
   14     hours sometimes, depending on the time of the week,
   15     depending on if there's a holiday or not.                It was
   16     always -- it varied every day.
   17            Q.      And would that be the same -- would the
   18     same answer be true for Otay Mesa during the time you
   19     were there?
   20            A.      Yeah.    Otay Mesa, we didn't have as long
   21     of a line.     It's a smaller port so it wasn't as long
   22     of a line.     But yeah, it would be the same.              It would
   23     vary.
   24            Q.      During the time you were at Otay Mesa,
   25     were asylum seekers part of the general line that you
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45573
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                                                                       Page 146
    1     were describing?
    2            A.      Yes.
    3            Q.
    4
    5
    6
    7
    8            A.
    9            Q.
   10
   11
   12
   13            A.
   14
   15
   16
   17
   18
   19            Q.
   20
   21            A.
   22
   23            Q.      So what you're testifying to is more
   24     your guess and opinion?
   25            A.      Yes.
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                                                                       Page 147
    1                    MR. MEDLOCK:      I'd like to mark the next
    2            exhibit.    Exhibit 11.
    3                    [Exhibit 11, copy of a CBP muster, was
    4            marked for identification.]
    5     BY MR. MEDLOCK:
    6            Q.      Sir, I've put in front of you a one-page
    7     document that bears the Bates number
    8     AOL-DEF-00216856.
    9                    Please take a moment to review the
   10     document, and let me know audibly on the record when
   11     you've done so.
   12            A.      I have.
   13            Q.      This is a true and accurate copy of a
   14     muster that is dated September 4, 2018; is that
   15     correct?
   16            A.      Correct.
   17            Q.      And it's addressed to, "All uniformed
   18     personnel at Tecate Port of Entry"; is that right?
   19            A.      Correct.
   20            Q.      So this would have been included you at
   21     the time you worked at the Tecate Port of Entry,
   22     correct?
   23            A.      Correct.
   24            Q.      This is an example of the written
   25     musters that we were talking about earlier?
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                                                                       Page 148
    1            A.      Yes.    It is also an SOP.
    2            Q.      Do you have any doubt that you would
    3     have received this muster in the course of your
    4     duties as a CBP officer at the Tecate Port of Entry?
    5            A.      One more time?
    6            Q.      You would have received a muster like
    7     this during the course of your duties, correct?
    8            A.      Yes, I have received this.
    9            Q.      And at the time you received this
   10     muster, you would have been knowledgeable about its
   11     contents, right?
   12            A.      When I got it, yes.
   13            Q.      So this muster was sent from a J. Rene
   14     Ortega, correct?
   15            A.      Correct.
   16            Q.      And this is the Rene Ortega you were
   17     testifying earlier was the port director for part of
   18     the time you've been at Tecate, correct?
   19            A.      He's currently the port director right
   20     now.
   21            Q.      I want to focus on the body of the
   22     muster.     And looking at the first paragraph, that
   23     paragraph begins, "When necessary or appropriate to
   24     facilitate orderly processing and maintain the
   25     security of the port and safe and sanitary conditions
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                                                                       Page 149
    1     for the traveling public, management may elect to
    2     meter the flow of travelers at the land border, to
    3     take into account the port's processing capability."
    4     Did I read that correctly?
    5            A.      Yes.
    6            Q.      Do you still have Exhibit 3, the
    7     metering policy, in front of you?
    8            A.      Yes.
    9            Q.      That sentence in Port Director Ortega's
   10     muster is very similar to the language in the
   11     metering guidance, correct?
   12            A.      Yes.
   13            Q.      Do you have any doubt that this
   14     September 4, 2018, muster implements the metering
   15     guidance?
   16            A.      Excuse me?
   17            Q.      Do you have any doubt that this muster
   18     is implementing the metering guidance in Exhibit 3?
   19            A.      No, no doubt.
   20            Q.      We talked a little bit about the phrase
   21     "facilitate orderly processing" earlier, correct?
   22            A.      Yes.
   23            Q.      Does Port Director Ortega define the
   24     phrase "orderly processing" in this muster?
   25            A.      No.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45577
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                                                                       Page 150
    1            Q.      Do you think it's important to
    2     understand what the term "orderly processing" means
    3     in order to understand this muster?
    4            A.      Yes.
    5            Q.      Did you ever ask Port Director Ortega or
    6     any of your line supervisors what the phrase "orderly
    7     processing" means?
    8            A.      No.
    9            Q.      Did Port Director Ortega or any of your
   10     line supervisors ever further define the term
   11     "orderly processing" for you?
   12            A.      They might have and I don't recall.
   13            Q.      So it might have occurred, it might not
   14     have occurred?       Is that right?
   15            A.      Yeah, yeah.      I don't remember.          I know
   16     we talked about this SOP numerous times, on different
   17     phrases in it, but I don't remember exactly.                 It's
   18     been a while.
   19            Q.      When was the first time you discussed
   20     this muster or SOP with your management at the Tecate
   21     Port of Entry?
   22            A.      I think it was the day it came out.
   23            Q.      Who did you discuss it with?
   24            A.      I -- I don't recall.          It's been a while.
   25            Q.      Do you recall the substance of the
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45578
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                                                                       Page 151
    1     conversation?
    2            A.      Sort of.     It was -- it was different
    3     parts in this that I was -- I didn't really
    4     understand fully, and I think there is a couple of
    5     officers that didn't fully understand.                And I believe
    6     they did another one of these after that.
    7            Q.      When you say "another one of these,"
    8     another muster?
    9            A.      Another SOP, yeah.
   10            Q.      Who were the other officers, if you
   11     recall, that had questions about this SOP?
   12            A.      I don't recall right now.
   13            Q.      Do you recall how many officers had
   14     questions besides yourself?
   15            A.      It's probably about three or four.
   16            Q.      And what were the specific questions you
   17     had about the muster in front of you?
   18            A.      So I think it was like the case-by-case
   19     basis was one of them.         You know, that's why we would
   20     call for a supervisor, and the discretion should be
   21     exercised.     So we didn't know what -- that exactly --
   22     how much discretion we had.
   23            Q.      Okay.    Any other questions you had?
   24            A.      There were probably other questions.                  I
   25     just don't remember at this time.
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                                                                        Page 152
    1            Q.      Let's go to what you were talking about
    2     earlier.     So there is a sentence that reads, "In
    3     addition, on a case-by-case basis, discretion should
    4     be exercised when encountering a humanitarian
    5     situation."        Did I read that correctly?
    6            A.      Yes.
    7            Q.      And that's the sentence that you had
    8     questions about when this muster was first issued?
    9            A.      Yes.
   10            Q.      And what direction or guidance did you
   11     receive about the meaning of that sentence?
   12            A.      They just -- pretty much they just said
   13     call for a supervisor at that point, and if you don't
   14     feel comfortable with anything, then just call for a
   15     supervisor and they'll take care of the situation.
   16            Q.      Was the phrase "humanitarian situation"
   17     ever defined for you?
   18            A.      No.
   19            Q.      Do you know if the leadership of the
   20     Tecate Port of Entry ever further defined the phrase
   21     "humanitarian situation"?
   22            A.      I don't know.
   23            Q.      Got it.
   24                    So going back to "orderly processing,"
   25     prior to September 4, 2018, had processing ever
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45580
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                                                                       Page 153
    1     become disorderly at the Tecate Port of Entry, to
    2     your knowledge?
    3            A.      No.
    4            Q.      And focusing on the phrase "maintain the
    5     security of the port," prior to September 4, 2018, do
    6     you recall any instance in which the security of the
    7     Tecate Port of Entry was not maintained due to the
    8     presence of an asylum seeker?
    9            A.      No.
   10            Q.      And there's a reference here to "safe,
   11     sanitary conditions."         Prior to September 4, 2018, do
   12     you recall an instance in which there were not safe,
   13     sanitary conditions at the Tecate Port of Entry due
   14     to the presence of an asylum seeker?
   15            A.      No.
   16            Q.      So this policy says, "When necessary or
   17     appropriate for orderly processing, maintain the
   18     security of the port, or safe, sanitary conditions
   19     for the traveling public," but those weren't problems
   20     at the Tecate Port of Entry prior to the issuance of
   21     this standard operating procedure or muster; isn't
   22     that right?
   23            A.      Correct.
   24            Q.      So this is a solution in search of a
   25     problem; isn't that right?
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                                                                       Page 154
    1             A.     Yes.
    2             Q.     I want to focus on the next sentence or
    3     second sentence in the first paragraph of the muster.
    4     It says, quote, "Due to the facility and operating
    5     hour limitations, this necessitates that we redirect
    6     asylum seekers to our processing hubs in Calexico
    7     West or San Ysidro PedWest."
    8                    Did I read that correctly?
    9             A.     Correct.
   10            Q.      In practice, isn't it the case that
   11     asylum seekers were redirected to San Ysidro?
   12            A.      Correct.     But I --
   13            Q.      Sorry?     Go ahead.
   14            A.      I do believe they were telling them they
   15     can go to Calexico as well.
   16            Q.      Okay.    Isn't it true that the Tecate
   17     Port of Entry typically receives a relatively low
   18     number of noncitizens who are seeking asylum in the
   19     U.S.?
   20            A.      Correct.
   21            Q.      Isn't it true that the Tecate Port of
   22     Entry does have individuals -- officers, I should
   23     say -- who are capable of conducting an asylum
   24     interview?
   25            A.      Correct.
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                                                                       Page 155
    1            Q.      Isn't it true that the Tecate Port of
    2     Entry has officers who are capable of filling out the
    3     referral slip to send an asylum seeker to secondary?
    4            A.      Correct.
    5            Q.      And it's true, isn't it, that the Tecate
    6     Port of Entry has, on occasion, processed some asylum
    7     seekers?
    8            A.      Yes.
    9            Q.      So was it always necessary for the
   10     Tecate Port of Entry to redirect asylum seekers to
   11     San Ysidro or to Calexico West?
   12            A.      No.    I believe they were in fear that if
   13     we let a couple through, then we would have a --
   14            Q.      Sure.    The more you process, the more
   15     will come, right?
   16            A.      Yes.
   17            Q.      That's a fear that CBP had, correct?
   18            A.      Correct.
   19            Q.      And that's one of the fears that
   20     motivated this policy, correct?
   21            A.      I -- I believe so.         I can't speak on who
   22     wrote it.
   23            Q.      Did you ever ask Port Director Ortega
   24     why he wrote this policy?
   25            A.      No.
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45583
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                                                                        Page 156
    1            Q.      Did you ever ask what the motivation for
    2     this policy was?
    3            A.      No.
    4            Q.      Did anyone ever tell you or suggest what
    5     the motivation for this policy was?
    6            A.      No, because they -- they -- I mean, it
    7     says it's not specifically for asylum seekers.                  It's
    8     for operational needs.          So that's what they were --
    9     that's what they kept saying.
   10            Q.      "That's what they kept saying."               Who is
   11     the "they" in that sentence?
   12            A.      Just management.
   13            Q.      And management said it was for
   14     operational reasons, but those operational reasons
   15     weren't actually a problem prior to this policy being
   16     issued, right?
   17            A.      No.
   18                    MR. MEDLOCK:       Exhibit 12.
   19                    [Exhibit 12, a CBP SOP document, was
   20            marked for identification.]
   21     BY MR. MEDLOCK:
   22            Q.      All right, sir, we've marked the next
   23     exhibit, which I believe is Exhibit 12 to your
   24     deposition.        It's a one-page document that bears the
   25     Bates number AOL-DEF-00216853.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45584
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                                                                       Page 157
    1                    Please take a moment to review it, sir,
    2     and let me know when you're done doing so.
    3            A.      I've reviewed this one.
    4            Q.      You reviewed it prior to today?
    5            A.      Yeah, I got this at work.
    6            Q.      When you say you "got this at work," let
    7     me just back up and make sure we're all talking about
    8     the same "this."
    9                    This document is a true and accurate
   10     copy of a standard operating procedure entitled
   11     "Tecate Limit Line Officer Standard Operating
   12     Procedure," correct?
   13            A.      Correct.
   14            Q.      And it's dated February 15, 2019,
   15     correct?
   16            A.      Correct.
   17            Q.      And this is a document that you would
   18     have received in the regular course of your duties,
   19     correct?
   20            A.      Correct.
   21            Q.      And at the time you received this
   22     document, you would have been knowledgeable about its
   23     contents, right?
   24            A.      Correct.
   25            Q.      The first sentence of this standard
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45585
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                                                                       Page 158
    1     operating procedure states, quote, "In order to
    2     facilitate orderly processing, maintain security of
    3     the port, and safe, sanitary conditions for the
    4     traveling public, management may elect to meter the
    5     flow of travelers at the land border, while taking
    6     into account the Tecate Port of Entry's processing
    7     capability."
    8                    Did I read that correctly?
    9            A.      Correct.
   10            Q.      That sentence is similar to the first
   11     sentence of the muster that we were just looking at
   12     in Exhibit 11 and the metering guidance from
   13     Exhibit 3, correct?
   14            A.      Correct.
   15            Q.      So this standard operating procedure is
   16     also implementing the metering memo that we saw in
   17     Exhibit 3, correct?
   18            A.      Correct.
   19            Q.      Do you have any understanding of why
   20     further guidance was necessary for limit line
   21     officers?
   22            A.      I think because numerous officers had
   23     made -- they didn't understand this one completely,
   24     so they made a little more detail in this one.                 I'm
   25     guessing.
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                                                                       Page 159
    1            Q.      When you say "this one," the first one
    2     you were pointing at?
    3            A.      Exhibit 11.
    4            Q.      And is this one, the second time, is
    5     Exhibit 12, correct?
    6            A.      Correct.
    7            Q.      So as you understood it, the goal of the
    8     February 15, 2019, standard operating procedure was
    9     to answer some of the officers' questions, correct?
   10            A.      Correct.
   11            Q.      I wanted to draw your attention to a
   12     sentence in the first paragraph that begins with, "In
   13     addition."     Do you see that?
   14            A.      Yes.
   15            Q.      It reads, "In addition, based on the
   16     case-by-case basis, officer discretion should be
   17     exercised when encountering a humanitarian
   18     situation."
   19                    Did I read that correctly?
   20            A.      Correct.
   21            Q.      That's the exact same sentence that was
   22     in the prior muster, correct, in Exhibit 11?
   23            A.      Correct.
   24            Q.      So you wanted further guidance on what
   25     that sentence means, and your management simply
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45587
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                                                                       Page 160
    1     repeated it, correct?
    2            A.      Correct.
    3            Q.      Did you ever actually get anyone to
    4     define for you what the phrase "humanitarian
    5     situation" means?
    6            A.      No.
    7            Q.      Do you know if there is any definition
    8     of the phrase "humanitarian situation" that's used
    9     with respect to this SOP?
   10            A.      Not that I know of.
   11            Q.      This SOP still uses the same phrases,
   12     "orderly processing," "maintain security," and "safe,
   13     sanitary conditions," correct?
   14            A.      Correct.
   15            Q.      And has anybody at the Tecate Port of
   16     Entry ever defined those terms for you?
   17            A.      No.
   18            Q.      Are you aware of any written guidance,
   19     whether it's been in the form of muster or some
   20     training materials or on the Share drive, that
   21     defines those terms?
   22            A.      No.    Maybe security in the port, maybe.
   23            Q.      Maybe.
   24            A.      "Safe and sanitary conditions," that
   25     would be really less.
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                                                                       Page 161
    1            Q.      So to your knowledge, to your knowledge,
    2     is this SOP still in effect at the Tecate Port of
    3     Entry today?
    4            A.      Yes.
    5            Q.      And is this SOP still followed today?
    6            A.      Yes.
    7            Q.      So if somebody wishing to seek asylum in
    8     the U.S. comes to the Tecate Port of Entry today,
    9     they will encounter an officer at the limit line who
   10     will turn them back to Mexico, to seek asylum at
   11     another port of entry?
   12            A.      Correct.     I think the only thing that
   13     might have changed is if they're a Mexican citizen --
   14     which I don't -- we haven't got any guidance on it,
   15     but I've heard they have taken someone that was
   16     Mexican in.
   17            Q.      When did that happen?
   18            A.      I -- I don't -- I don't have an exact
   19     date for you.
   20            Q.      It happened recently?
   21            A.      Yes.    I would say within a month.
   22            Q.      So in the last month, a Mexican national
   23     came to the port, said they were seeking asylum, and
   24     they were actually processed at Tecate, correct?
   25            A.      Correct, but we haven't received any
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45589
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                                                                       Page 162
    1     guidance on that.
    2            Q.      There's no guidance on it.             That's just
    3     what happened in that one instance, correct?
    4            A.      Yeah.    I think it's the management
    5     guidance that they have.
    6            Q.      When you say "management guidance that
    7     they have," who is the management in that sentence?
    8            A.      I think the -- the first-line
    9     supervisors, I think they may have gotten it higher
   10     up, saying we need to take Mexican nationals.
   11            Q.      Are there separate operating procedures
   12     or musters that go to the line 1 or line 2
   13     supervisors that don't make their way down to the
   14     officers?
   15            A.      I have no clue.
   16            Q.      You just wouldn't be aware of that?
   17            A.      I wouldn't be aware of that.
   18            Q.
   19
   20
   21            A.
   22            Q.
   23            A.
   24            Q.
   25
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                                                                       Page 163
    1            A.      Correct.     There is no paperwork stating
    2     what to do, and they wouldn't give me any
    3     documentation stating that, and I didn't feel
    4     comfortable doing it without any paperwork.
    5            Q.      So let me just make sure I understand.
    6     You were uncomfortable that there had been an oral
    7     muster given to turn back asylum seekers, and you
    8     were uncomfortable with turning them back and that
    9     there was no written guidance, correct?
   10            A.      Correct.
   11            Q.      Why in particular did you reach out to
   12     the Office of Special Counsel as opposed to the
   13     Office of the Inspector General or DHS?
   14            A.      I -- that was just -- we had it on the
   15     wall, whistle-blowing, and that was just something
   16     that I went through the proper steps.                 I asked my
   17     management; they wouldn't give me any paperwork on
   18     it.    So I tried to go through them first and they
   19     denied me anything, so then I just -- that was -- I
   20     didn't have any phone numbers for OIG.
   21            Q.      When you say you tried to go through
   22     your management first, who is the manager that you
   23     went through to try to make this complaint?
   24            A.      I believe it was almost all of them.                  I
   25     was asking for, can I have some documentation on
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                                                                       Page 164
    1
    2
    3            Q.
    4
    5            A.
    6            Q.
    7
    8            A.
    9            Q.      When the first-line supervisors told you
   10     that there was no guidance, did they in any way
   11     discourage you from complaining about it?
   12            A.      No.
   13            Q.      What did the first-line supervisors tell
   14     you about why there was no written guidance?
   15            A.      I don't know if they really had an
   16     answer on that or not.         I don't know if they've ever
   17     gotten written guidance.         Or they -- I can't explain
   18     why they didn't have an answer for that question.
   19            Q.      Did it strike you as odd that they would
   20     not give you written guidance on --
   21            A.      A little, a little.
   22            Q.      Had there been other instances in which
   23     you asked for written guidance and it was given to
   24     you?
   25            A.      No, just because I haven't really felt
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                                                                       Page 165
    1     uncomfortable doing anything else.              It's always been
    2     within my scope.       I've always been trained for all
    3     the other positions.
    4             Q.     So was this the first time that, in the
    5     course of your duty as a CBP officer, that you were
    6     asked to do something that made you feel
    7     uncomfortable?
    8             A.     Yes.
    9             Q.     Was this the first time in the course of
   10     your duties as a CBP officer that you were asked to
   11     do something that made you think that you might get
   12     sued?
   13            A.      Yes.
   14            Q.      Was this the first time that you were
   15     asked to do something in the course of your duties as
   16     a CBP officer that made you think you were being
   17     asked to do something illegal?
   18            A.      Yes.
   19            Q.      Did you share your belief that this oral
   20     muster was illegal with your first-line supervisors?
   21            A.      No.
   22            Q.      Why did you decide not to share that
   23     belief with them?
   24            A.      That it was illegal?
   25            Q.      Yes.
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                                                                       Page 166
       1         A.      I just didn't know.          I mean, it's come
       2   from our port director.        I didn't know if it was
       3   legal or not.     There's just nothing that really came
       4   to my attention, whether it was legal or not.
       5         Q.
       6
       7         A.
       8         Q.
       9
   10
   11
   12
   13            A.
   14            Q.
   15
   16
   17            A.
   18
   19            Q.
   2
   2
   22            A.
   23
   24
   25
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                                                                       Page 167
    1
    2
    3
    4
    5
    6            Q.
    7
    8            A.
    9            Q.
   10
   11            A.
   12
   13
   14            Q.
   15            A.
   16            Q.
   17
   18
   19            A.
   20
   21
   22
   23     BY MR. MEDLOCK:
   24            Q.
   25
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45595
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                                                                       Page 168
    1     is an e-mail chain and the attachments to it.                 It
    2     bears the Bates number AOL-DEF-00216870 through 72.
    3                    Please take a moment to review it, sir,
    4     and let me know audibly on the record when you've
    5     done so.
    6            A.      Okay.
    7            Q.
    8
    9
   10
   11            A.      Correct.
   12            Q.      And that e-mail chain runs from
   13     November 2, 2018, through November 7, 2018, correct?
   14            A.      Correct.
   15            Q.      And do you have any doubt that this is
   16     an accurate and correct copy of the e-mail chain and
   17     the attachments to it?
   18            A.      Yes.
   19            Q.      You have a doubt about that?
   20            A.      Oh.    No.
   21            Q.      If you do, I'd like to know.
   22            A.      No.
   23            Q.      And these would be e-mails that you
   24     would have sent and received in the course of your
   25     duties as a CBP officer, correct?
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45596
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                                                                       Page 169
    1            A.      Correct.
    2            Q.      And you would have been knowledgeable
    3     about the contents of these e-mails and the
    4     attachments to these e-mails at the time you sent
    5     them and received them, correct?
    6            A.      Correct.
    7            Q.      The top e-mail in the chain is a
    8     November 7, 2018, e-mail from you to John Goodrich,
    9     correct?
   10            A.      Correct.
   11            Q.      And there's two attachments to that
   12     e-mail, correct?
   13            A.      Correct.
   14            Q.      The first is "Muster regarding limit
   15     line, Tecate POE, September 2018," PDF, correct?
   16            A.      Correct.
   17            Q.      And the second is a Word document
   18     entitled, "Report date to OSC," correct?
   19            A.      Correct.
   20            Q.      And "OSC" there means Office of Special
   21     Counsel, correct?
   22            A.      Correct.
   23            Q.      Flip to the page that ends in 872, sir.
   24            A.      Okay.
   25            Q.      The top of this document says, "Report
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                                                                       Page 170
    1
    2            A.
    3            Q.
    4
    5
    6            A.
    7            Q.
    8
    9            A.
   10            Q.
   11
   12
   13            A.
   14            Q.
   15            A.
   16            Q.
   17            A.
   18            Q.
   19            A.
   20
   21            Q.
   22
   23            A.
   24            Q.
   25
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45598
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                                                                       Page 171
    1
    2            A.
    3            Q.
    4
    5                    When did you first become concerned
    6     about turning back asylum seekers at the Tecate Port
    7     of Entry?
    8            A.      It was probably about a month or two
    9     before that.
   10            Q.      So May or June of 2018?
   11            A.      Yes.
   12            Q.      And when you first became concerned, you
   13     know whether other officers at the Tecate Port of
   14     Entry shared your concern?
   15            A.      I believe there's a couple.
   16            Q.      Would one of those be                           ?
   17            A.      I don't -- I don't know.
   18            Q.      Do you remember the names of the others?
   19            A.      No, I do not.
   20            Q.      And how do you know that others were
   21     concerned?
   22            A.      We've talked about it.           Just -- it
   23     wasn't always about just that.            There's been safety
   24     issues, too, we talked about.
   25            Q.      Was one of the safety issues that you
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45599
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                                                                       Page 172
    1     talked with respect to the limit line position, that
    2     it wasn't on camera?
    3            A.      That was one of them.
    4            Q.      What were the others?
    5            A.      There was nothing to hide behind in case
    6     something happened.        There were no barricade between
    7     you and, pretty much, Mexico.            You had no backup
    8     there; backup is behind a secured gate that they
    9     would to punch through to get through, have to punch
   10     a code in to get through to you.             All backup was
   11     about 200 feet, 100 yards from you.              So that was
   12     always an issue, just because you're dealing with
   13     people within two feet of Mexico.
   14            Q.      In your opinion, do you think it's true
   15     that whoever came up with this policy wasn't thinking
   16     about officers' safety?
   17            A.      Yes.
   18            Q.      Do you think that this policy put
   19     officers at risk?
   20            A.      Yes.
   21            Q.      From that perspective, did you think
   22     that this policy was not well thought through?
   23            A.      Yes.
   24            Q.      When an officer turned an asylum seeker
   25     back to Mexico, were there ever instances in which
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45600
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                                                                       Page 173
    1     the officer had to use physical force to accomplish
    2     that goal?
    3            A.      No.
    4            Q.      It would sort of just be a verbal
    5     conversation and the person would return to Mexico?
    6            A.      Correct.
    7            Q.      Have you ever seen an officer use
    8     physical force to escort someone back to Mexico?
    9            A.      No.    Well, escort him -- asylum or in
   10     general?
   11            Q.      An asylum seeker.
   12            A.      No.
   13            Q.      I take it, though, that you observed
   14     other officers turning asylum seekers back to Mexico,
   15     correct?
   16            A.      Yes.
   17            Q.      How many officers did you observe doing
   18     that during your time at Tecate?
   19            A.      Five or six.
   20            Q.      And how many supervisors did you observe
   21     doing that?
   22            A.      Three or four.
   23            Q.      Do you remember the names of the
   24     supervisors who turned asylum seekers back to Mexico
   25     at the Tecate Port of Entry?
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                                                                       Page 174
    1            A.      Not offhand.      I don't know whether --
    2     which ones exactly, but I know there had been
    3     supervisors.
    4            Q.      Did Mexican officials ever assist with
    5     escorting asylum seekers back from the limit line to
    6     Mexican soil?
    7            A.      Not that I know of.
    8            Q.      Do you know of any instance in which
    9     Mexican officials were called to assist with a
   10     turn-back to Mexico?
   11            A.      From asylum seekers?
   12            Q.      For asylum seekers.
   13            A.      No.
   14            Q.      To your knowledge, was the assistant
   15     port director aware of the turn-backs that were
   16     happening at Tecate?
   17            A.      Yes.
   18            Q.      Did the assistant port directors at
   19     Tecate ever express any discomfort or unease with the
   20     turn-backs at Tecate?
   21            A.      No.
   22            Q.      Did the assistant port directors at
   23     Tecate ever do anything to dissuade you or any other
   24     officer from turning back asylum seekers?
   25            A.      No.    I do remember, though, that I
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45602
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                                                                       Page 175
    1     believe after this memo came out, somebody returned
    2     them from primary, and they wrote them up for that.
    3            Q.      So if you turn back someone from
    4     primary, that might be a write-up, but if you turn
    5     them back from the limit line, that's okay?
    6            A.      Yes.
    7            Q.      And in fact, turning back asylum seekers
    8     from the limit line, as you understood it, was the
    9     policy of CBP?
   10            A.      Yes.
   11            Q.      To your knowledge, was the port director
   12     aware that asylum seekers were being turned back?
   13            A.      Yes.
   14            Q.      Did the port director ever tell you that
   15     turning back asylum seekers was inappropriate?
   16            A.      Me, personally?
   17            Q.      Yes.
   18            A.      No.
   19            Q.      Do you know of any instance in which the
   20     port director ever told anyone else that turning back
   21     asylum seekers was inappropriate?
   22            A.      It was inappropriate?
   23            Q.      Inappropriate.
   24            A.      No.
   25            Q.      Did the port director ever do anything
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45603
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                                                                       Page 176
    1     to dissuade you or any other officer from turning
    2     back asylum seekers?
    3            A.      No.
    4            Q.      To your knowledge, was the San Diego
    5     field office aware that asylum seekers were being
    6     turned back?
    7            A.      I believe so.
    8            Q.      And did anybody from the San Diego field
    9     office ever do anything to dissuade you or any other
   10     officer from turning back asylum seekers?
   11            A.      Not that I know of.
   12            Q.      Do you know whether the Office of Field
   13     Operations, or OFO, was aware that asylum seekers
   14     were being turned back?
   15            A.      I believe so.
   16            Q.      Did anyone from OFO ever tell you that
   17     it was inappropriate to turn back asylum seekers?
   18            A.      No.
   19            Q.      Did anyone from OFO ever do anything to
   20     dissuade you or any other officer from turning back
   21     asylum seekers?
   22            A.      No.
   23            Q.      Throughout the senior management of CBP,
   24     did anyone ever do anything to dissuade you or any
   25     other officer from turning back asylum seekers?
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                                                                       Page 177
    1            A.      As in like getting in trouble for
    2     turning them back?
    3            Q.      Yes.
    4            A.      Just that one instance I told you about,
    5     about the primary.
    6            Q.      Besides that one instance?
    7            A.      Not that I know of.
    8            Q.      Was there ever an official communication
    9     from anyone in CBP management stating that asylum
   10     seekers should not be turned back?
   11            A.      Just Exhibit -- that should not be
   12     turned back?
   13            Q.      That should not be turned back?
   14            A.      Oh.    No.
   15            Q.      Did that give the impression that it was
   16     the policy of CBP's senior management to turn back
   17     asylum seekers?
   18            A.      Yes.
   19            Q.      Did anyone -- has anyone ever told you
   20     anything that would make you feel that it is not the
   21     policy of CBP to turn back asylum seekers?
   22            A.      No.
   23            Q.      When you were standing at the limit line
   24     and you turned back an asylum seeker, was any record
   25     created regarding that turn-back?
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                                                                       Page 178
    1            A.      I've never personally turned back an
    2     asylum seeker.
    3            Q.      I'm sorry.      When a supervisor came --
    4     when a supervisor turned back an asylum seeker, was
    5     any record made of that turn-back?
    6            A.      No.
    7            Q.      When another officer turned back an
    8     asylum seeker, was any record made of that turn-back?
    9            A.      No, not to my knowledge.
   10            Q.      Not to your knowledge, or you've never
   11     seen a record that would indicate that?
   12            A.      No.
   13            Q.      Were you uncomfortable with the fact
   14     that no records were kept about who was turned back
   15     or the number of turn-backs that occurred?
   16            A.      No.
   17            Q.      You were uncomfortable about that?
   18            A.      That never crossed my mind.
   19            Q.      When did you learn that records weren't
   20     being maintained of individuals that were turned back
   21     at the ports of entry?
   22            A.      When they weren't?
   23            Q.      Yes.
   24            A.      When that report from OIG came out.
   25            Q.      When you learned that from the report
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45606
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                                                                       Page 179
    1     from OIG, did that concern you at all?
    2            A.      No.
    3            Q.      Have you ever heard of the National
    4     Treasury Employees Union, or NTEU?
    5            A.      Yes.
    6            Q.      The NTEU is a union that represents some
    7     CBP officers, correct?
    8            A.      Correct.
    9            Q.      Are you personally a member of the NTEU?
   10            A.      No.
   11            Q.      Despite not being a member of the NTEU,
   12     did you ever raise any concerns about the turn-back
   13     policy with the union?
   14            A.      Yes.
   15            Q.      What were the concerns that you raised
   16     with the union?
   17            A.      It was pretty much what my concerns
   18     were, what I brought up on OSC and the safety aspect
   19     of it.
   20            Q.      When did you make your complaint to the
   21     union?
   22            A.      I think -- I don't think it was an
   23     actual -- I don't remember if it was -- if I actually
   24     wrote a verbal complaint or if it was just talking to
   25     the union president.
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                                                                       Page 180
    1            Q.      So there's a union rep at Tecate?
    2            A.      Yes.
    3            Q.      So you sought out that union rep and
    4     discussed this issue with him or her, correct?
    5            A.      Yes.
    6            Q.      Who was the union rep at Tecate?
    7            A.      It was Brian Ballatore.
    8            Q.      When did you speak to Brian Ballatore?
    9            A.      I -- I don't know.         It was probably
   10     right around the time I did --
   11            Q.      Your best guess is July 2018?
   12            A.      Something like that, yeah.
   13            Q.      Prior to blowing the whistle, did you
   14     seek any legal advice before you contacted the Office
   15     of Special Counsel?
   16            A.      No.
   17            Q.      When you blew the whistle, were you at
   18     all concerned about retaliation or reprisals?
   19            A.      No.
   20            Q.      Are you concerned about retaliation or
   21     reprisals now for having blown the whistle?
   22            A.      No.
   23            Q.      Are you at all concerned about
   24     retaliation or reprisals for testifying at this
   25     deposition today?
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                                                                       Page 181
    1            A.      I hope not.
    2            Q.      Okay.    Fair enough.
    3
    4
    5
    6            A.
    7            Q.
    8
    9            A.
   10
   11            Q.
   12
   13            A.
   14            Q.
   15
   16            A.
   17            Q.
   18
   19
   20            A.
   21
   22            Q.
   23
   24            A.
   25            Q.
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45609
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                                                                        Page 182
    1     conferences with                  last?
    2            A.      Depended on what the questions were he
    3     was asking.        Anywhere between 5 to 20 minutes, maybe.
    4            Q.      Did you take any notes regarding these
    5     phone calls?
    6            A.      No.
    7            Q.      Did you take any notes regarding your
    8     concerns about the limit line or the turn-back
    9     policy?
   10            A.      No.
   11            Q.      Did you take any notes regarding your
   12
   13            A.
   14            Q.
   15            A.
   16
   17
   18            Q.
   19
   20
   21
   22
   23
   24            A.
   25            Q.
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                                                                       Page 183
    1
    2
    3            A.
    4            Q.
    5
    6            A.
    7
    8            Q.
    9
   10            A.
   11            Q.
   12
   13
   14            A.
   15
   16
   17
   18
   19     BY MR. MEDLOCK:
   20            Q.
   21
   22
   23
   24
   25
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45611
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                                                                       Page 184
    1     on the record.
    2            A.      Okay.
    3            Q.      So Exhibit 14 is a true and accurate
    4     copy of an August 23, 2018, letter from Henry J.
    5     Kerner, special counsel to the Honorable Kirstjen
    6     Nielsen, secretary of DHS, correct?
    7            A.      Yes.
    8            Q.      And did you receive a copy of this
    9     letter, sir?
   10            A.      I -- I don't know.
   11            Q.      You may have but you just can't recall
   12     as you sit here right now?
   13            A.      Yes.
   14            Q.      I'd like to focus on the second
   15     paragraph of the letter.         Do you see that, sir?
   16            A.      Yes.
   17            Q.      And that paragraph begins, "CBP Officer
   18                        , who consented to the release of his
   19     names, disclosed that CBP managers directed CBP
   20     officer to deny aliens seeking asylum entry to the
   21     United States at the Tecate Port of Entry."
   22                    Did I read that correctly, sir?
   23            A.      Correct.
   24            Q.      Does that sentence fairly summarize the
   25     complaint that you made to OSC?
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                                                                       Page 185
    1            A.      Yes.
    2            Q.      Beneath that sentence there are several
    3     bullet points, correct?
    4            A.      Correct.
    5            Q.      And you've had a chance to read through
    6     those bullet points here today?
    7            A.      Not today.
    8            Q.      Could you read through them and then let
    9     me know whether they also accurately summarize the
   10     complaint you made to OSC?
   11            A.      Okay.
   12            Q.      Do those bullet points summarize your
   13     complaint to OSC accurately?
   14            A.      Yes.
   15            Q.      Let's move to the second page, first
   16     paragraph.     That paragraph begins, "According to DHS
   17     regulations, all arriving aliens who approach a port
   18     of entry are subject to either expedited removal or
   19     detention pending an asylum review.              If at any point
   20     the arriving alien expresses an intention to apply
   21     for asylum, a fear of persecution or a fear of
   22     returning to their native country, then the officer
   23     must halt removal proceedings immediately."
   24                    Did I read that correctly, sir?
   25            A.      Yes.
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                                                                       Page 186
    1            Q.      And that's consistent with the training
    2     that you received regarding asylum law, correct, sir?
    3            A.      Yes.
    4            Q.      That's also consistent with the training
    5     you received regarding how asylum seekers are to be
    6     processed at ports of entry, correct?
    7            A.      Can you explain that a little?
    8            Q.      Well, you received some training,
    9     although it was limited, about how to process asylum
   10     seekers, correct?
   11            A.      Yes.
   12            Q.      And you can, if called upon today,
   13     process an asylum seeker, correct?
   14            A.      I can process one?
   15            Q.      Yeah.    You're able to do it, right?
   16            A.      It would take me a while.
   17            Q.      But --
   18            A.      I probably can.
   19            Q.      -- you probably could do it?
   20                    Do these two sentences accurately
   21     summarize how an asylum seeker is supposed to be
   22     processed?
   23            A.      Yes.
   24            Q.      Later in the same paragraph, there's a
   25     sentence that begins, "According to                           ."     Do
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45614
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                                                                        Page 187
    1     you see that?
    2             A.     Yes.
    3             Q.     And that sentence reads, "According to
    4                        CBP officers are escorting asylum
    5     seekers who have entered the U.S. out of the country
    6     and preventing asylum seekers at the Tecate Port of
    7     Entry from entering, in violation of the alien's
    8     right to seek asylum."
    9                    Did I read that correctly?
   10            A.      Correct.
   11            Q.      And do you believe that statement is
   12     true?
   13            A.      At the time, yes.
   14            Q.      And is it still true today?
   15            A.      Yes.
   16            Q.      The next paragraph begins with,
   17     "Pursuant to my authority."            Do you see that?
   18            A.      Yes.
   19            Q.      That paragraph begins, "Pursuant to my
   20     authority under 5 U.S.C., Section 1213 (c), I have
   21     concluded that there is a substantial likelihood that
   22     the information provided to OSC discloses violation
   23     of law, rule, or regulation."
   24                    Did I read that correctly?
   25            A.      Yes.
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                                                                       Page 188
    1             Q.     Did anyone from OSC ever share with you
    2     that there was a substantial likelihood that CBP was
    3     breaking the law when it implemented its turn-back
    4     policy?
    5             A.     I don't recall them ever telling me
    6     that.
    7             Q.     Did anybody from OIG ever share that
    8     with you?
    9             A.     No, I don't -- no, they just made the
   10     report.
   11            Q.      On the next page of the document,
   12     there's a page that's labeled "Appendix."                Do you see
   13     that?
   14            A.      Yes.
   15            Q.      And there's a section that says,
   16     "Retaliation against whistle-blowers."                Do you see
   17     that?
   18            A.      Yes.
   19            Q.      And the last sentence of that section
   20     reads, "Special counsel strongly recommends the
   21     agency take all appropriate measures to protect
   22     individuals from retaliation and other prohibited
   23     personnel practices."
   24                    Did I read that correctly?
   25            A.      Yes.
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                                                                       Page 189
    1            Q.
    2
    3
    4            A.
    5            Q.
    6            A.
    7
    8
    9
   10            Q.
   11
   12            A.
   13            Q.
   14
   15            A.
   16            Q.
   17
   18
   19            A.
   20            Q.
   21
   22
   23            A.
   24            Q.
   25            A.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45617
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                                                                       Page 190
    1            Q.      Good for you.         Who was this officer?
    2            A.      It was Supervisor Garcia.
    3            Q.      What's Supervisor Garcia's full name?
    4            A.      Antonio Garcia, I believe.
    5            Q.      And Antonio Garcia was a first-line
    6     supervisor, I take it?
    7            A.      He was at the time, I believe.
    8            Q.      Where does he work now?
    9            A.      At Tecate.
   10            Q.      Has he been promoted?
   11            A.      Yes.
   12            Q.      To what?
   13            A.      Assistant port director.
   14            Q.
   15
   16
   17            A.      Yes.
   18            Q.      Have you been promoted?
   19            A.      No.
   20            Q.      Can you be promoted at this point?
   21            A.      If I put in for it.
   22            Q.      If you put in for it, would you have any
   23     demerits on your record that would prevent you from
   24     being promoted?
   25            A.      Not right now.
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Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45633
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                                                                       Page 206
    1            Q.      Okay.    That sentence reads,                      was
    2     given verbal instruction on what to do when assigned
    3     to the limit line."
    4                    Did I read that correctly, sir?
    5            A.      Yes.
    6            Q.      And this is the verbal muster that
    7     you've been referring to today, correct?
    8            A.      Yes.
    9            Q.      And it goes on to state,                      was
   10     told to stop asylum seekers at the limit line before
   11     they cross on to U.S. soil and to redirect them to
   12     the San Ysidro POE."
   13                    Did I read that correctly?
   14            A.      Correct.
   15            Q.      As we talked about earlier today, it was
   16     often the case that some of these asylum seekers were
   17     on U.S. soil and were turned back to Mexican soil; is
   18     that right?
   19            A.      Correct.
   20            Q.      So that's not quite an accurate
   21     statement about how the turn-back policy worked at
   22     Tecate, correct?
   23            A.      Correct.
   24            Q.      It goes on to state,                      id not
   25     feel comfortable with this instruction, because his
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45634
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                                                                       Page 207
    1     understanding of the law was that an individual can
    2     claim asylum at any POE."
    3                    Did I read that correctly, sir?
    4             A.     Correct.
    5             Q.     Is that still your understanding of the
    6     law?
    7             A.     Yes.
    8             Q.     Has anyone told you that your
    9     understanding of the law is incorrect?
   10            A.      No.
   11            Q.      Has anyone ever told you that it is
   12     legal to turn back an asylum seeker who is on U.S.
   13     soil?
   14            A.      It is legal?
   15            Q.      Yes.
   16            A.      No.
   17            Q.      Has anyone ever told you that it is
   18     legal to turn back an asylum seeker who was arriving
   19     at a port of entry?
   20            A.      No.
   21            Q.      Okay.    This paragraph then goes on to
   22     state, "When               asked for written instruction,
   23     none was provided.                   raised concerns with his
   24     supervisors and was told that the protocol came from
   25     'higher up.'"
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                                                                       Page 208
    1                    Did I read that correctly?
    2            A.      Correct.
    3            Q.      And the phrase "higher up" here is in
    4     quotes, correct?
    5            A.      Yes.
    6            Q.      Does that lead you to believe that
    7     that's a phrase that you used during the call?
    8            A.      Yes.
    9            Q.      Is "higher up" a type of phrase you
   10     would use?
   11            A.      Yeah, they would use that.
   12            Q.      Did you ever figure out who the
   13     higher-ups were that came up with this protocol?
   14            A.      No.
   15            Q.      Did you try to find out?
   16            A.      No.
   17            Q.      Other than the bit about asylum seekers
   18     not being on U.S. soil, does this paragraph
   19     accurately summarize your complaint?
   20            A.      Yes.
   21            Q.      And let's return for a second to
   22     Exhibit 15, the e-mail chain between you and John
   23     Goodrich.
   24                    Do you see the e-mail on November 7,
   25     2018, at 3:50 p.m. from you to Mr. Goodrich?
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Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45642
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                                                                       Page 215
    1     Special Counsel and the Office of Inspector General?
    2            A.      Can you repeat the sentence?
    3            Q.      Sure.    Besides talking to OSC and OIG,
    4     did you express the fear that a lawsuit might be
    5     filed with anyone else at CBP?
    6            A.      No.
    7            Q.      Did you know at this time that a lawsuit
    8     actually had been filed regarding turn-backs at ports
    9     of entry?
   10            A.      Not at all.
   11            Q.      And this is a just a "yes" or "no"
   12     question:     Were you ever contacted by anyone at the
   13     Department of Justice regarding turn-backs around the
   14     time that you spoke to the Office of Inspector
   15     General?
   16            A.      No.
   17                    MR. MEDLOCK:      Let's take a break.
   18                    (Brief recess.)
   19                    MR. MEDLOCK:      Back on the record.
   20     BY MR. MEDLOCK:
   21            Q.      Sir, welcome back.
   22            A.      Thank you.
   23            Q.      We talked a little bit earlier about the
   24     grievance that you filed related to turn-backs at the
   25     Tecate Port of Entry.         Was that grievance in writing
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45643
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    1     or made orally?
    2            A.      I believe it was in writing.
    3            Q.      And who did you make that grievance to?
    4            A.      I believe it was OSC, I believe.
    5            Q.      Let me direct you to Exhibit 13.              Do you
    6     have Exhibit 13 in front of you, sir?                 It should be
    7     the e-mail that contains your timeline as an
    8     attachment to it.
    9                    And then four -- three lines up from the
   10     bottom, there's a reference to a grievance letter to
   11     management and a letter of reprimand.                 Do you see
   12     that, sir?
   13            A.      Yes.
   14            Q.      And you sent that on September 10, 2018;
   15     is that correct?
   16            A.      Yes.
   17            Q.      And beneath that, there is a Step 1
   18     meeting for -- actually, sorry, I skipped a line.
   19                    Beneath that, there is an entry that
   20     reads, "Grievance letter about Supervisor McCarthy,"
   21     and that's also on September 10, 2018, correct?
   22            A.      Correct.
   23            Q.      And then beneath that, it states that
   24     you had a Step 1 meeting for both grievances on
   25     September 11, 2018, correct?
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    1            A.      Correct.
    2            Q.      Does that refresh your recollection
    3     about the timing and circumstances of those
    4     grievances?
    5            A.      Yes.
    6            Q.      What were your two grievances that you
    7     filed on September 10, 2018, about?
    8            A.      One was about my cell phone at the limit
    9     line, and my other one was about how McCarthy
   10     demanded me to stay for a seizure when, per union
   11     contract, that goes to lowest earner, and she wasn't
   12     following the contract.
   13            Q.      And what happened with regard to those
   14     grievances at the Step 1 meeting on September 11th?
   15            A.      My letter of reprimand got dropped down
   16     to six months, and nothing happened with the
   17     following grievance.
   18            Q.      Was the other grievance just discussed
   19     and nothing happened?
   20            A.      Yes.
   21            Q.
   22
   23
   24            A.
   25            Q.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45645
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    1            A.      I believe that is a retaliation form.
    2            Q.
    3
    4            A.
    5
    6            Q.
    7
    8            A.
    9
   10
   11            Q.
   12
   13            A.
   14
   15            Q.
   16
   17
   18            A.
   19            Q.
   20
   21            A.
   22            Q.
   23
   24
   25            A.
Case 3:17-cv-02366-BAS-KSC   Document 535-3    Filed 09/04/20   PageID.45646
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                                                                       Page 219
    1            Q.      We talked a little bit earlier about
    2     recordkeeping related to turn-backs.
    3                    Do you have an understanding of why CBP
    4     did not keep records regarding turn-backs?
    5            A.      No, I didn't.
    6            Q.      Did you ever ask?
    7            A.      No.
    8            Q.      When you were speaking to OSC, did they
    9     ever ask you to provide them with any documents or
   10     e-mails substantiating your allegations?
   11            A.      I don't believe so.
   12            Q.      Regardless of whether they asked for it,
   13     did you provide any documents to OSC?
   14            A.      I think just the musters.
   15            Q.      Okay.
   16            A.      Or the SOPs.
   17            Q.      Did you tell OSC or the Office of
   18     Inspector General any other CBP employees who they
   19     could speak with who would substantiate your
   20     allegations?
   21            A.      Yes.
   22            Q.      Do you recall who you directed CBP --
   23     I'm sorry, OIG -- to?
   24            A.      Yes.    I think it's on here.           I believe
   25     it was Scott Scavo and Brian Ballatore.
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                                                                       Page 220
    1            Q.      And Mr. Ballatore is the union rep that
    2     we talked about earlier?
    3            A.      Correct.
    4            Q.      And Scott Scavo?        How do you spell his
    5     last name?
    6            A.      S-c-a-v-o.
    7            Q.      And what's Mr. Scavo's role at the
    8     Tecate Port of Entry, if you know?
    9            A.      He's a CBPO as well.
   10            Q.      And when you say "CBPO," that's a CBP
   11     officer, correct?
   12            A.      Correct.
   13            Q.      Is Mr. Scavo on your shift at Tecate?
   14            A.      Yes.
   15            Q.      Have you seen Mr. Scavo turn back asylum
   16     seekers to Mexico?
   17            A.      No.
   18            Q.      Did Mr. Scavo express to you any
   19     concerns regarding the turn-back policy?
   20            A.      Yes.
   21            Q.      What were the concerns Mr. Scavo
   22     expressed to you regarding the turn-back policy?
   23            A.      I don't recall at this moment.
   24            Q.      So you recall that he had concerns, but
   25     you don't recall what they were?
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                                                                       Page 221
    1            A.      Yes.
    2            Q.      Do you have on Exhibit 13 the attachment
    3     to it that's the September 4, 2018, muster?                 This
    4     should be in the e-mail chain that we were just
    5     talking about.
    6            A.      Okay.
    7            Q.      And the second page of that document,
    8     sir, is the September 4, 2018, muster.                Do you see
    9     that?
   10            A.      Yes.
   11            Q.      Do you see a section entitled "Limit
   12     Line Personnel"?
   13            A.      Yes.
   14            Q.      And the first section of "Limit Line
   15     Personnel" reads, "The limit line is not specifically
   16     for asylum seekers.        It is based on legitimate
   17     operational needs, and it's designated for those with
   18     appropriate travel documents and those without such
   19     documents."
   20                    Did I read that correctly?
   21            A.      Yes.
   22            Q.      Then the very next sentence reads, "Due
   23     to the facility and operating-hour limitations, this
   24     necessitates that we redirect asylum seekers to our
   25     processing hubs in Calexico West or San Ysidro
Case 3:17-cv-02366-BAS-KSC    Document 535-3    Filed 09/04/20   PageID.45649
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                                                                        Page 222
    1     PedWest."
    2                    Did I read that correctly?
    3            A.      Yes.
    4            Q.      Is it the case even though the limit
    5     line is not supposed to be for asylum seekers in
    6     practice, what occurs at the limit line is that
    7     asylum seekers are turned back to Mexico?
    8            A.      Yes.
    9                    MR. MEDLOCK:       Mark this as Exhibit 18.
   10                    [Exhibit 18, a one-page note, was marked
   11            for identification.]
   12     BY MR. MEDLOCK:
   13            Q.      All right, sir.         We put in front of you
   14     what we marked as Exhibit 18 to your deposition.
   15     It's a one-page document, one paragraph long, that is
   16     Bates numbered AOL-DEF-00216886.
   17                    Please take a moment to review it, sir,
   18     and let me know when you're done doing so.
   19            A.      Okay.
   20            Q.      Have you ever seen a copy of Exhibit 18
   21     before, sir?
   22            A.      No.
   23            Q.      Exhibit 18 at the bottom says "CBPO
   24                        ."   Do you see that?
   25            A.      Yes.
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    1            Q.        And that's a reference to CBP Officer
    2                        , who worked at the Tecate Port of
    3     Entry, correct?
    4            A.        Correct.
    5            Q.        And we talked a little bit about
    6                 in your deposition earlier today, correct?
    7            A.        Correct.
    8            Q.        And this appears to be a note from
    9                        , correct?
   10            A.       Correct.
   11            Q.       I want to focus on the second sentence
   12     of the note.        It reads, "All officers have been
   13     instructed to turn away or redirect those seeking
   14     asylum to other ports."
   15                     Did I read that correctly, sir?
   16            A.       Yes.
   17            Q.       Does that accurately describe the
   18     instructions that were given to officers at the
   19     Tecate Port of Entry?
   20            A.       Yes.
   21            Q.       Does that corroborate your complaint
   22     about the turn-back policy at the Tecate Port of
   23     Entry?
   24            A.       Yes.
   25            Q.       In practice, are asylum seekers the only
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                                                                       Page 224
    1     group of people that are turned back from the port of
    2     entry?
    3            A.      Unless it's people that come that just
    4     want to go to the gas station, yes.
    5            Q.      Okay.    So two classes of people:            People
    6     who are simply lost?
    7            A.      Yes.
    8            Q.      And people who are seeking asylum,
    9     correct?
   10            A.      Yes.
   11            Q.      And the only people who seem to know
   12     where they're going who are turned back are asylum
   13     seekers, correct?
   14            A.      I guess we have some too that bring
   15     quantities or certain things that cannot come in.
   16            Q.      So contraband?
   17            A.      Not -- no, not necessarily contraband.
   18     Maybe like a commercial quantity, and they're like --
   19            Q.      I see.
   20            A.      You know, B1/B2, you know, cardholder,
   21     B1/B2 holders, visitors, and they have like too much
   22     product, so we'll just return them due to the product
   23     they have, or something like that.
   24            Q.      I see.
   25                    But those people can come right back?
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                                                                       Page 225
    1            A.      Could come right back, correct.
    2            Q.      But asylum seekers can't come back to
    3     the port of entry, they need to go somewhere else; is
    4     that right?
    5            A.      Yes.
    6            Q.
    7
    8
    9            A.
   10            Q.
   11
   12
   13            A.
   14            Q.
   15
   16
   17            A.
   18            Q.
   19
   20            A.
   21            Q.
   22
   23
   24            A.
   25
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                                                                         Page 226
    1            Q.
    2
    3
    4            A.      Yes.
    5                    MR. MEDLOCK:       All right.           Exhibit 19.
    6                    [Exhibit 19, a report from the Office of
    7            the Inspector General, was marked for
    8            identification.]
    9     BY MR. MEDLOCK:
   10            Q.      So we marked Exhibit 19 to your
   11     deposition.        It is a multi-page document from the
   12     Office of the Inspector General of the Department of
   13     Homeland Security, dated September 26, 2019, and
   14     entitled "Investigation of Alleged Violations of
   15     Immigration Laws at the Tecate Port of Entry by U.S.
   16     Customs and Border Protection Personnel."
   17                    Take a moment to review the document,
   18     sir.
   19                    I think you've probably read it before?
   20            A.      Yes.
   21            Q.      Let me know when you're done reviewing
   22     it audibly on the record.
   23            A.      Okay.
   24            Q.      All right.       You've reviewed it?
   25            A.      Yes.
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                                                                       Page 227
    1            Q.      Do you recognize this document, sir?
    2            A.      Yes.
    3            Q.      Were you given a copy of this OIG report
    4     in a draft form to review?
    5            A.      No.
    6            Q.      Did you ever ask to do so?
    7            A.      No.
    8            Q.      Did anyone ever tell you that you had a
    9     right to review a draft copy of this report?
   10            A.      No.
   11            Q.      The -- sorry.         Go ahead.
   12            A.      They didn't, but after the fact, it was.
   13            Q.      The only time you learned that you could
   14     have looked at a draft of this report was after it
   15     was actually issued; is that right?
   16            A.      Yes.
   17            Q.      And who told you that?
   18            A.      Office of Special Counsel.
   19            Q.      Do you feel that you should have been
   20     told that before the final report was issued?
   21            A.      Yes.
   22            Q.      Why is that?
   23            A.      In case I needed to make any corrections
   24     to it.
   25            Q.      Do you feel that corrections need to be
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                                                                       Page 228
    1     made to this report?
    2            A.      No.
    3            Q.      So the title of this report is
    4     Investigation of Alleged Violations of Immigration
    5     Laws at the Tecate, California, Port of Entry by U.S.
    6     Customs and Border Protection Personnel."
    7                    Did I read that correctly?
    8            A.      Yes.
    9            Q.      And this is the report that was
   10     generated from your initial complaint in the summer
   11     of 2018, correct?
   12            A.      Correct.
   13            Q.      I am on the second page of the document,
   14     that at the top says "DHS OIG Highlights."                 Do you
   15     see that page, sir?
   16            A.      "DHS OIG Highlights"?
   17            Q.      Yes.    It should have been on this page?
   18            A.      This page.      Okay.
   19            Q.      Do you see that page, sir?
   20            A.      Yes.
   21            Q.      And there's a heading that's entitled
   22     "What We Found."       Do you see that?
   23            A.      Yes.
   24            Q.      All right.      There's three findings that
   25     are listed on that page, sir; is that right?
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                                                                       Page 229
    1            A.      Yes.
    2            Q.      And I want to focus on the first one.
    3                    The beginning of that section reads,
    4     "First, we found that contrary to federal law and
    5     U.S. Customs and Border Protection policy, CBP
    6     officials at the Tecate, California, Port of Entry
    7     returned some asylum applicants from inside the
    8     United States back to Mexico, and instructed those
    9     individuals to go to other ports of entry to make
   10     their asylum claims."
   11                    Did I read that correctly?
   12            A.      Yes.
   13            Q.      So OIG found that this turn-back policy
   14     that we've been discussing today violated federal
   15     law, correct?
   16            A.      Correct.
   17            Q.      And that it violated CBP policy,
   18     correct?
   19            A.      Correct.
   20            Q.      And to your knowledge, these turn-backs
   21     are still occurring today at Tecate, correct?
   22            A.      Correct.
   23            Q.      So despite the OIG's findings that this
   24     violated the law, it's still going on; is that right?
   25            A.      Correct.
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                                                                       Page 230
    1            Q.      Do you see the section that says "What
    2     We Recommend" there?
    3            A.      Yes.
    4            Q.      Can you read what is written below "What
    5     We Recommend"?
    6            A.      "This report contains no
    7     recommendations."
    8            Q.      So OIG found that CBP officers were
    9     violating the law, and they have no recommendations
   10     on how to fix that, and it's still happening, right?
   11            A.      Correct.
   12            Q.      Do you have any understanding of why OIG
   13     would spend months investigating an issue and then
   14     not recommend any way to fix it?
   15            A.      No.
   16            Q.      Let's focus on the next sentence of that
   17     first paragraph.       It reads, "However, we did not
   18     substantiate the allegation that managers instructed
   19     officers to do this, or that it was the port's
   20     standard practice."
   21                    Did I read that correctly?
   22            A.      Yes.
   23            Q.      Now, we've just read Officer
   24                 note that states, "All officers have been
   25     instructed to turn away or redirect those seeking
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                                                                           Page 231
    1     asylum to other ports," right?
    2            A.       Yes.
    3            Q.       So it's simply not true that there
    4     wasn't anything to substantiate that allegation; is
    5     that right?
    6                     MR. HALASKA:     Objection.           Leading.
    7     BY MR. MEDLOCK:
    8            Q.       Sir, remind me again:          What agency do
    9     you work for?
   10            A.       CBP.
   11            Q.       So I will ask that leading question
   12     again:      It's simply not true that there was nothing
   13     to substantiate the allegation that managers
   14     instructed officers to turn back asylum seekers,
   15     right?
   16            A.       Sorry.    Can you say it again?
   17            Q.       All right.     So OIG says that there was
   18     nothing to substantiate your allegation, correct?
   19            A.       Yes.
   20            Q.       But you told OIG that this was
   21     occurring, correct?
   22            A.       Yes.
   23            Q.       And Officer              told OIG that this
   24     was occurring, correct?
   25            A.       Yes.
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                                                                       Page 232
    1            Q.      So there was something to substantiate
    2     your account, wasn't there?
    3            A.      Yes.
    4            Q.      There was the testimony -- there was a
    5     note, I should say, from another CBP officer who was
    6     at the Tecate Port of Entry at the same time you
    7     were, correct?
    8            A.      Yes.
    9            Q.      And we just earlier this morning, we
   10     reviewed multiple queue management reports that said
   11     that UDAs were being redirected to San Ysidro,
   12     correct?
   13            A.      Yes.
   14            Q.      So there were e-mails that also
   15     substantiated your allegation too, correct?
   16            A.      Yes.
   17            Q.      So this sentence is simply untrue, when
   18     it says, "We did not substantiate the allegation that
   19     managers instructed officers to do this or that it
   20     was the port's standard practice," correct?
   21            A.      Correct.
   22            Q.      Do you have any understanding as to why
   23     OIG would come to the conclusion that there was
   24     nothing to substantiate the allegation when there
   25     was?
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                                                                       Page 233
    1            A.      Maybe during that time they didn't say
    2     that.
    3            Q.      Did anyone ever -- did anyone ever
    4     express to you from OIG that they thought you were
    5     lying?
    6            A.      No.
    7            Q.      Did they ever tell you your story was
    8     incredible?
    9            A.      No.
   10            Q.      Did they ever tell you they weren't
   11     going to place any weight on your account?
   12            A.      No.
   13            Q.      Did they ever tell you that
   14              was lying?
   15            A.      No.
   16            Q.      Did they ever tell you that they weren't
   17     going to believe
   18            A.      No.
   19            Q.      Did they ever tell you that they weren't
   20     going to place any weight on what                              had
   21     to say?
   22            A.      No.
   23            Q.      Did anyone at OIG ever tell you that
   24     they weren't going to believe what was written in the
   25     queue management reports?
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                                                                       Page 234
    1            A.      No.
    2            Q.      Did anyone from OIG ever tell you that
    3     what was written in the queue management report was
    4     incorrect?
    5            A.      No.
    6            Q.      So to believe this sentence in the OIG
    7     report, you'd have to ignore the queue management
    8     reports and ignore                             testimony in her
    9     note, correct?
   10            A.      Yes.
   11            Q.      The next paragraph begins, "Second, we
   12     found that Tecate and other ports of entry use a
   13     practice known as metering or queue management to
   14     prevent overcrowding at the ports," correct?
   15            A.      Yes.
   16            Q.      And we reviewed several queue management
   17     reports this morning, sir, correct?
   18            A.      Yes.
   19            Q.      And all those queue management reports
   20     we reviewed showed there was no one in custody at the
   21     port, correct?
   22            A.      Correct.
   23            Q.      And that the utilized capacity of the
   24     port was zero percent, correct?
   25            A.      Yes.
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                                                                       Page 235
    1            Q.      Do you have any understanding of how the
    2     OIG can come to the conclusion that metering or queue
    3     management was done to prevent overcrowding at the
    4     ports, when there was no one in custody at the Tecate
    5     Port of Entry?
    6            A.      No.
    7            Q.      Was it the fact -- at any time that you
    8     were at the Tecate Port of Entry, was it ever
    9     overcrowded?
   10            A.      No.
   11            Q.      So -- go ahead, sir.
   12            A.      Well, I told you that one case we had
   13     with the I-94s.
   14            Q.      How long did that one case with the
   15     I-94s last?
   16            A.      It happened on Fridays, mostly.              But
   17     it's usually a couple of hours.
   18            Q.      It's done by Saturday; is that right?
   19            A.      It's done in a couple of hours, yeah.
   20            Q.      So it's done by Friday night?
   21            A.      Yeah.
   22            Q.      So on average, the Tecate port is not
   23     overcrowded, right?
   24            A.      No.
   25            Q.      In fact, it's a lesser-utilized port of
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                                                                           Page 236
    1     entry, correct?
    2            A.      Correct.
    3            Q.      And one of the reasons you wanted to
    4     work at the Tecate Port of Entry was it was less
    5     utilized than Otay Mesa and San Ysidro, correct?
    6            A.      Correct.
    7            Q.      So the idea that metering or queue
    8     management happened at Tecate to prevent overcrowding
    9     is just simply wrong; isn't that right?
   10                    MR. HALASKA:      Objection.           Leading.
   11     BY MR. MEDLOCK:
   12            Q.      Go ahead and answer my question, sir.
   13            A.      Yes.
   14            Q.      The paragraph goes on to state, "We
   15     identified three concerns with how CBP implemented
   16     this practice at Tecate, including that the port
   17     generally refers most asylum seekers to go to other
   18     ports, despite representing Tecate as open to all
   19     travelers," correct?
   20            A.      Yes.
   21            Q.      And this was one of the things that
   22     concerned you about the practice of turning back
   23     asylum seekers, sir; isn't that right?
   24            A.      Yes.
   25            Q.      On the one hand, CBP was saying the port
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    1     was open to everyone, and in reality it wasn't open
    2     to asylum seekers; isn't that right?
    3            A.      Yes.
    4            Q.      And that's because of the turn-back
    5     policy, right?
    6            A.      Correct.
    7            Q.      CBP says the ports are open to everyone,
    8     but they aren't; is that right?
    9            A.      Correct.
   10            Q.      And then finally -- I'm sorry, I should
   11     say the last paragraph reads, "Finally we found that
   12     Tecate officials do not create records when they
   13     instruct individuals to go to other ports to make
   14     their asylum claims."
   15                    Did I read that correctly?
   16            A.      Yes.
   17            Q.      And that's true, isn't it?
   18            A.      Yes.
   19            Q.      Let's move to the next page of the OIG
   20     report.
   21                    This part of the OIG report appears to
   22     be a memorandum from Jennifer Costello, Acting
   23     Inspector General, dated July 9, 2019, correct?
   24            A.      Yes.
   25            Q.      And it appears that either in actual pen
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    1     or some sort of an image form, Jennifer Costello has
    2     signed the memorandum, correct?
    3            A.      Correct.
    4            Q.      Okay.     So do you see there's a list of
    5     one, two, three, on the first page of this
    6     memorandum?
    7            A.      Yes.
    8            Q.      And those three points purport to
    9     summarize the allegations that you made, correct?
   10            A.      Yes.
   11            Q.      Can you take a moment and review them,
   12     and let me know if those three points accurately
   13     summarize your allegations?
   14            A.      Yes.
   15            Q.      Okay.     So I want to focus on the first
   16     allegation.        That reads, "Since 2016, CBP managers
   17     have instructed CBP officers to physically escort
   18     asylum seekers arriving at the Tecate Port of Entry
   19     back to Mexico and to direct those asylum seekers to
   20     the San Ysidro Port of Entry."
   21                    Did I read that correctly?
   22            A.      Correct.
   23            Q.      And that accurately describes your
   24     complaint, that it says from 2016 through the
   25     present, these turn-backs have been occurring,
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    1     correct?
    2            A.      I don't remember it being 2016, but I
    3     could be wrong.
    4            Q.      Okay.    You don't know whether that's --
    5     whether that is or isn't the case, that it started in
    6     2016?
    7            A.      Yes.
    8            Q.      Based on it appearing in this memorandum
    9     that the turn-backs started in 2016, do you have any
   10     reason to quarrel or to doubt that this turn-back
   11     started in 2016?
   12            A.      I don't remember.
   13            Q.      Okay.    It might have happened, it might
   14     not?
   15            A.      I feel like it hasn't, though, because
   16     it wasn't there when I started, and I've been there
   17     since 2016.
   18            Q.      All right.      But you don't know the exact
   19     date on which they started?
   20            A.      No.
   21            Q.      And you can't give me the month and year
   22     when it started?
   23            A.      I want to say 2017, but I don't know.
   24            Q.      Would you say early 2017?
   25            A.      I would say late 2017.
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                                                                        Page 240
    1            Q.      Do you know what season of the year it
    2     was?
    3            A.      I have no clue.
    4            Q.      I understand Southern California doesn't
    5     have seasons, but you can pretend with me here.
    6            A.      I don't know.
    7            Q.      Okay.     I want to go to page 5 of the
    8     memorandum.        At the top of that page, there's a bold
    9     header that reads, "A, the OIG substantiated that CBP
   10     officers have returned some asylum seekers present in
   11     the U.S. to Mexico and redirected those individuals
   12     to other ports."        Do you see that, sir?
   13            A.      Yes.
   14            Q.
   15
   16
   17            A.      Yes.
   18            Q.      And at the end of that paragraph, there
   19     is a footnote to Footnote 9, correct?
   20            A.      Footnote 8, you mean?
   21            Q.      Oh, sorry, footnote -- I believe it's 9
   22     on my --
   23            A.      On the muster?
   24            Q.      No.     Right after "Mexico."           Do you see
   25     that at the end of the paragraph?
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                                                                       Page 241
    1             A.     Oh.    Yeah.
    2             Q.     So that directs down to Footnote 9 at
    3     the bottom of page 5, correct?
    4             A.     Yes.
    5             Q.     And Footnote 9 begins with, "We're aware
    6     that some witnesses have chosen to be less then
    7     forthcoming regarding a practice most witnesses
    8     acknowledged as improper."
    9                    Did I read that correctly, sir?
   10            A.      Yes.
   11            Q.      Do you have any understanding of why a
   12     CBP officer would be less than forthcoming when asked
   13     questions about -- by the Office of Inspector
   14     General?
   15            A.      They were just concerned about their
   16     job.
   17            Q.      Can you elaborate on that?
   18            A.      A concern on being reprimanded on their
   19     job.
   20            Q.      So do you know whether any CBP officers
   21     that spoke to the Office of Inspector General were
   22     less than forthcoming?
   23            A.      No.
   24            Q.      Would it surprise you to learn that they
   25     were?
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                                                                       Page 242
    1            A.      "That they were"?
    2            Q.      Less than forthcoming.
    3            A.      No.
    4            Q.      Why wouldn't it surprise you?
    5            A.      Because I know some of them just want to
    6     be quiet and left alone.
    7            Q.      They don't want to draw attention to
    8     themselves; is that right?
    9            A.      Yes.
   10            Q.
   11
   12
   13
   14            A.
   15            Q.      In general, in your experience, is it a
   16     bad thing if a CBP officer draws attention to himself
   17     or herself?
   18            A.      Yes.
   19            Q.      Why is that?
   20            A.      Just it's harder to move up.
   21            Q.
   22
   23
   24            A.
   25            Q.      Let's move to page 6 of the report, sir.
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                                                                        Page 243
    1                    Towards the bottom of the page, there's
    2     a paragraph that begins, "Consistent with witness
    3     testimony."        Do you see that paragraph, sir?
    4            A.      Yes.
    5            Q.      And that section begins, "Consistent
    6     with witness testimony, the OIG identified e-mails
    7     confirming some instances of Tecate returning and
    8     redirecting asylum seekers in 2017."
    9                    Did I read that correctly?
   10            A.      Yes.
   11            Q.      Is that consistent with your
   12     recollection that by 2017, asylum seekers were being
   13     turned back?
   14            A.      Yes.
   15            Q.      This was before the muster that you
   16     described, correct?
   17            A.      Correct.
   18            Q.      So these turn-backs that happened in
   19     2017 would have happened pursuant to oral
   20     instructions from management; is that correct?
   21            A.      Yes.
   22            Q.      Actually, I want to just make one thing
   23     clear, actually.
   24                    Can you go to the last page of the
   25     report, page 15?
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                                                                        Page 244
    1            A.      Yes.
    2            Q.      And on page 15 at the top says,
    3     "Appendix B, Report Distribution."              Do you see that?
    4            A.      Yes.
    5            Q.      And amongst others, this report went to
    6     the secretary of Homeland Security, the deputy
    7     secretary of Homeland Security, the chief of staff to
    8     the secretary of Homeland Security, the general
    9     counsel of DHS, and the commissioner of U.S. Customs
   10     and Border Protection, correct?
   11            A.      Yes.
   12            Q.      So at least by July 9, 2019, all these
   13     individuals would have been aware that turn-backs
   14     were happening at Tecate, correct?
   15            A.      Yes.
   16            Q.      And they would have been aware from this
   17     report that individuals were being turned back from
   18     U.S. soil to Mexican soil after they tried to seek
   19     asylum in the United States, correct?
   20            A.      Yes.
   21            Q.      And still the turn-backs are still
   22     occurring, correct?
   23            A.      Yes.
   24                    MR. MEDLOCK:      All right.           Why don't we
   25            take five minutes so I can collect my thoughts.
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    1            I may have a few more questions.
    2                    (Brief recess.)
    3                    MR. MEDLOCK:      Back on the record.
    4     BY MR. MEDLOCK:
    5            Q.      Thank you, sir.        I appreciate your
    6     forbearance.
    7                    On the last exhibit, the OIG report, can
    8     you please turn to page 11?           Are you there with me on
    9     page 11, sir?
   10            A.      Yes.
   11            Q.      And at the bottom of page 11, there's a
   12     Footnote 25.       Do you see that, sir?
   13            A.      Yes.
   14            Q.      And Footnote 25 reads, "Tecate's port
   15     director did not unilaterally decide to close the
   16     port to most asylum seekers.           San Diego field office
   17     leadership was involved with and may have directed
   18     this approach."
   19                    Did I read that correctly?
   20            A.      Yes.
   21            Q.      Do you have any understanding of what
   22     role San Diego field office played in the turn-back
   23     policy?
   24            A.      No, I do not.
   25            Q.      Do you know one way or another whether
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                                                                        Page 246
    1     the port director at Tecate was acting unilaterally
    2     when the turn-back policy was implemented?
    3            A.      No, I do not.
    4            Q.      Do you have any reason to doubt the
    5     accuracy of what's written in Footnote 25, sir?
    6            A.      No.
    7            Q.      Do port directors typically, in your
    8     experience, act unilaterally and in defiance of
    9     orders from upper management?
   10            A.      I don't know.          I'm not a port director.
   11            Q.      Okay.     But the CBP officers that you've
   12     worked with follow the orders that they're given; is
   13     that right?
   14            A.      Correct.
   15                    MR. MEDLOCK:       That's all the questions I
   16            have.   I believe your attorney has some
   17            questions for you, sir.
   18                    MR. HALASKA:       Can we have the room for a
   19            little bit?
   20                    MR. MEDLOCK:       Sure.
   21                    (Brief recess.)
   22                                     EXAMINATION
   23     BY MR. HALASKA:
   24            Q.                             , thank you for being
   25     here today.        I just have a few questions about the
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    1     testimony you gave in response to Mr. Medlock's
    2     questions throughout the day.
    3                    Do you have any knowledge of how many
    4     people the Office of Inspector General spoke with in
    5     the course of its investigation?
    6             A.     No.
    7             Q.
    8
    9             A.
   10            Q.      Do you know if they spoke with anyone
   11     else?
   12            A.      No.
   13            Q.      So you wouldn't be aware if they had
   14     spoken with management?
   15            A.      No.
   16                    MR. MEDLOCK:      Objection to form.
   17            Leading.
   18     BY MR. HALASKA:
   19            Q.      You wouldn't be aware if they had spoken
   20     with other witnesses?
   21                    MR. MEDLOCK:      Objection.           Form, leading.
   22            A.      No.
   23            Q.      Do you know why the OIG report would
   24     have contained that statement when it says, "This
   25     report contains no recommendations"?
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                                                                       Page 248
    1            A.      No.    I've never seen an OIG report ever.
    2     It's my first time ever reading it.
    3            Q.                            , what is your opinion of
    4     your work environment today?
    5            A.      Great.
    6            Q.      Do you still feel like you're being
    7     subject to a hostile work environment?
    8            A.      No.
    9            Q.      Do you have any issues -- let me start
   10     that again.
   11                    Do you have any employment-related
   12     issues with any of the managers at the port?
   13            A.      Not at all.
   14            Q.      How about with any of the supervisors?
   15            A.      Not at all.
   16            Q.      Do you still feel like there's any hint
   17     of retaliation going on?
   18            A.      No.
   19            Q.      Earlier Mr. Medlock was asking you about
   20     concerns related to a U.S. citizen who might have
   21     lice who enters the Tecate Port of Entry.                Do you
   22     recall that?
   23            A.      A U.S. citizen with lice?
   24            Q.      Yes.
   25            A.      Sort of.
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                                                                       Page 249
    1            Q.      Do you have the same concerns if a U.S.
    2     citizen with lice enters the port of entry that you
    3     would if an asylum seeker with lice entered the port
    4     of entry?
    5                    MR. MEDLOCK:      Objection to form.
    6            Leading.
    7     BY MR. HALASKA:
    8            Q.      You can answer the question.
    9            A.      No.
   10            Q.      Why not?
   11            A.      Because a U.S. citizen will be up the
   12     road after we check immigration and customs, and an
   13     asylum seeker will be there a lot longer.
   14            Q.      I want to turn your attention to
   15     Exhibit 4, the Marin declaration.
   16                    MR. HALASKA:      Am I right?
   17                    MR. MEDLOCK:      That is correct.
   18     BY MR. HALASKA:
   19            Q.      Earlier, you and Mr. Medlock were
   20     discussing paragraph 5; is that right?
   21            A.      Correct.
   22            Q.      And just to refresh everyone's
   23     recollection, paragraph 5 reads, "As an initial
   24     matter, it is impossible to state 'the' capacity of
   25     the San Ysidro and Otay Mesa POEs to process aliens
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                                                                        Page 250
    1     without documents sufficient for lawful entry to the
    2     United States."
    3                    Did I read that correctly?
    4            A.      Yes.
    5            Q.      I want to turn your attention to
    6     paragraph 7 of the same declaration, and I'll read.
    7     It says, "While the designated capacity of these
    8     short-term hold rooms generally sets an upper ceiling
    9     for CBP's holding-capacity purposes, CBP's actual
   10     capacity to hold individuals in its short-term hold
   11     rooms at the San Ysidro and Otay Mesa POEs is
   12     generally lower than the designated capacity at any
   13     given time."
   14                    Did I read that correctly?
   15            A.      Yes.
   16            Q.      Do you understand that to be consistent
   17     with your experience as a CBP officer?
   18                    MR. MEDLOCK:      Objection.           Form, leading.
   19     BY MR. HALASKA:
   20            Q.      You can answer.
   21            A.      What was the question?
   22                    MR. HALASKA:      Would you mind reading it
   23            back to the witness?
   24                    (Whereupon, the referred-to question was
   25            read back by the Reporter.)
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                                                                       Page 251
    1                    THE WITNESS:      Yes.
    2                    MR. MEDLOCK:      Same objection.
    3     BY MR. HALASKA:
    4            Q.      Why do you understand that to be so?
    5            A.      We have -- at San Ysidro, when I was
    6     there, we had rooms that were designated for certain
    7     people.     We had a room that was only for women and
    8     children, no males can go in there.              We had a padded
    9     cell for people that were -- had some kind of
   10     criminal history or something that they could hurt
   11     themselves or other people.           We had other rooms that
   12     were just meant for transgenders, and no one else can
   13     be in there.       We had other rooms that had some kind
   14     of either virus or disease, and they couldn't be
   15     around the other people as well in the other cells.
   16     And then we had rooms for males, and we had rooms for
   17     minors.
   18            Q.      And what does all that mean for the port
   19     of entry's capacity to hold asylum seekers?
   20                    MR. MEDLOCK:      Objection to form,
   21            leading.
   22     BY MR. HALASKA:
   23            Q.      You can answer.
   24            A.      We couldn't really fully fill up the
   25     rooms due to we don't have -- if the rooms has 25
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    1     people and we have one transgender, we can't put 25
    2     in there with the one transgender.              So that
    3     transgender would have its own room.                  If we had a
    4     person with a disease that couldn't be around anyone,
    5     they would be solitary confined, that person wouldn't
    6     have -- we couldn't put another 25 people in there to
    7     fill up that, that room.
    8                    So yes, the maximum occupancy can never
    9     be filled due to these certain circumstances.
   10                    MR. HALASKA:      No more questions.
   11                    MR. MEDLOCK:      All right.           I have some
   12            brief redirect, sir.
   13                                    EXAMINATION
   14     BY MR. MEDLOCK:
   15            Q.      You said that an asylum seeker with lice
   16     is a bigger issue because they have to stay longer at
   17     the port of entry; is that correct?
   18            A.      Correct.
   19            Q.      How many asylum seekers with lice did
   20     you -- came to the Tecate Port of Entry when you
   21     worked there?
   22            A.      None that I know of.
   23            Q.      And at all times, in the documents that
   24     we saw, there was no one in custody at the Tecate
   25     Port of Entry?
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                                                                       Page 253
    1             A.      For those days, correct.
    2             Q.      And was that because there was a real
    3     concern about lice, or is that just because everyone
    4     was being turned away?
    5             A.      I don't -- I don't know about those
    6     days.
    7             Q.      Sir, was the metering policy, you think,
    8     motivated by concerns about disease outbreaks at the
    9     port of entry?        Do you have any information about
   10     that?
   11            A.       I do not.
   12            Q.       So you don't know whether it was; is
   13     that right?
   14            A.       No.
   15            Q.       Okay.   So let me go back to the metering
   16     policy.      That's Exhibit 3 in front of you.
   17                     And where in this policy does it refer
   18     to travelers with diseases?
   19            A.       I don't think I see it in here.
   20            Q.       Where in this policy does it refer to
   21     travelers who have a criminal record?
   22            A.       I don't see that in -- well, I don't
   23     know if that would be considered maintaining of
   24     security of the port, and safe and sanitary
   25     conditions.
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                                                                       Page 254
    1            Q.      Sure, but it doesn't actually refer to
    2     anybody with a communicable disease, does it?
    3            A.      No.
    4            Q.      It doesn't actually refer to what to do
    5     with an asylum seeker that has a criminal record,
    6     does it?
    7            A.      No.
    8            Q.      When you were at the Tecate Port of
    9     Entry and you received the oral muster to turn back
   10     asylum seekers at the port of entry, were you told
   11     anything about diseases at that time?
   12            A.      No.
   13            Q.      Were you told anything about lice at
   14     that time?
   15            A.      No.
   16            Q.      When you received the written muster
   17     regarding the turn-back policy, did that turn-back --
   18     did that muster or any oral guidance you got at that
   19     time refer to diseases?
   20            A.      No.
   21            Q.      Did it refer to individuals with
   22     criminal records?
   23            A.      No.
   24            Q.      You stated in your testimony that there
   25     were occasions when CBP officers couldn't fully fill
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                                                                        Page 255
    1     the rooms in the AEU at San Ysidro; is that right?
    2            A.      Yes.
    3            Q.      Do you have Exhibit 5 in front of you?
    4            A.      Yes.
    5                    MR. HALASKA:      I'm sorry.           One moment.     I
    6            have to pull it out.
    7                    MR. MEDLOCK:      That's the March 21, 2019,
    8            queue management report.
    9                    MR. HALASKA:      Okay.      Go ahead.
   10     BY MR. MEDLOCK:
   11            Q.      All right.      In Exhibit 3, for the
   12     San Diego field office, it says that San Ysidro was
   13     at 96 percent capacity, right?
   14            A.      Correct.
   15            Q.      And is there any notation anywhere on
   16     this chart that there are any sort of circumstances
   17     that would prevent San Ysidro from getting to
   18     100 percent capacity?
   19            A.      Is there any --
   20            Q.      Yes.    Does this chart say that there's
   21     something that's going on that's restraining the
   22     capacity at San Ysidro?
   23            A.      No.
   24            Q.      Is there anything on this chart that
   25     would indicate that the particular uses that the
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                                                                       Page 256
    1     holding cells are put towards would constrain the
    2     capacity of San Ysidro?
    3             A.     No.
    4             Q.     Okay.    Let's turn to Exhibit 6.            This is
    5     the June 16, 2018, queue management update e-mail.
    6     Do you see that?
    7             A.     Yes.
    8             Q.     For the San Ysidro Port of Entry, it
    9     says that there are            detainees in detention,
   10     correct?
   11            A.      Correct.
   12            Q.      And then it says 63 percent capacity,
   13     correct?
   14            A.      Yes.
   15            Q.      And for impact to port operations,
   16     what's written there?
   17            A.      Excuse me?
   18            Q.      What is the entry for impact to port
   19     operations for San Ysidro?
   20            A.      Negative.
   21            Q.      Let's go down to Tucson, the Douglas
   22     Port.    What's written for impact to port operations
   23     there?
   24            A.      "The port processed a family unit
   25     earlier with" --
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                                                                       Page 257
    1            Q.      No, no.     For Douglas.
    2            A.      Negative.
    3            Q.      And for Lukeville, what's written for
    4     impact to port operations?
    5            A.      Negative.
    6            Q.      And for Naco, what's written for impact
    7     to port operations?
    8            A.      Negative.
    9            Q.      For San Luis, what's written for impact
   10     to port operations?
   11            A.      Negative.
   12            Q.      How about El Paso?
   13            A.      Negative.
   14            Q.      And for the Laredo field office, the
   15     Brownsville Port, what's written there for impact to
   16     port operations?
   17            A.      Negative.
   18            Q.      For Progreso, what's written?
   19            A.      Negative.
   20            Q.      For Rio Grande City, what's written down
   21     there?
   22            A.      Negative.
   23            Q.      For Roma, what's written down?
   24            A.      Negative.
   25            Q.      For Laredo, what's written down there?
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                                                                       Page 258
    1            A.      Negative.
    2            Q.      And for Eagle Pass, what's written
    3     there?
    4            A.      Negative.
    5            Q.      And for Del Rio, what's written down
    6     there?
    7            A.      Negative.
    8            Q.      Okay.    So where on this chart does it
    9     state that the capacity of the San Ysidro Port of
   10     Entry has been constrained by operational
   11     limitations?
   12            A.      It doesn't.
   13            Q.      It doesn't, and it says, in fact, there
   14     is no impact to port operations, correct?
   15            A.      Yes.
   16            Q.      And it says that for many ports on this
   17     chart; isn't that right?
   18            A.      Yes.
   19            Q.      Okay.    Let's go to Exhibit 7, the queue
   20     management report for May 2, 2019.              Do you have that
   21     in front of you, sir?
   22            A.      Yes.
   23            Q.      So I'm focused on the San Diego field
   24     office section, the San Ysidro Port of Entry.
   25                    This chart indicates there are
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                                                                       Page 259
    1     individuals in custody, and that represents
    2     93 percent of capacity, correct, sir?
    3            A.      Yes.
    4            Q.      And is there anything on this chart
    5     anywhere where it states that the San Ysidro Port of
    6     Entry has constrained capacity for any reason?
    7            A.      No.
    8            Q.      Let's move to Exhibit 8, sir.             This is
    9     the field office queue management report for
   10     February 5, 2019.
   11                    Do you have that in front of you, sir?
   12            A.      Yes.
   13            Q.      All right.      Turn to the section on the
   14     San Diego field office.
   15                    Do you see the San Ysidro Port of Entry,
   16     it has        individuals in custody, representing
   17     97 percent of its capacity?
   18            A.      Yes.
   19            Q.      And on this chart, is there any
   20     indication that the San Ysidro Port of Entry is
   21     operating at less than 100 percent capacity due to
   22     operational constraints?
   23            A.      No.
   24            Q.      Let's move to the next exhibit,
   25     Exhibit 9.     This is the field office queue management
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    1     report for January 10, 2019.
    2                    Again, directing you to the San Diego
    3     field office section of the chart, it shows that the
    4     San Ysidro Port of Entry is operating -- has
    5     individuals in custody, representing 97 percent of
    6     its capacity, correct?
    7            A.      Yes.
    8            Q.      And is there anything on this chart that
    9     indicates that the San Ysidro Port of Entry is
   10     operating at less than 100 percent capacity because
   11     its capacity is constrained for operational reasons?
   12            A.      No.
   13            Q.      Let's move to Exhibit 10.              This is the
   14     same -- this is the field office queue management
   15     report for December 26, 2018.
   16                    You're with me, sir?
   17            A.      Yes.
   18            Q.      Okay.    And moving again to the San Diego
   19     field office section, this shows that San Ysidro has
   20     275 individuals in custody, representing 87 percent
   21     of its total capacity, correct?
   22            A.      Correct.
   23            Q.      And is there anything on this chart that
   24     indicates that the San Ysidro Port of Entry is
   25     operating at less than 100 percent capacity due to
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                                                                       Page 261
    1     operational constraints?
    2            A.      No.
    3            Q.      When did you last work at the San Ysidro
    4     Port of Entry?
    5            A.      Maybe 2014, 2015.
    6            Q.      You didn't work there in 2016; is that
    7     right?
    8            A.      I don't believe so, no.
    9            Q.      You didn't work there in 2017?
   10            A.      No.
   11            Q.      You didn't work there in 2018?
   12            A.      No.
   13            Q.      You don't know what was happening with
   14     the -- firsthand with the San Ysidro Port of Entry's
   15     capacity between 2016 and the present, correct?
   16            A.      No.
   17            Q.      When was the last time you worked at
   18     Otay Mesa?
   19            A.      2015.
   20            Q.      So you didn't work at Otay Mesa in 2016;
   21     is that right?
   22            A.      No.
   23            Q.      Or 2017?
   24            A.      No.
   25            Q.      Or 2018?
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                                                                       Page 262
    1            A.      No.
    2            Q.      Or this year?
    3            A.      No.
    4            Q.      So you don't know what was happening
    5     with the capacity of Otay Mesa, from firsthand
    6     knowledge, for the period 2016 through 2019; is that
    7     right, sir?
    8            A.      No.
    9            Q.      Did any of Mr. Halaska's questions
   10     change your mind as to whether a turn-back policy
   11     existed at the Tecate Port of Entry?
   12            A.      No.
   13            Q.      In fact, it happened; there were
   14     turn-backs at the Tecate Port of Entry, correct?
   15            A.      Yes.
   16            Q.      And despite the fact that OIG found that
   17     those turn-backs violated the law, they have not
   18     stopped; is that right?
   19            A.      Correct.
   20                    MR. MEDLOCK:      Thank you.
   21                    MR. HALASKA:      Just a few more questions.
   22                                EXAMINATION
   23     BY MR. HALASKA:
   24            Q.                            , Exhibits 5, 6, 7, 8, 9,
   25     and 10 are all field queue management reports; is
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                                                                       Page 263
    1     that right?
    2            A.      Correct.
    3            Q.      Do you play any role in creating these
    4     reports?
    5            A.      No.
    6            Q.      Are you part of the MCAT team?
    7            A.      No.
    8                    MR. HALASKA:      No more questions.
    9                    MR. MEDLOCK:      One question.
   10                               EXAMINATION
   11     BY MR. MEDLOCK:
   12            Q.      Do you think those reports are
   13     inaccurate?
   14            A.      I -- I can't say for sure or not.
   15            Q.      So you don't have a basis to believe
   16     that they're inaccurate, as you sit here today?
   17            A.      No, I don't.
   18                    MR. MEDLOCK:      Okay.      That's all my
   19            questions.
   20                    MR. HALASKA:      I'm all set.
   21                    (Deposition concluded at 4:50 p.m.)
   22                    (Reading and signing requested.)
   23
   24
   25
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                                                                       Page 264
    1               CERTIFICATE OF REPORTER/NOTARY PUBLIC
    2
    3                  I, Goldy Gold, a Notary Public within and
    4     for the District of Columbia, do hereby certify that
    5     the within-named witness personally appeared before
    6     me at the time and place herein set out, and after
    7     having been duly sworn by me, according to the law,
    8     was examined by counsel.
    9                  I further certify that the examination was
   10     recorded stenographically by me and this transcript
   11     is a true record of the proceedings.
   12                  I further certify that I am not of counsel
   13     to any of the parties, nor in any way interested in
   14     the outcome of this action.
   15                  As witness my hand and notarial seal this
   16     26th day of November, 2019.
   17
   18
                               __________________________
   19                               GOLDY GOLD, RPR
                                    Notary Public
   20
   21
   22
          My Commission Expires:         April 21, 2024
   23
   24
   25
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                                                                       Page 265
    1                        CERTIFICATE OF DEPONENT
    2
    3                  I,                      , do hereby certify that
    4     I have read the foregoing pages, 1 through 264,
    5     inclusive, which contain a correct transcripts of the
    6     answers given by me to the questions propounded to me
    7     herein, except for changes, if any, duly noted on the
    8     enclosed errata sheet.
    9
   10
   11                  ______________________


   12
   13
   14
                       Sworn and subscribed to before me this
   15
          ___day of _____2019.
   16
   17
   18     My Commission Expires:                       Notary Public:
   19     ______________________                       ________________
   20
   21
   22
   23
   24
   25
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                                                                        Page 266
    1     CASE:    Al Otro Lado v. Kevin McAleenan
    2     DEPOSITION OF:
    3     DATE TAKEN:        November 21, 2019
    4
    5     PAGE    LINE   ERROR           CORRECTION                REASON
    6
    7     -----------------------------------------------------
    8     -----------------------------------------------------
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   12     -----------------------------------------------------
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   14     -----------------------------------------------------
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   23     -----------------------------------------------------
   24     -----------------------------------------------------
   25     ----------------------------------------------------
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